                     Case 19-10234-KG                  Doc 384           Filed 04/24/19            Page 1 of 135




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                              )
In re:                                                                        )   Chapter     11

                                                                              )
RMBR LIQUIDATION, INC., et al.,t                                              )   Case   No. 19-10234 (KG)
                                                                              )
                                             Debtors                          )   (Jointly Administered)
                                                                              )

            DISCLOSURE STATEMENT FOR THE JOINT CHAPTER 11 PLAN OF
                RMBR LIQUIDATION, INC. AND ITS DEBTOR AFFILIATES


LANDIS RATH & COBB LLP                                         KIRKLAND & ELLIS LLP
Adam G. Landis (No. 3407)                                      Christopher T. Greco, P.C. (admitted pro hac vice)
Matthew B. McGuire (No. 4366)                                  Derek I. Hunter (admitted pro hac vice)
Kimberly A. Brown (No. 5138)                                   601 Lexington Avenue
919 Market Street                                              New York, New York 10022
Suite 1800                                                     Telephone: (212) 446-4800
Wilmington, Delaware I980I                                     Facsimile: (212) 446-4900
Telephone:            (302) 467-4410                           Email:            christopher.greco@kirkland.com
Facsimile:            (302) 467-4450                                             derek.hunter@kirkland. com
Email:                landis@lrclaw.com
                      mcguire@lrclaw.com                       -and-
                      brown@lrclaw.com
                                                               KIRKLAND & ELLIS LLP
                                                               Spencer A. Winters (admitted pro hac vice)
                                                               300 North LaSalle
                                                               Chicago, Illinois 60654
                                                               Telephone:          (312)862-2000
                                                               Facsimile:          (312) 862-2200
                                                               Email:              spencer.winters@kirkland.com



Co-Counsel to the Debtors

Dated: April24,2019

THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE PLAN. ÀCCEPTANCES OR
REJECTIONS MAY NOT BE SOLICITED UNTIL THIS DISCLOSURE STATEMENT HAS BEEN APPROVED BY
THE COURT. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT BEEN
APPROVED BY THE COURT. THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO
CHANGE. THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES AND IS NOT
SOLICITING AN OFFER TO BUY ANY SECURITIES.




I    The D"bto.s in these chapter   1   I   cases, along   with the last four digits of each Debtor's federal tax identification number,
     include: RMBR Liquidation, lnc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR Liquidation                 Holdings
     Corporation (2354). The location of the Debtors' service address is: 5500 Avion Park Drive, Highland Heights, Ohio 44143.


{   1229.001-W00ss583.}

KE 58601993
                    Case 19-10234-KG   Doc 384   Filed 04/24/19   Page 2 of 135




        THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE STATEMENT
(THIS "DISCLOSURE STATEMENT'') TO CERTAIN HOLDERS OF CLAIMS FOR PURPOSES OF
SOLICITING VOTES TO ACCEPT OR REJECT THE DEBTORS' JOINT CHAPTER 1I PLAN OF RMBR
LIQUIDATION, INC. AND ITS DEBTOR AFFILIATES (THE "PLA}T'). NOTHING IN THIS DISCLOSURE
STATEMENT MAY BE RELIED UPON OR USED BY ANY ENTITY FOR ANY OTHER PURPOSE. PRIOR
TO DECIDING WHETHER AND HOV/ TO VOTE ON THE PLAN, EACH HOLDER ENTITLED TO VOTE
SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE STATEMENT,
INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE IX HEREIN.

      THE DEBTORS URGE EACH HOLDER OF A CLAIM OR AN INTEREST TO CONSULT WITH ITS
OWN ADVISORS V/ITH RESPECT TO ANY LEGAL, FINANCIAL, SECURITIES, TAX, OR BUSINESS
ADVICE IN REVIEWING THIS DISCLOSURE STATEMENT, THE PLAN, AND ALL OF THE ACTIONS
NECESSARY TO EFFECTUATE THE PLAN. FURTHERMORE, THE BANKRUPTCY COURT'S APPROVAL
OF THE ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT DOES
NOT CONSTITUTE THE BANKRUPTCY COURT'S APPROVAL OF THE PLAN.

            THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS, SLIMMARIES OF THE
PLAN, CERTAIN STATUTORY PROVISIONS, CERTAIN EVENTS IN THE DEBTORS'
CHAPTER 11 CASES, AND CERTAIN DOCUMENTS RELATED TO THE PLAN THAT ARE
INCORPORATED  BY REFERENCE HEREIN. ALTHOUGH THE DEBTORS BELIEVE THAT THESE
SUMMARIES ARE FAIR AND ACCURATE, THESE SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY
TO THE EXTENT THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR
STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH EVENTS.                IN THE EVENT OF     ANY
INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS DISCLOSLIRE STATEMENT
AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY OTHER DOCUMENTS INCORPORATED
HEREIN BY REFERENCE, THE PLAN OR SUCH OTHER DOCUMENTS WILL GOVERN FOR ALL
PURPOSES. FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS BEEN
PROVIDED BY THE DEBTORS' MANAGEMENT EXCEPT WHERE OTHERV/ISE SPECIFICALLY NOTED.
THE DEBTORS DO NOT REPRESENT OR V/ARRANT THAT THE INFORMATION CONTAINED HEREIN
OR ATTACHED HERETO IS WITHOUT ANY MATERIAL INACCURACY OR OMISSION,

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
sECTIONll25 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B) AND IS NOT
NECESSARILY IN ACCORDANCE V/ITH FEDERAL OR STATE SECURITIES LAV/S OR OTHER SIMILAR
LAV/S.

      THIS DISCLOSURE STATEMENT WAS NOT FILED WITH THE SECURITIES AND EXCHANGE
COMMISSION OR ANY STATE AUTHORITY AND NEITHER THE SECURITIES AND EXCHANGE
COMMISSION NOR ANY STATE AUTHORITY HAS PASSED UPON THE ACCURACY OR ADEQUACY
OF THIS DISCLOSLIRE STATEMENT OR UPON THE MERITS OF THE PLAN,

        THIS DISCLOSURE STATEMENT CONTAINS FORWARD-LOOKING STATEMENTS V/ITHIN THE
MEANING OF SECTION 27A AND SECTION 21E OF THE LTNITED STATES SECURITIES ACT OF 1933, AS
AMENDED (THE "SECURITIES ACT"), SUCH STATEMENTS MAY CONTAIN WORDS SUCH AS "MAY,''
...WILL,'' "MIGHT," "EXPECT,'' "BELIEVE," "ANTICIPATE,'' O'COIJLD,'' "'WOULD,'' "ESTIMATE,''
..CONTINUE,'' "PIIRSUE,'' OR THE NEGATIVE THEREOF OR COMPARABLE TERMINOLOGY, AND
MAY INCLUDE, WITHOUT             LIMITATION, INFORMATION REGARDING THE            DEBTORS'
EXPECTATIONS WITH RESPECT TO FUTURE EVENTS. FORWARD-LOOKING STATEMENTS ARE
INHERENTLY UNCERTAIN AND ARE SUBJECT TO CERTAIN RISKS AND UNCERTAINTIES THAT
COULD CAUSE ACTUAL RESULTS TO DIFFER FROM THOSE EXPRESSED OR IMPLIED IN THIS
DISCLOSLIRE STATEMENT AND THE FORWARD-LOOKING STATEMENTS CONTAINED HEREIN,
MAKING INVESTMENT DECISIONS BASED ON THE INFORMATION CONTAINED                     IN   THIS
DISCLOSURE STATEMENT AND/OR THE PLAN IS. THEREFORE. SPECULATIVE,

     IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON FINANCIAL
DATA DERIVED FROM THEIR BOOKS AND RECORDS OR THAT WAS OTHERWISE MADE
{   1229.001-w00s5583.}
                  Case 19-10234-KG   Doc 384        Filed 04/24/19    Page 3 of 135




AVAILABLE TO THEM AT THE TIME OF SUCH PREPARATION AND ON VARIOUS ASSUMPTIONS
REGARDING THE DEBTORS' BUSINESSES. ALTHOUGH THE DEBTORS BELIEVE THAT SUCH
FINANCIAL INFORMATION FAIRLY REFLECTS THE FINANCIAL CONDITION OF THE DEBTORS AS
OF THE DATE HEREOF AND THAT THE ASSUMPTIONS REGARDING FUTLIRE EVENTS REFLECT
REASONABLE BUSINESS JUDGMENTS, NO REPRESENTATIONS OR WARRANTIES ARE MADE AS TO
THE ACCURACY OF THE FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS
REGARDING THE DEBTORS' BUSINESSES. THE DEBTORS EXPRESSLY CAUTION READERS NOT TO
PLACE LINDUE RELIANCE ON ANY FORWARD-LOOKING STATEMENTS CONTAINED HEREIN.

       THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED
AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE DEBTORS OR THE PLAN
ADMINISTRATOR MAY SEEK TO INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND MAY OBJECT
TO CLAIMS AFTER THE CONFIRMATION OR EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF
WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR OBJECTIONS TO
CLAIMS.

      THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE FINANCIAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE DATE HEREOF, UNLESS
OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY UPDATE
THE INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO AFFIRMATIVE
DUTY TO DO SO, AND EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY
FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT OF NEV/ INFORMATION, FUTURE
EVENTS, OR OTHERV/ISE. HOLDERS           OF CLAIMS AND               INTERESTS REVIEWING THIS
DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE FACTS
SET FORTH HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE STATEMENT V/AS FILED.
INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION OR AMENDMENT. THE DEBTORS
RESERVE THE RIGHT TO FILE AN AMENDED PLAN AND RELATED AMENDED DISCLOSURE
STATEMENT FROM TIME TO TIME, SUBJECT TO THE TERMS OF THE PLAN.

       CONFIRMATION AND CONSLIMMATION OF THE PLAN ARE SUBJECT TO CERTAIN
MATERIAL CONDITIONS PRECEDENT DESCRIBED IN ARTICLE XI OF THE PLAN. THERE IS NO
ASSURANCE THAT THE PLAN WILL BE CONFIRMED OR, IF CONFIRMED, THAT SUCH MATERIAL
CONDITIONS PRECEDENT V/ILL BE SATISFIED OR WAIVED. YOU ARE ENCOURAGED TO READ
THIS DISCLOSI]RE STATEMENT IN ITS ENTIRETY, INCLUDING BUT NOT LIMITED TO THE PLAN
AND ARTICLE IX OF THIS DISCLOSURE STATEMENT ENTITLED "CERTAIN RISK FACTORS TO BE
CONSIDERED BEFORE VOTING," BEFORE SUBMITTING YOI.]R BALLOT TO VOTE TO ACCEPT OR
REJECT THE PLAN.

      THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION ABOUT
OR  CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
DISCLOSURESTATEMENT. THE DEBTORS HAVE NOT AUTHORIZED ANY REPRESENTATIONS
CONCERNING THE DEBTORS OR THE VALUE OF THEIR PROPERTY OTHER THAN AS SET FORTH IN
THIS DISCLOSURE STATEMENT.

          IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE
OCCURS, ALL HOLDERS OF CLAIMS AND INTERESTS (INCLTIDING THOSE HOLDERS OF CLAIMS OR
INTERESTS V/HO DO NOT SLIBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, OR V/HO ARE NOT
ENTITLED TO VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN AND ANY
TRANSACTIONS CONTEMPLATED THEREBY.

      THE DEBTORS AND THE PREPETITION SECI.]RED LENDERS SUPPORT CONFIRMATION OF
THE PLAN AND URGE ALL HOLDERS OF CLAIMS V/HOSE VOTES ARE BEING SOLICITED TO ACCEPT
THE PLAN.




{ 1229.001-w00sss83. }                         11
                    Case 19-10234-KG               Doc 384        Filed 04/24/19   Page 4 of 135




                                                  TABLE OF' (-ONTT"NTS

                                                                                                                       Page



            A.       Overview of the Plan.                                                                         ..........   I
            B.       The Plan Structure......                                                                      ',',',.,..2
            C.       The Adequacy of this Disclosure Statement                                                     ..........2

ARTICLE II. TREATMENT OF CLAIMS AND INTERESTS                                                                                   3
            A.       Administrative Claims and Priority Tax Claims.                                                             5


ARTICLE III. VOTING AND CONFIRMATION                                                                                        ..6
            A.       Classes Entitled to Vote on the Plan                                                                       6
            B.       Votes Required for Acceptance by a Class ...                                                               6
            C.       Certain Factors to Be Considered Prior to Voting                                                           7
            D.       Classes Not Entitled to Vote on the Plan                                                                   7
            E.       Solicitation Procedures                                                                                    7
            F.       Voting Procedures.......                                                                                   8
            G.       Disputed Claims Procedures                                                                                 9
            H.        Confirmation Hearing                                                                                  10


ARTICLE IV. BUSINESS             DESCRIPTION........                                                       ................10
            A.       Corporate History..........                                                 ..............,........... 10
            B        Prepetition Capital Structure                                                           ............... I 1

ARTICLE V. EVENTS LEADING TO THE CHAPTER 11 CASES...
            A.       Adverse Industry Trends and Operational Challenges....
            B.       Supply Chain and Vendor Challenges...
            C.       Unsustainable Store Footprint.
            D.       Restructuring Efforts.

ARTICLE VI. EVENTS OF THE CHAPTER 11 CASES...
            A.       First Day Pleadings and Other Case Matters
            B.       Bid Procedures and Sale Motion.......
            C.       Executory Contracts and Unexpired Leases............
            D.       Store Closing Process.
            E.        Schedules and Statements .........
            F.       Litigation Matters
            G.        Claims Bar Date..

ARTICLE VII. SUMMARY OF THE PLAN                                                                                            18
            A.       Means for Implementation of the Plan.............                                                      l8
            B.       Settlement, Release, Injunction, and Related Provisions                                                2l

ARTICLE VIII. STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN.                                                          26
            A.       Confirmation Hearing .......                                                                           27
            B.       Confirmation Standards ....                                                                            27
            C.       Alternative Plans ...............                                                                      28
            D.       Acceptance by Impaired Classes.....                                                                    29
            E.       Confirmation Without Acceptance by All Impaired Classes                                                29


ARTICLE IX. CERTAIN RISK FACTORS TO BE CONSIDERED BEFORE VOTING....                                                         30
            A.       Risk Factors that May Affect Recoveries Available to holders of Allowed Claims Under
                     the Plan.                                                                                            ..30


{   1229.001-w00sss83.}                                      (D
                     Case 19-10234-KG            Doc 384       Filed 04/24/19        Page 5 of 135




            B.        Certain Bankruptcy Law Considerations                                                         .31
            C,        Disclosure Statement Disclaimer                                                               ,33
            D.        Liquidation under Chapter 7                                                                   .35


ARTICLE X. CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES.........................35
            A.        Certain U.S. Federal Income Tax Consequences to the Debtors.                                   36
            B.        Certain U.S. Federal Income Tax Consequences to holders of General Unsecured Claims ...........36
            l.        Disputed Ownership Fund Treatment                                                              36
            C.        Certain U.S. Federal Income Tax Consequences of the Plan to Non-U.S. Holders of
                      General Unsecured Claims                                                               ........38
            D.        Information Reporting and Backup V/ithholding                                                 39
            E         FATCA..

ARTICLE XI. RECOMMENDATION OF THE DEBTORS                                                                           4t




{   1229.001-W00sss83.}                                     (iÐ
                       Case 19-10234-KG               Doc 384      Filed 04/24/19   Page 6 of 135




                                                          EXHIBITS

EXHIBIT A                Joint Chapter 1l Plan

EXHIBIT B                Disclosure Statement Order

EXHIBIT C                Liquidation Analysis




{ l 229.001   -v/00sss83. }                                     (iiÐ
                      Case 19-10234-KG             Doc 384         Filed 04/24/19          Page 7 of 135



                                                          ARTICLE I.

                                                       INTRODUCTION

        This disclosure statement (this "Disclosure Statement") provides information regarding the Joint Chapter
I   I
  Plan of fuMBR Liquidation, Inc. and lts Debtor Affiliates (as may be amended, supplemented, or otherwise
modified from time to time, the "Plan"), which the Debtors are seeking to have confirmed by the Bankruptcy
Court.2 A copy of the Plan is attached hereto as Exhibit A. The rules of interpretation set forth in Article I of the
Plan shall govern the interpretation of this Disclosure Statement.

         The Debtors believe that the Plan is in the best interests of the Debtors' Estates. As such, the Debtors
recommend that all holders of Claims entitled to vote accept the Plan by returning their ballots (each, a "Ballot") so
as to be actually received by the Claims, Noticing, and Solicitation Agent (as defined herein) no later than ![a¿!!.
2019. at 11:59 p.m. (prevailing Eastern Time). Assuming the requisite acceptances to the Plan are obtained, the
Debtors will seek the Bankruptcy Court's approval of the Plan at the Confirmation Hearing.

A.           Overview of the Plan

          The Debtors propose to liquidate under chapter 1l of the Bankruptcy Code. Under chapter ll, a debtor
may reorganize or liquidate its business for the benefit of its stakeholders. The consummation of a chapter l1 plan
of liquidation is the principal objective of these Chapter 1l Cases. A chapter 1l plan sets forth how a debtor will
treat claims and equity interests.

          The primary objective of the Plan is to maximize the value of recoveries to all holders of Allowed Claims
and Allowed Interests and generally to distribute all property of the Estates that is or becomes available for
distribution generally in accordance with the priorities established by the Bankruptcy Code. The Debtors believe
that the Plan accomplishes this objective and is in the best interest of the Estates.

          A bankruptcy court's confirmation of a chapter 11 plan binds the debtor, any entity or person acquiring
property under the plan, any creditor of or equity security holder in a debtor, and any other entities and persons to
the extent ordered by the bankruptcy court pursuant to the terms of the confirmed plan, whether or not such entity or
person is impaired pursuant to the plan, has voted to accept the plan, or receives or retains any property under the
plan. Among other things (subject to certain limited exceptions and except as otherwise provided in the Plan or the
Confirmation Order), the Confirmation Order will discharge the Debtors from any debt arising before the Effective
Date, terminate all of the rights and interests of pre-bankruptcy equity security holders and substitute the obligations
set forth in the Plan for those pre-bankruptcy Claims and Interests. Under the Plan, Claims and Interests are divided
into Classes according to their relative priority and other criteria.

           Each of the Debtors is a proponent of the Plan within the meaning of section ll29 of the Bankruptcy Code.
The Plan contemplates the substantive consolidation of the Debtors' estates. The entry of the Confirmation Order
shall constitute approval by the Bankruptcy Courl of the substantive consolidation of the Debtors and their
respective Estates for all purposes relating to the Plan, including for purposes of voting, confirmation and
distributions. If this substantive consolidation is approved, then for all purposes associated with the confirmation and
consummation of the Plan, all assets and liabilities of the Debtors shall be treated as though they were merged into a
single economic unit.

             Generally speaking, the Plan:

             a    provides the vesting of all Available Cash from the proceeds of Sales Transactions in the Post-
                  Effective Date Debtors, for the purpose of distribution to holders of Claims;

             a    provides for the full and final resolution of funded debt obligations;


2       Unless otherwise specified herein, capitalized tenns used but not otherwise defined herein have the meanings ascribed to
        thern in the Plan.




{   1229.001-W0055s83. }
                      Case 19-10234-KG            Doc 384              Filed 04/24/19         Page 8 of 135



                  designates a Plan Administrator to wind down the Debtors' affairs, pay and reconcile Claims,
                  and administer the Plan in an efficacious manner; and

             a   provides for 100 percent reçoveries for holders of Administrative Claims, Secured Tax Claims, Priority
                 Tax Claims, Other Priority Claims and Other Secured Claims.

          The Debtors believe that Confirmation of the Plan              will avoid the lengthy delay and significant   cost of
liquidation under chapter 7 ofthe Bankruptcy Code.

            The Plan classifies holders of Claims and Interests according to the type of the holder's Claim or Interest,
as more fully described     below. Holders of Claims in Class 4 (Revolver Claims) are entitled to vote to accept or
reject the Plan.

B.          The Plan Structure

         Pursuant to the Plan, the Debtors, the Post-Effective Date Debtors, the Plan Administrator,                    or   the
Disbursing Agent will pay or provide for payments of Claims as follows:

                  a   the Debtors or the Post-Effective Date Debtors shall pay Allowed Administrative Claims,
                      Allowed Priority Tax Claims, Allowed Secured Tax Claims, Allowed Other Secured
                      Claims and Allowed Other Priority Claims from the Priority Claim Reserve;

                  a   the Debtors shall fund the Professional Fee Escrow Account, which Professional Fee
                      Escrow Account shall be used to pay Allowed Professional Fee Claims;

                 a    holders of Allowed Class 4 Revolver Claims against each of the Debtors will receive
                      their Pro Rata share of Available Cash in an amount not to exceed 518,723,738.81 in full
                      and final satisfaction of all Revolver Claims;

                 a    existing Intercompany Interests will be cancelled without any distribution to the holders
                      ofsuch Interests; and

                 a    existing Interests in Holdco will be cancelled without any distribution to the holders of
                      such Interests.

         The Debtors believe that the Plan is in the best interest the Estates, including holders of Class 4 Revolver
Claims, and urge such holders to vote to accept the Plan.

C.          The Adequacy of this Disclosure Statement

         Before soliciting acceptances of a proposed plan, section ll25 of the Bankruptcy Code requires a plan
proponent to prepare a written disclosure statement containing information of a kind, and in sufficient detail, to
enable a hypothetical reasonable investor to make an informed judgment regarding acceptance of a chapter l l plan.
The Debtors submit this Disclosure Statement in accordance with such requirements. This Disclosure Statement
includes, without limitation, information about:

                 a    the Debtors' corporate history and structure, business operations, and prepetition
                      capital structure and indebtedness (Article IV hereof);
                 a    the events leading to the Chapter l   l   Cases (Article   V hereof);
                 a    the significant pleadings Filed in the Chapter I I Cases and certain relief granted
                      by the Bankruptcy Court in connection therewith (Article VI hereof);

                      the classification and treatment of Claims and Interests under the Plan, including
                      identification of the holders of Claims entitled to vote, the procedures for voting
                      on the Plan, and projected recoveries (Articles II, III, VII, and VIII hereof);



{   1229.001-W00s5s83. }                                           2
                      Case 19-10234-KG               Doc 384          Filed 04/24/19         Page 9 of 135



                  .       the method of distribution of any recoveries that may be available to certain
                          holders    of Claims pursuant to the Plan, the process for                  resolving
                          Disputed Claims, and other significant aspects of the Plan (Article   VII   hereof);

                  ¡       the releases contemplated by the Plan that are integral to the overall settlement
                          of Claims pursuant to the Plan (Article VII hereof);
                  ¡       the statutory requirements for confirming the Plan (Article   VIII hereof);
                  o       certain risk factors that holders of Claims should consider before voting to
                          accept or reject the Plan and information regarding alternatives to Confirmation
                          of the Plan (Article IX hereof); and
                  ¡       certain United States federal income tax consequençes     of the Plan (Article X
                          hereof).

        In light of the foregoing, the Debtors believe that this Disclosure Statement contains
"adequate information" to enable a hypothetical reasonable investor to make an informed judgment about the Plan
and complies with all aspects of section 1 125 of the Bankruptcy Code.

       The Plan and all documents to be executed, delivered, assumed, and/or performed in connection with the
Consummation of the Plan, including the documents to be included in the Plan Supplement, are subject to revision
and modification from time to time prior to the Effective Date (subject to the terms of the Plan).

                                                           ARTICLE II.

                                        TREATMENT OF CLAIMS AND INTERESTS

         The following chart provides a summary of the anticipated recovery to Holders of Claims and Interests
under the Plan. Any estimates of Claims and Interests in this Disclosure Statement may vary from the final amounts
Allowed by the Bankruptcy Court. Your ability to receive distributions under the Plan depends upon the ability of
the Debtors to obtain Confirmation and meet the conditions necessary to consummate the Plan.

        The recoveries avqiløble to holders of Cløims øre estimøtes and øctual recoveríes møy materíølly dílþr
based on, among other things, whether the amount of Cløims actually Allowed exceeds the estimøtes provided
below. In sach øn instønce, lhe recoveries øvaílable to holders of Allowed Claíms could be materiølly lower when
compøred to the estimøtes províded below. To the extent thøt øny ínconsistency exists between the summøries
contøined in this Disclosure Statement ønd the Pløn, the terms of the Pløn shøll govern.




{   1229.001-w0055583.}                                           3
                   Case 19-10234-KG            Doc 384           Filed 04/24/19      Page 10 of 135




                             (a) payment in full in Cash of such holder's Allowed
                             Secured Tax Claim; or

                             (b) equal semi-annual Cash payments commencing         as
                             of the Effective Date or as soon as reasonably
             Secured Tax     practicable thereafter and continuing for five years, in
     I                       an aggregate amount equal to such Allowed Secured                    $0          t00%
                Claims
                             Tax Claim, together with interest at the applicable non-
                             default rate under non-bankruptcy law, subject to the
                             option of the Plan Administrator to prepay the entire
                             amount of such Allowed Secured Tax Claim during
                             such time period.


                             (i) payment in full in Cash of such holder's Allowed
                             Other Secured Claim;
                             (ii) the collateral securing such holder's Allowed Other
            Other Secured    Secured Claim;
     2                                                                                            $o          100%
               Claims        (iii) Reinstatement of such holder's Allowed Other
                             Secured Claim; or
                             (iv) such other treatment rendering such holder's
                             Allowed Other Secured Claim Unimpaired.

                             Each holder of an Allowed Other Priority Claim shall
                             receive payment in full in Cash of such holder's
            Other Priority
     3                       Allowed Other Priority Claim from the Priority Claim                 $0          100%
                Claims
                             Reserve   or  such other treatment rendering such
                             holder's Allowed Other Priorþ Claim Unimpaired.

                             In full and final satisfaction of all Revolver Claims, the
                             following shall be paid to the Prepetition Agent to be
                             applied toward the Revolver Claims until the Revolver
                             Claims are paid in full: (i) any Available Cash after the
               Revolver
     4
                Claims
                             funding   of the Priority Claims Reserve, the                $   18,723,738.81   't64%
                             Professional Fee Escrow Account and the Wind Down
                             Amount and the reserve or payment in full of all
                             Allowed Secured Tax Claims and All Other Secured
                             Claims, and (ii) any Reserve Residuals.


              Term Loan
                             Holders   of   Term Loan Claims         will   receive no
     5                       distribution from the Debtors or their Estates under the     $r24,921,t05.40      0%
                Claims
                             Plan.


               General       Holders of General Unsecured Claims will receive no
     6        Unsecured      distribution from the Debtors or their Estates under the         $60,259,080      0%
                Claims       Plan.




{   1229.001-w00sss83.}                                      4
                      Case 19-10234-KG             Doc 384          Filed 04/24/19      Page 11 of 135




                                                                                              Projected        Projected
Class         Claim/Interest                                                                   Amount            Plan
                                                                                              of Claims        Recovery



                                Intercompany Interests shall be discharged, canceled,
                                released, and extinguished as of the Effective Date,
               Intercompany
   7                            and will be of no fuither force or effect, and holders of        N/A              N/A
                   Interests
                                Intercompany Interests        will not receive       arry
                                distribution on acÇount of such Intercompany Interests.

                                Interests   in   Holdco   will be discharged,   canceled,
                                released, and extinguished as of the Effective Date,
                Interests in
   8                            and will be ofno further force or effect, and holders of         N/A              N/A
                   Holdco
                                Interests in Holdco will not receive any distribution on
                                account of such Interests in Holdco.


          Except to the extent that the Debtors and a holder of an Allowed Claim or Interest, as applicable, agree to a
less favorable treatment, such holder shall receive under the Plan the treatment described below in full and final
satisfaction, compromise, settlement, and release of and in exchange for such holder's Allowed Claim or Interest.
Unless otherwise indicated, each holder of an Allowed Claim or Interest, as applicable, shall receive such treatment
on the Effective Date or as soon as reasonably practicable thereafter, the timing of which shall be subject to the
reasonable discretion of the Post-Effective Date Debtors or the Plan Administrator, as applicable.

A.            Administrative Claims and Priority Tax Claims

          In accordance with section 1123(a)(l) of the Bankruptcy Code, Administrative Claims and Priority Tax
Claims have not been classified and, thus, are excluded from the Classes of Claims and Interests set forlh in Aticle
III of the Plan.

              1.    AdministrativeClaims

              Except with respect to Administrative Claims that are Professional Fee Claims, and except to the extent that
an Administrative Claim has already been paid during the Chapter 11 Cases or a Holder of an Allowed
Administrative Claim and the applicable Debtor(s) agree to less favorable treatment, each Holder of an Allowed
Administrative Claim shall receive, in full and final satisfaction, compromise, settlement, and release of and in
exchange for its Claim, payment from the Priority Claims Reserve.

         Except for Professional Fee Claims, and unless previously Filed, requests for payment of Administrative
Claims must be Filed and served on the Post-Effective Date Debtors no later than the Administrative Claim Bar
Date pursuant to the procedures specified in the Confirmation Order and the notice of entry of the Confìrmation
Order. Objections to such requests must be Filed and served on the Post-Effective Date Debtors and the requesting
party by the Administrative Claim Objection Bar Date. After notice and a hearing in accordance with the
procedures established by the Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy Court orders, the
Allowed amounts, if any, of Administrative Claims shall be determined by, and satisfied in accordance with an order
that becomes a Final Order of, the Bankruptcy Court.

         Holders of Administrative Claims that are required to File and serve a request for payment of such
Administrative Claims that do not File and serve such a request by the Bar Date or the Administrative Claim Bar
Date, as applicable, shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Priority Claims Reserve, the Debtors or their property and the Post-Effective Date Debtors or their
property, and such Administrative Claims shall be deemed discharged as of the Effective Date without the need for
any objection from the Post-Effective Date Debtors or any notice to or action, order, or approval of the Bankruptcy
Court or any other Entity.


{ l 229 001   -w005ss81. }                                      5
                    Case 19-10234-KG             Doc 384          Filed 04/24/19       Page 12 of 135



            The failure to object to Confirmation by a Holder of an Allowed Administrative Claim shall be deemed to
be such Holder's consent to receive treatment for such Claim that is different from that set forth in section
1129(a)(9) of the Bankruptcy Code; provided, however, that the Holders of such Claims shall be deemed to consent
to the treatment on account of such Claims as provided herein. Notwithstanding the foregoing, no request for
payment of an Administrative Claim need be Filed with respect to an Administrative Claim that is Allowed by Final
Order.

            2.   Priority Tax Claims

            Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange for, each Allowed
Priority Tax Claim, each Holder of an Allowed Priority Claim shall receive, in full and final satisfaction,
compromise, settlement, and release of and in exchange for its Claim, payment from the Priority Claims Reserve.

                                                       ARTICLE III.

                                             VOTING AND CONFIRMATION

         The Bankruptcy Code requires that, in order to confirm the Plan, the Bankruptcy Court must make a series
of findings conceming the Plan and the Debtor, including that (i) the Plan has classified Claims and Equity Interests
in a permissible manner, (ii) the Plan complies with applicable provisions of the Bankruptcy Code, (iii) the Debtor
has complied with applicable provisions of the Bankruptcy Code, (iv) the Debtor has proposed the Plan in good faith
and not by any means forbidden by law, (v) the disclosure required by section 1125 of the Bankruptcy Code has
been made, (vi) the Plan has been accepted by the requisite votes of creditors (except to the extent that cramdown is
available under section 1129(b) of the Bankruptcy Code), (vii) the Plan is feasible and confirmation is not likely to
be followed by the liquidation or the need for further frnancial reorganization of the Debtor, (viii) the Plan is in the
"best interests" of all holders of Claims or Equity Interests in an impaired Class by providing to such holders on
account of their Claims or Equity Interests property of a value, as of the Effective Date, that is not less than the
amount that such holder would receive or retain in a chapter 7 liquidation, unless the Holder has accepted the Plan,
and (ix) all fees and expenses payable under 28 U.S.C. $ 1930, as determined by the Bankruptcy Court at the
hearing on Confirmation, have been paid or the Plan provides for the payment of such fees on the Effective Date.

A.          Classes Entitled to Vote on the Plan

            The following is the only Class entitled to vote to accept or reject the Plan (the "Voting Class")


                    Class      ,       , r         Claim                                     Status
                      4                       Revolver Claims                               Impaired


         If your Claim or Interest is not included in the Voting Class, you are not entitled to vote and you will not
receive a Solicitation Package (as defined herein) or a Ballot. If your Claim or Interest is included in the Voting
Class, you should read your Ballot and carefully follow the instructions set forth therein. Please use only the Ballot
that accompanies this Disclosure Statement or the Ballot that the Debtors, or the Notice, Claims, and Balloting
Agent on behalf of the Debtors, otherwise provides to you.

B.          Votes Required for Acceptance by a Class

         Under the Bankruptcy Code, acceptance of a chapter 11 plan by a class of claims or interests is determined
by calculating the amount and,   if a class of claims, the number, of claims and interests voting to accept, as a
percentage of the allowed claims or interests, as applicable, that have voted. Each Class of Claims entitled to vote
on the Plan will have accepted the Plan if: (a) the holders of at least two-thirds in dollar amount of the Claims
actually voting in each Class vote to accept the Plan; and (b) the holders of more than one-half in number of the
Claims actually voting in each Class vote to accept the Plan.




{   1229.001-W00sss83. }                                      6
                     Case 19-10234-KG           Doc 384        Filed 04/24/19          Page 13 of 135



C.          Certain Factors to Be Considered Prior to Voting

         There are a varíeÍy of factors that all holders of Claims entitled to vote on the Plan should consider prior to
voting to accept or reject the Plan, including the following:

                 a    the financial information contained in this Disclosure Statement has not been
                      audited and is based on an analysis of data available at the time of the
                      preparation of the Plan and this Disclosure Statement;

                      although the Debtors believe that the Plan complies with all applicable
                      provisions of the Bankruptcy Code, the Debtors can neither assure such
                      compliance nor that the Bankruptcy Court will confirm the Plan;

                      the Debtors may request Conhrmation without the acceptance of all
                      ImpairedClasses entitled to vote in accordance with section 1129(b) of the
                      Bankruptcy Code; and

                 a    any delays of either Confirmation or Consummation could result in, among
                      other things, inçreased Administrative Claims or Professional Fee Claims.

         While these factors could affect distributions available to holders of Allowed Claims under the Plan, the
occurrence or impact of such factors will not necessarily affect the validity of the vote of holders within the Voting
Class or necessarily require a re-solicitation ofthe votes ofsuch holders.

        For a fui1her discussion of risk factors, please refer to Article      IX hereof, entitled "Certain Risk Factors to
be Considered Before Voting."

D           Classes Not Entitled to Vote on the Plan

          Under the Bankruptcy Code, holders of claims and interests are not entitled to vote if their contractual
rights are unimpaired by the proposed plan, in which case they are conclusively presumed to accept the proposed
plan, or if they will receive no property under the plan, in which case they are deemed to reject the proposed plan.
Accordingly, the following Classes of Claims and Interests are not entitled to vote to accept or reject the Plan:

    Class                      Claim or fnterest                           Stâttts                  Voting Rights
       I                      Secured Tax Claims                        Unimpaired                Presumed to Accept

       2                     Other Secured Claims                       Unimpaired                Presumed to Accept

       3                      Other Priority Claims                     Unimpaired                Presumed to Accept

       5                       Term Loan Claims                           Impaired                 Deemed to Reject

       6                   General Unsecured Claims                       Impaired                 Deemed to Reject

       7                     Intercompany Interests                       Impaired                 Deemed to Reject

       8                       Interests in Holdco                        Impaired                 Deemed to Reject


E.          Solicitation Procedures

            1.   Notice, Cløims, ønd Bølloting Agent

         The Debtors retained Prime Clerk LLC to act, among other things, as the notice, claims, and balloting agent
(the "Notice. Claims, and Ballotine Asent") in connection with the solicitation of votes to accept or reject the Plan.




{   1229.001-w00sss83. }                                      1
                     Case 19-10234-KG            Doc 384        Filed 04/24/19         Page 14 of 135



            2.   Solícítøtion Packøge

          The Voting Record Date is ilLlay 7,2019. The Voting Record Date is the date on which it will be
determined which Holders of Claims in the Voting Classes are entitled to vote to accept or reject the Plan and
whether Claims have been properly assigned or transferred under Bankruptcy Rule 3001(e) such that an assignee or
transferee, as applicable, can vote to accept or reject the Plan as the Holder of a Claim. Such Holders who are
entitled to vote to accept or reject the Plan as of May 1, 2019 will receive appropriate solicitation materials
(the "Solicitation Packaee"), which will include, in part, the following:

                 a    the appropriate Ballot(s) and applicable voting instructions, together with   a
                      pre-addressed, postage pre-paid return envelope; and

                      this Disclosure Statement, including the Plan as an exhibit thereto.

            3.   Distríbutíon of the Solicitation Packøge and Pløn Supplement

         The Debtors will cause the Notice, Claims, and Balloting Agent to distribute the Solicitation Packages to
holders of Claims in the Voting Classes on or before May 10, 2019.

          The Solicitation Package (except for the Ballots) may also be obtained: (a) from the Notice, Claims, and
Balloting Agent by (i) visiting https://cases.primeclerk.com/ThingsRemembered; (ii) writing to RMBR Liquidation,
Inc., et al., Ballot Processing Center, c/o Prime Clerk LLC, 830 3'd Ave, 3'd Floor New York, NY 10022; andlor
(iii) emailing thingsrememberedballots@PrimeClerk.com with a reference to "Things Remembered" in the subject
line; or (b) for a fee via PACER at http://www.deb.uscourts.gov.

          At least 7 days prior to the Confirmation Hearing, the Debtors intend to file the Plan Supplement. If the
Plan Supplement is updated or otherwise modified, such modified or updated documents will be made available at
https://cases.primeclerk.com/ThingsRemembered. The Debtors will not serve paper or CD-ROM copies of the
Plan Supplement; however, parties may obtain a copy of the Plan Supplement (a) from the Notice, Claims, and
Balloting Agent by (i) calling the Debtors' restructuring hotline for US/Canada toll free at (844) 339-4117 and for
International at (929) 333-8981; (iÐ visiting the Debtors' restructuring website ati
https://cases.primeclerk.com/ThingsRemembered; (iii) writing to RMBR Liquidation, Inc., et al.,Ballot Processing
Center, c/o Prime Clerk LLC, 830 3'd Ave, 3'd Floor New York, NY 10022; and/or
(iv) email thingsrememberedballots@PrimeClerk.com with a reference to "Things Remembered" in the subject
line; or (b) for a fee via PACER at http://www.deb.uscourts.gov.

          As described above, certain holders of Claims may not be entitled to vote because they are Unimpaired or
are otherwise presumed to accept the Plan under section 1126(Ð of the Bankruptcy Code. In addition, certain
holders of Claims and Interests may be Impaired but are receiving no distribution under the Plan, and are therefore
deemed to reject the Plan and are not entitled to vote. Such holders will receive only the Confirmation Hearing
Notice and a non-voting status notice. The Debtors are only distributing a Solicitation Package, including this
Disclosure Statement and a Ballot to be used for voting to accept or reject the Plan, to the holders of Claims or
Interests entitled to vote to accept or reject the Plan as of the Voting Record Date.

F.          Voting Procedures

         If, as of the Voting Record Date, you are a holder of a Claim in Class 4, the Voting Class, you may vote to
accept or reject the Plan in accordance with the Solicitation Procedures by completing the Ballot and returning it in
the envelope provided. If your Claim or Interest is not included in the Voting Class, you are not entitled to vote and
you will not receive a Solicitation Package. Except as otherwise set forth herein, the Voting Record Date and all of
the Debtors' solicitation and voting procedures shall apply to all of the Debtors' creditors and other parties in
interest.




{   1229.001-w00s5583.}                                        8
                 Case 19-10234-KG                Doc 384             Filed 04/24/19       Page 15 of 135



          1.   Voting Deadline

         The Votine Deadline is Mav 29" 2019. at 11:59 p.m., prevailing Eastern Time (the "Voting Deadline").
To be counted as a vote to accept or reject the Plan, a Ballot must be properly executed, completed, and delivered,
whether by first class mail, overnight delivery, or personal delivery, so that the Ballot is actuallv received by the
Notice, Claims, and Balloting Agent no later than the Voting Deadline.

          2.   Voting Instructions

         As described above, the Debtors have retained Prime Clerk LLC to serve as the Notice, Claims, and
Balloting Agent for purposes of the Plan. The Notice, Claims, and Balloting Agent is available to answer questions,
provide additional copies of all materials, oversee the voting process, and process and tabulate Ballots for each Class
entitled to vote to accept or reject the Plan.



                          To be counted, all Ballots must be actuallY received by the Notice, Claims,
                             and Balloting Agent by the Voting Deadline, which is May 29,2019
                               at I 1:59 p.m., prevailing Eastern Time, at the following address:

                                   RMBR Liquidation, Inc., et al., Ballot Processing Center
                                                      c/o Prime Clerk LLC
                                                  830 Third Avenue, 3rd Floor
                                                     New York, NY 10022

                               If you  have any questions on the procedure for voting on the Plan,
                                     please call the Debtors' restructuring hotline rnaintained
                                          by the Notice, Claims, and Balloting Agent at:
                                                     (844) 339-41 1 7 (toll fi'ee)
                                                  (929) 333 -898 1 (intemational)


          More detailed instructions regarding the procedures for voting on the Plan are contained in the Ballots
distributed to holders of Claims that are entitled to vote to accept or reject the Plan. All votes to accept or reject the
Plan must be cast by using the appropriate Ballot. All Ballots must be properly executed, completed, and delivered
according to their applicable voting instructions by: (a) first class mail, in the return envelope provided with eaçh
Ballot; (b) overnight courier; or (c) hand-delivery, so that the Ballots are 4!p!!y received by the Notice, Claims,
and Balloting Agent no later than the Voting Deadline at the return address set forth in the applicable Ballot. Any
Ballot that is properly executed by the holder ofa Claim entitled to vote that does not clearly indicate an acceptance
or rejection of the Plan or that indicates both an açceptance and a rejection of the Plan will not be counted.

          Each holder of a Claim entitled to vote to accept or reject the Plan may cast only one Ballot for each Claim
in the Voting Class held by such holder. By signing and returning      a Ballot, each holder of a Claim entitled to vote
will certify to the Bankruptcy Court and the Debtors that no other Ballots with respect to such Claim have been cast
or, if any other Ballots have been cast with respect to such Claim, such earlier Ballots are superseded and revoked.

          All Ballots will be accompanied by postage prepaid return envelopes. It is important to follow the specific
instructions provided on each Ballot, as failing to do so may result in your Ballot not being counted.

G.        Disputed Claims Procedures

          The Disclosure Statement Order authorizes the Debtors to temporarily allow Claims against which an
objection is pending as of the Voting Record Date in an amount that the Bankruptcy Court deems appropriate for
purposes of permitting the holder of such Claim to vote to accept or reject the Plan. Pursuant to the
Solicitation Procedures, if a Claim in a Voting Class is subject to an objection other than a "reduce and allow"
objection that is Filed with the Court on or prior to ten (10) days before the Voting Deadline: (i) the Debtors shall
cause the applicable holder to be served with a disputed claim notice; and (ii) the applicable holder shall not be
entitled to vote to accept or reject the Plan on account of such Claim unless a Resolution Event (as defined below)




{ 1229.001-w00sss83. }                                           9
                   Case 19-10234-KG             Doc 384        Filed 04/24/19         Page 16 of 135



occurs. The holder of a Claim in a Voting Class that is the subject of a pending objection on a "reduce and         allo#'
basis shall be entitled to vote such Claim in the reduced amount contained in such objection.

            If a Claim in a Voting Class is subject to an objection other than a "reduce and allo#' objection that is filed
with the Bankruptcy Court fewer than ten days before the Voting Deadline, the applicable Claim shall be deemed
temporarily allowedþr voting purposes only, without fuither action by the holder of such Claim and without further
order of the Bankruptcy Court, unless the Bankruptcy Court orders otherwise.

            A "Resolution Event" means the occurrence of one or more of the following       events no later than two
business days prior  to the Voting  Deadline:   (i) an order of the Bankruptcy Court is entered allowing such Claim
pursuant to section 502(b) ofthe Bankruptcy Code, after notice and a hearing; (ii) an order ofthe Bankruptcy Court
is entered temporarily allowing such Claim for voting purposes only pursuant to Bankruptcy Rule 3018(a), after
notice and a hearing; (iii) a stipulation or other agreement is executed between the holder of such Claim and the
Debtors resolving the objection and allowing such Claim in an agreed upon amount; or (iv) the pending objection is
voluntarily withdrawn by the objecting party. No later than one business day following the occurrenoe of a
Resolution Event, the Debtors shall cause the Notice, Claims, and Balloting Agent to distribute via email, hand
delivery, or overnight courier service a Solicitation Package and a pre-addressed, postage pre-paid envelope to the
rclcvant holder.

H.          Confirmation Hearing

        Assuming the requisite acceptances are obtained for the Plan, the Debtors intend to seek Confirmation of
the Plan at the Confirmation Hearing. The Disclosure Statement Order scheduled the Confirmation Hearing to
çommence on [o], 2019, at [l    [J.m., prevailing Eastem Time, before the Honorable Kevin Gross, United States
Bankruptcy Judge, in Courtroom No.      6 of the United States Bankruptcy Court for the District of Delaware,
                                    .Wilmington,
824 North Market Street, 6th Floor,              Delaware 19801. The Confìrmation Hearing may be continued
from time to time without further   notice other than an adjournment announced in open court or a notice of
adjournment  Filed with the Bankruptcy   Court and served on the entities who have Filed objections to the Plan,
without fuither notice to other parties in interest. The Bankruptcy Court, in its discretion and before                 the
Confirmation Hearing, may put in place additional procedures governing the Confirmation Hearing. The Plan may
be modified, if necessary, before, during, or as a result of the Confirmation Hearing, without further notice to parties
in interest.

                                                       ARTICLE IV.

                                               BUSINESS DESCRIPTION

A.          Corporate History

            1.   Introduction

          RMBR Liquidation, Inc. (f/k/a Things Remembered, Inc.) (together with its Debtor and non-Debtor
affiliates, the "Company"), was one of North America's largest specialty retailers focused on personalized,
engraved, and embroidered gifts. The Company's multi-channel retail approach focused exclusively on
personalized gift solutions for all gift-giving occasions, including weddings, birthdays, holidays, business events,
and graduations, available online through its e-commerce website or at one of approximately 400 stores in malls
throughout the United States and Canada.

                      (a)       General Background

          The Company was founded in 1966 as "Can Do" and initially operated as a small engraving and services
shop. Over the course of the ensuing 50 years, the Company established a reputable brand name in the personalized
gifts space as it expanded at its peak into 529 stores and 133 kiosks in the U.S. and Canada. As the Company
expanded, so did its personalization capabilities. The Company initially offered limited categories of merchandise
in its brick-and-mortar stores and later expanded to a broad range of personalized gifts and accessories including
handbags, apparel, fashion jewelry, and homeware available both online and in stores.




{   1229.001-W00s5s83.}                                       l0
                    Case 19-10234-KG              Doc 384       Filed 04/24/19    Page 17 of 135



                          (b)    The Compøny's Business Operatìons

            Headquartered       in Highland Heights, Ohio, the Company operates approximately 400 brick-and-mortar
stores across 43 states and four Canadian provinces. As of the Petition Date, the Company employed approximately
2,700 non-seasonal employees in the U.S. and Canada. The Company operates through its headquarters, satellite
office in Columbus, Ohio, and fulfillment and distribution center (the "Fulfillment and Distribution Center") in
North Jackson, Ohio. All merchandise flows through the Fulfillment and Distribution Center, where the Debtors
utilize over 1,300 pieces of equipment to engrave, embroider, laser, foil stamp, and etch the merchandise pursuant to
customer orders from both stores and online. The Company has refined the personalizalion process such that
customers can expect to receive an engraved or embroidered product within an hour ofvisiting the store or l-2 days
if completing the personalization process through the Company's website.

B.          Prepetition Capital Structure

             1.   The Debtors' Prepetition Cøpital Structare

            As of the Petition Date, the principal amount of the Debtors' consolidated funded debt obligations
(the "Prepetition Debt Obligations") totaled approximately $143.17 million, comprised of: (a) approximately
518.27 million of obligations under the Revolving Credit Facility (as defined herein) and (b) approximately $12492
million of obligations under the Term Loan (as defined herein).

            2.    The Credit Agreement

         On May 24, 2012, in connection with the acquisition of Things Remembered, Inc. by certain prior equity
investors, Things Remembered, Inc., as borrower, TRM Holdings Corporation, various lenders party thereto, and
Barclays Bank PLC (and Cortland Capital Market Services LLC, as successor in interest to Barclays Bank PLC) as
administrative agent and collateral agent entered into that certain Credit Agreement (as amended, restated, and
supplemented from time to time, the "Credit Agreement"). The Credit Agreement made available to Things
Remembered, Inc. a revolving credit facility and term loan facility.

          On August 30, 2016, the lenders under the Credit Agreement and the prior equity investors of Things
Remembered, Inc. consummated an out-of-court exchange transaction, pursuant to which the existing shares of
TRM Holdco Corporation issued to such equity investors were cancelled and new shares were issued and distributed
to the then-existing lenders. In connection with the transaction, parties to the Credit Agreement also amended and
restated the Credit Agreement. As a result, all drawn revolving loans under the Credit Agreement were converted
into term loans and the principal amount of all term loans (including the converted term loans) under the Credit
Agreement were reduced to $95 million from $ I 17 million. The existing revolving credit facility was cancelled and
certain lenders provided a new $20 million revolving credit facility.

       The Credit Agreement was further amended and supplemented several times thereafter, including a second
amendment and restatement on January 30, 2018, pursuant to which the then-existing revolving credit facility was
terminated and a new revolving credit facility was provided by certain lenders. As of the Petition Date, the
revolving credit facility (the "Revolving Credit Facility") has approximately $18.72 million outstanding, with a
maturity date of February 28,2019, and the term loan (the "Term Loan") has an outstanding principal amount of
approximately $124.92 million (including fees, costs, and expenses), after giving effect to the increase as a result of
payment-in-kind interest ("PIK Interest") payments, with a maturity date of February 29,2020.

            3.    The Revolving Credit Føcilíty

          The Revolving Credit Facility currently provides for total revolving credit commitments of $17 million.
The Revolving Credit Facility provides for LIBOR loans and Base Rate loans. The LIBOR loans bear interest (per
annum) at LIBOR (with a one percent floor) plus an eight percent margin, payable in cash, and 12 percent deferred
interest. The Base Rate loans bear interest (per annum) at Base Rate (equal to the the higher of (a) the applicable
prime lending rate, (b) 0.50 percent above the overnight federal funds rate, or (c) one percent above LIBOR, subject
to a two percent floor) plus a seven percent margin, payable in cash, atd 12 percent deferred interest. Interest
payments are due the last business day of each applicable interest period with respect to LIBOR loans and quarterly




{   1229.001-w0055583.}                                        11
                    Case 19-10234-KG         Doc 384        Filed 04/24/19        Page 18 of 135



with respect to Base Rate loans, except that, in each case, deferred interest is only payable in cash on the earlier of
the maturity date or the date the revolving credit commitments are terminated and paid in full.

          The Revolving Credit Facility is secured by an all assets lien, including, without limitation, a lien on the
Debtors' accounts (including receivables), inventory, deposit accounts, security accounts, cash, and cash
equivalents, as well as on certain other property of the Debtors, including, without limilation, the Debtors'
intellectual property and 65 percent and 100 percent of the equity in Things Remembered Canada,Inc. and Things
Remembered, Inc., respectively. To date approximately $11.72 million remains outstanding under the Revolving
Credit Facility.

             4.   The Term Loøn

          The Term Loan currently bears interest at an annual rate equal to 12 percent, which consists ofone percent
of cash interest and 1 I percent PIK Interest. Both cash interest and PIK Interest are payable on the last business day
of each calendar month. Obligations under the Term Loan are secured by the same collateral as the Revolving
Credit Facility; however, the Term Loan is subordinated, to the extent set forth in the Credit Agreement, to the
payment in full of the obligations in respect of the Revolving Credit Facility. As of the Petition Date, approximately
$110.1 million in aggregate principal amount remained outstanding under the Term Loan Facility, and
approximately $14.8 million in fees, costs, expenses, and PIK Interest accrued to balance, for a total outstanding
balance of approximately $124.92 million.

             5.   Equity

      KKR Lending Partners L.P. and Petrus Yield Opportunity Fund, L.P. hold approximately 66 percent of the
common equity interests of TRM HoldCo Corp. The remaining equity is held directly or indirectly by nine other
lenders.

                                                    ARTICLE V.

                                  EVENTS LEADING TO THE CHAPTER 11 CASES
A.          Adverse Industry Trends and Operational Challenges.

         A confluence of factors contributed to the Debtors' need to commence the Chapter 1l Cases. These
include macroeconomic factors-most significantly, the general shift away from brick-and-mortar stores to online
channels and the accompanying departure of anchor mall tenants-which have led to a decrease in foot traffiç and
sales. Microeconomic factors-including delays in the website migration, year-over-year lagging store sales,
delayed procurement and non-receipt of inventory due to vendor payment issues, and a disproportionately large
physical footprint-compounded the macroeconomic factors and led to both substantially reduced revenue and
spending cuts across key operational areas. Over time, these factors tightened the Debtors' liquidity and
complicated their relationship with their vendors. These factors culminated in a liquidity crisis by December 2018,
when the Debtors faced dwindling cash flows, inaccessible inventory, tightening trade credit, the inability to access
incremental liquidity, and winter holiday sales below historical numbers.

          The Debtors, along with many other retail companies, faced a challenging commercial environment over
the past several years brought on by increased online competition and the shift away from shopping at brick-and-
mortar stores. Given the Debtors' substantial brick-and-mortar presence in shopping malls, and the expenses
associated therewith, the Debtors' business was heavily dependent on physical consumer traffic tied to ançhor
tenants, and resulting sales conversion, to meet sales and profitability targets. The combination of the above factors,
and others plaguing the retail industry as a whole, contributed to the Debtors falling short of their sale targets and
depressed profitability performance.

         In addition to the challenges facing brick-and-mortar retailers generally, the Debtors also suffered from
operational challenges that have contributed to a steep decline in EBITDA. First, the Company expended
substantial capital ín 2016 to revamp the merchandise structure and enhance the personalization experience. These
improvements temporarily drove positive comparable store sales. But the increased demand was hampered by a
decrease in foot traffic due to numerous anchor tenants terminating leases through bankruptcy or otherwise. Second,




{   1229.001-W005ss83. }                                  t2
                   Case 19-10234-KG          Doc 384        Filed 04/24/19        Page 19 of 135



in November 2016, the Debtors migrated their website to respond to the transition of consumer preference from
brick-and-mortar stores to online channels, but experienced technical challenges associated with the migration,
which impacted sales. Third, in addition to challenges associated with the website migration, consistently declining
sales squeezed liquidity and further forced cost cutting in key business areas, including with respect to marketing,
inventory, store leases, and employees.
B.          Supply Chain and Vendor Challenges.

         As the Debtors' liquidity tightened, vendors began to place pressure on the supply chain cost structure by
delaying or cancelling shipments until receiving payment. Beginning in August 2018, merchandise shipments and
inventory receipts began to slow due to shrinking liquidity and a lack of vendor support. Prior to the Petition Date,
substantial numbers of vendors refused to ship inventory unless the Debtors paid cash on delivery, resulting in shelf-
ready merchandise being stranded. Specifically, a large volume of inventory that was critical for the winter holiday
season lay dormant in distribution centers and ports and was inaccessible due to a lack of liquidity necessary to
satisfy vendors, which hurt the Company's performance during the all-important winter holiday season.
Consequently, the Debtors were materially behind their inventory receipt plan. The lack of fresh and sufficient
inventory further tightened the Debtors' liquidity, creating a negative feedback loop.

C.          Unsustainable Store Footprint.

         Prior to the Petition Date, the Company's store footprint was unsustainable and costly. Despite closing 280
unprofitable U.S. stores from 2012-2018, the Company's sales continued to decrease each year. The Company
proactively shortened lease terms at continuing stores to an average of 2.1 years and coordinated lease termination
dates to coincide with the receipt of fourth quarter results. The Company's efforts to control rent costs and shift
focus to profitable stores ultimately were unable to counteract the losses from industry trends and operational
challenges.

         Prior to the Petition Date, the Debtors conducted 37 closings of stores with January 31,2019 lease
expiration dates. The Debtors have continued closings of approximately 240 stores postpetition. In anticipation of
these closings, the Debtors engaged the Consultant to begin liquidating the inventory in the closing stores and
otherwise preparing the stores for turnover to the applicable landlords.

D.          Restructuring Efforts.

            1.   Operationallnitiatives.

          In the months leading up to the Petition Date, the Debtors initiated multiple go-forward operational
initiatives to salvage value. These included initiatives to increase brick-and-mortar profitability, such as store
modernization through elimination of paper forms and the addition of iPads to streamline the personalizalion and
sale process and shuttering of underperforming locations. The initiatives also included efforts to bolster the
Debtors' online-direct sale business, including aggressively marketing to loyal customers in store closure areas to
facilitate sale transfers to online channels and attracting new customers via an expanded partnership with Amazon
and through increased serviçe capabilities for the business-to-business customer segment.

          In addition to implementing operational initiatives, the Company initiated discussions with its lenders and
equity owners regarding potential restructuring alternatives to maximize stakeholder value. These restructuring
alternatives included a going-concern sale, a multi-year out-of-Çourt store closure process through ordinary course
lease expirations, or an orderly chapter 11 liquidation. The Company determined to commence a prepetition
marketing process to determine market interest in a going-concern sale of some or all of the Company's assets.

            2.   Retention of Advisors.

         The Debtors have worked with Kirkland & Ellis LLP, as restructuring counsel since February 2016, In
January 2019,the Debtors retain Landis Rath & Cobb LLP as restructuring co-counsel. In December 2018, the
Debtors hired Stifel, Nicolaus & Co., Inc. and Miller Buckfire & Co., LLC (collectively, "Stifel/Miller Buckfire"),
as investment banker to initiate a comprehensive marketing process for some or all of the Debtors' assets. Berkeley
Research Group, LLC ("BRG") had been assisting the Debtors with their restructuring efforts since January 2017.



{   1229.001-W00ss583.}                                   l3
                   Case 19-10234-KG          Doc 384        Filed 04/24/19         Page 20 of 135



            3.   Marketing Process.

         In the face of a looming year-end payment under the Revolving Credit Facility and dwindling liquidity, the
Debtors initiated discussions with lenders and equity owners regarding debt restructuring options to maximize
stakeholder value. The Debtors, in consultation with the secured lenders, determined not to repay the Revolving
Credit Facility at year-end as required by the Credit Agreement in order to increase incremental cash-on-hand and
extend the timeline for exploring restructuring altematives. The lenders forbore default remedies between year-end
and the Petition Date. Ultimately, the lenders consented to the use of cash collateral, subject to the terms of the cash
collateral order, creating $ I I million in incremental cash-on-hand to fund the prepetition marketing process and
these Chapter 11 Cases.

          Recognizing the need to explore strategic alternatives, the Debtors worked with Kirkland & Ellis LLP, as
restructuring counsel, and StifelAvliller Buckfire, as investment banker, to test the market. Stifel/Miller Buckfire
compiled a targeted list of strategic and financial buyers and initiated a comprehensive marketing process, and BRG
compiled diligence information and responded to a high volume of diligence requests from multiple interested
parties. With downward spiraling liquidity and increasing financial challenges, the Debtors concluded, in
consultation with their legal and financial advisors, that pursuing a going-concern sale of the Direct Business and
approximately 128 stores, coupled with a wind-down of all stores not acquired under the Stalking Horse APA, was
the best option to maximize value for the Debtors' estates and creditors.

          The Debtors and Stifel/Miller Buckfire engaged in an extensive marketing process to solicit bids for the
Debtors' assets and for the Debtors' business as a going-concern. Leading up to the Petition Date, Stifel/Miller
Buckfire contacted 28 potentially interested strategic and financial parties, including I I financial parties a.nd 17
strategic parties. Of these, approximately 7 parties entered into confidentiality agreements with the Debtors and
received a copy of the confidential information memorandum, and thus began the diligence process.

         By early January 2019, the marketing process yielded two written proposals to acquire the Debtors' Direct
Business but no physical store locations. The Debtors and their advisors negotiated with both parties regarding
material transaction terms, including purchase price, escrow payments for certain prepetition operational expenses,
and chapter I I timing milestones. These negotiations progressed toward definitive asset purchase documentation;
however, just days before the Petition Date, these parties and the Debtors were unable to reach agreements sufficient
to establish either party as a stalking horse bidder. Ultimately, the Debtors countered with necessary adjustments,
but neither party accepted those adjustments going into these Chapter I I Cases.

          In the week preceding the Petition Date, Enesco submitted a written proposal seeking to acquire a broader
asset base than the otherproposals-the Direct Business and approximately 128 stores. The Debtors quickly moved
to negotiate with Enesco in anticipation of obtaining a higher purchase price and preserving thousands ofjobs. After
vigorous negotiations, the Debtors and Enesco reached an agreement on material terms and moved toward def,rnitive
documentation.

         The Debtors determined that Enesco's proposed $17.5 million purchase price for the Direct Business and
Acquired Stores, subject to a right to add or remove stores with a 50 store minimum, was superior to the other
potential stalking horse bids. Enesco's proposal provided multiple benefits over the other written proposals,
including, among other benefits, Enesco's familiarity with the gifting sector, the broader acquired-asset base, and
greater prospective employment levels.

                                                    ARTICLE VI.

                                      EVENTS OF THE CHAPTER 11 CASES

A.          First Day Pleadings and Other Case Matters

            1.   First Day Relief

        On the Petition Date, along with their voluntary petitions for relief under chapter 11 of the Bankruptcy
Code (the "P-9!{Lqg!"), the Debtors filed several motions (the "First Day Motions") designed to facilitate the



{   1229.001-W005s583.}                                    t4
                    Case 19-10234-KG             Doc 384       Filed 04/24/19      Page 21 of 135



administration of the Chapter I I Cases and minimize disruption to the Debtors' operations, by, among other things,
easing the strain          on the Debtors' relationships with employees, vendors, and customers following the
commencement of the Chapter I       I Cases. A brief description of each of the First Day Motions and the evidence in
support thereof is set forth in the Declaration of Robert J. Duffy, Chief Restructuring Officer of the Debtors, in
Support of Debtors' Chapter I I Petitions and First Day Motions, filed on the Petition Date. Significantly, pursuant
to the First Day Motions, the Debtors sought the authority to pay the Claims of a number of their vendors in full, in
the regular course ofbusiness.

         The First Day Motions, and all proposed orders for relief in the Chapter 11 Cases, can be viewed free     of
charge at htçs://cases.primeclerk.com/ThingsRemembered.

             2.   Approval of Use of Cash Collateral

         Based on the Debtors' need for immediate liquidity to administer the Chapter 11 Cases, on the Petition
Date, the Debtors filed a motion seeking authorization to use cash collateral on an interim and final basis. On March
29, 2079, the Court entered íhe Final Order (A) Authorizing Postpetition Use Of Cash Collateral, (B) Granting
Adequate Protection To The Prepetition Secured Lenders, (C) Modifying The Automatic Stay And (D) Granting
Related Relief lDocket No. 353].

B.           Bid Procedures and Sale Motion

         On the Petition Date, the Debtors filed the Motion for Entry of Orders (I) Appointing a Consumer Privøcy
Ombudsmqn, (II)(A) Approving Bidding Procedures, (B) Approving Bid Protections, (C) Scheduling an Auction and
Sale Heøring, (D) Approving the Form and Manner of Notice Thereof, (E) Establishíng Procedures for the
Assumption and Assignment of Contracts ønd Leases, QIÐ(A) Approving the Asset Purchase Agreement, (B)
Authorizing the Sale of Assets, and (C) Authorizing the Assumption and Assígnment of Contracts and Leases, and
(IV) Granting Related Relief [Docket No. 23] (the "Bid Procedures and Sale Motion"). By Order dated January 21,
2019,the Court approved the Debtors' Bid Procedures Motion [Docket No. 150].

         On March 6, 2019, the Court entered the Order (A) Approving the Asset Purchøse Agreement, (B)
Authorizing the Sale of Assets, ønd (C) Authorizing the Assumption ønd Assignment of Contracts ønd Leases, and
(D) Granting Related Relief fDocket No. 292] (the "Sale Order") approving the sale of substantially all of the
Debtors' assets to Enesco. In addition to the purchase price of $17.5 million (subject to post-closing adjustments),
the Debtors assumed and assigned 178 leases ofnon-residential real property to Enesco. The sale to Enesco closed
on March 8,2019.

C.          Executory Contracts and Unexpired Leases

             1.   Assumption and Rejection of Executory Contracts and Unexpired Leases

         The Debtors are party to a substantial number of executory contracts. The Debtors are conducting a
comprehensive analysis of their executory contracts and have, and intend to continue to, engage in extensive
discussions with contract and lease counterparties regarding the contributions such parties are making to the
restructuring prooess.

        On the Effective Date, except as otherwise provided in the Plan, each Executory Contract and Unexpired
Lease not previously rejected, assumed, or assumed and assigned, including any employee benefit plans, severance
plans, and other Executory Contracts under which employee obligations arise, shall be deemed automatically
rejected pursuant to sections 365 and ll23 of the Bankruptcy Code, unless such Executory Contract or Unexpired
Lease: (1) is specifically described in the Plan as to be assumed in connection with confirmation of the Plan, or is
specifically scheduled to be assumed or assumed and assigned pursuant to the Plan or the Plan Supplement; (2) is
subject to a pending motion to assume such Unexpired Lease or Executory Contract as of the Effective Date; (3) is
to be assumed by the Debtors or assumed by the Debtors and assigned to another third party, as applicable, in
connection with the any sale transaction; (4) is a contract, instrument, release, indenture, or other agreement or
document entered into in connection with the Plan; or (5) is a D&O Liability Insurance Policy. Entry of the
Conf,rrmation Order by the Bankruptcy Court shall constitute approval of such assumptions, assignments, and




{   1229.001-w0055s83. }                                     l5
                    Case 19-10234-KG         Doc 384       Filed 04/24/19         Page 22 of 135



rejections, including the assumption of the Executory Contracts or Unexpired Leases as provided           in the Plan
Supplement, pursuant to sections 365(a) and I 123 ofthe Bankruptcy Code.

         Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the assumptions,
assumptions and assignments, or rejections of such Executory Contracts or Unexpired Leases as set forth in the Plan
or the Schedule ofRejected Executory Contracts and Unexpired Leases, pursuant to sections 365(a) and 1123 ofthe
Bankruptcy Code, except as otherwise provided in the Plan or the Confirmation Order. Unless otherwise indicated
or agreed by the Debtors and the applicable contract counterparties, assumptions, assumptions and assignments, or
rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective Date.
Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order but not
assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the applicable
contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified by any
order of the Bankruptcy Court authorizing and providing for its assumption under applicable federal law or         as
otherwise agreed by the Debtors and the applicable counterparty to the Executory Contract or Unexpired Lease.

            2.   Cure of Default for Assumed Executory Contracts and Unexpired Leases

         Any monctary dcfaults under an Executory Contract or Unexpired Lease to be assumed or assumed and
assigned, shall be satisfied, pursuant to section 365(bX1) of the Bankruptcy Code, by payment of the Cure Claim, as
reflected on the Cure Notice or as otherwise agreed or determined by a Final Order of the Court, in Cash on the
Effective Date or as soon as reasonably practicable thereafter, subject to the limitations described below, or on such
other terms as the parties to such Executory Contract or Unexpired Leases may otherwise agree. In the event of a
dispute regarding: (1) the amount of any Cure Claim; (2) the ability of the Debtors, Post-Effective Date Debtors, or
any assignee, as applicable, to provide "adequate assurance of future performance" (with the meaning of section 365
of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed; or (3) any other matter
pertaining to assumption, the Cure Claims shall be made following the entry of a Final Order resolving the dispute
and approving the assumption.

         At least seven (7) days before the Voting Deadline, the Debtors shall distribute, or cause to be distributed,
Cure Notices to the applicable third parties. Any objection by a counterparty to an Executory Contract or Unexpired
Lease to the proposed assumption, assumption and assignment, or related Cure Claim must be Filed by the
Cure/Assumption Objection Deadline. Any counterparty to an Executory Contract or Unexpired Lease that fails to
object timely to the proposed assumption, assumption and assignment, or Cure Notice will be deemed to have
assented to such assumption or assumption and assignment, and Cure Claim. To the extent that the Debtors seek to
assume and assign an Unexpired Lease pursuant to the Plan, the Debtors will identify the assignee in the applicable
Cure Notice and/or Schedule and provide "adequate assurance of future performance" for such assignee (within the
meaning of section 365 of the Bankruptcy Code) under the applicable Executory Contract or Unexpired Lease to be
assumed and assigned.

          In the event of an unresolved dispute regarding (1) the amount of any Cure Claim, (2) the ability of the
Debtors, Post-Effective Date Debtors, or any assignee to provide "adequate assuranoe of future performance"
(within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed, or assumed and assigned, or (3) any other matter pertaining to assumption, assignment, or payments of any
Cure Claims required by section 365(bxl) of the Bankruptcy Code, such dispute shall be resolved by a Final
Order(s) of the Bankruptcy Court.

          Assumption or assumption and assignment of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise, and the payment of the Cure Claim, shall result in the full release and satisfaction of any Claims
or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy related defaults, arising under any assumed Executory Contract
or Unexpired Lease at any time before the date that the Debtors assume or assume and assign such Executory
Contract or Unexpired Lease. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease
that has been assumed or assumed and assigned shall be deemed Disallowed and expunged, without further notice to
or action, order, or approval ofthe Bankruptcy Court.




{   1229.001-W00sss83.}                                   t6
                   Case 19-10234-KG         Doc 384        Filed 04/24/19        Page 23 of 135



            3.   Adequate Assurance    of Future Performance under Assumed              Executory Contracts and
Unexpired Leases

                  The Debtors are prepared to demonstrate the feasibility of the Plan at the Confirmation Hearing in
satisfaction of any obligation to provide adequate assurance of future performance under Executory Contracts and
Unexpired Leases that are assumed under the Plan.

D.          Store Closing Process

          On February 7,2019, the Court entered the Interim Order (I) Authorizing the Debtors to Assume the
Consultant Agreement, (II) Approving Procedures þr Store Closing Søles, QII) Approving the Implementation of
Customary Store Bonus Program and Payments to Non-Insiders Thereunder, and (IV) Granting Related Relief
fDocket No. 64] (the "Interim Store Closing Order"). On February 28,2019, the Court entered the Final Order (I)
Authorizing the Debtors to Assume the Consultant Agreement, (II) Approving Procedures for Store Closing Sales,
(III) Approving the Implementation of Customary Store Bonus Program and Payments to Non-Insiders Thereunder,
and (IV) Granting Related Relief lDocket No. 2171 (the "Final Store Closing Order" and together with the Interim
Store Closing Order, the "Store Closing Orders"). Pursuant to the Store Closing Orders, the JV Agent led store
liquidation sales at 228 locations that were not assumed and assigned to Enesco.

E.          Schedules and Statements

          On March 2,2019, the Debtors filed their Schedules of Assets and Liabilities and Statements of Financial
Affairs fDocket Nos.242-247] (the "schedules and Statements"). On March 5,2019, the Office of the United States
Trustee conducted and closed the meeting of creditors convened pursuant to section 34 1 of the Bankruptcy Code.

F.          Litigation Matters

        In the ordinary course ofbusiness, the Debtors are parties to certain lawsuits, legal proceedings, collection
proceedings, and claims arising out of their business operations. The Debtors cannot predict with certainty the
outcome of these lawsuits, legal proceedings, and claims.

          With certain exceptions, the filing of the Chapter 1l Cases operates as a stay with respect to the
commencement or continuation of litigation against the Debtors that was or could have been commenced before the
çommencement of the Chapter 11 Cases. In addition, the Debtors' liability with respect to litigation stayed by the
commencement of the Chapter 1 I Cases generally is subject to discharge, settlement, and release upon confirmation
of a plan under chapter I l, with certain exceptions. Therefore, certain litigation Claims against the Debtors may be
subject to discharge in connection with the Chapter 11 Cases.

G.          Claims Bar Date

         The Bankruptcy Court has established [], 2019, at 4:00 p.m., prevailing Eastern Time, as the Claims bar
date (the "Admin/Priority Bar Date") in the Chapter I I Cases. The following entities holding Claims against the
Debtors that arose (or that are deemed to have arisen) prior to the Petition Date, must file proofs of claim on or
before the Bar Date: (i) any right to payment arising (or deemed to arise) before the Petition Date that is secured by
property of the Debtors' estates, (ii) any right to payment constituting a priority claim under Bankruptcy Code
section 507(a) against the Debtors arising (or deemed to arise) before the Petition Date, (iii) any right to payment
constituting a cost or expense of administration of the Debtors' chapter 11 cases arising under Bankruptcy Code
sections 503(b) and 501(a)(2) against the Debtors lhal may have arisen, accrued or otherwise become due and
payable at any time on and subsequent to the Petition Date through April 30, 2019, and (iv) any right to payment
under Bankruptcy Code section 503(bX9). The Court has established August 5, 2019 af 4:00 p.m., prevailing
Eastem Time, as the governmental entity bar date (the "Governmental Bar Date").

         In accordance with Bankruptcy Rule 3003(c)(2), if any person or entity that is required, but fails, to file a
proof of claim on or before the Bar Date: (1) such person or entity will be forever barred, estopped, and enjoined
from asserting such Claim against the Debtors (or filing a proof of claim with respect thereto); (2) the Debtors and
their property may be forever discharged from any and all indebtedness or liability with respect to or arising from



{   1229.001-W005ss83.}                                   l7
                   Case 19-10234-KG           Doc 384        Filed 04/24/19         Page 24 of 135



such Claim; (3) such person or entity will not receive any distribution in the Chapter 11 Cases on acÇount of that
Claim; and (4) such person or entity will not be permitted to vote on any plan or plans of reorganization for the
Debtors on account of these barred Claims or receive further notices regarding such Claim.

       As described in this Disclosure Statement, the distribution you receive on account of your Claim          (if   any)
may depend, in part, on the amount of Claims for which proofs of claim are filed on or before the Bar Date.

                                                    ÄRTICLE VII.

                                            SUMMARY OF THE PLAN

          This section provides a summary of the structure and means for implementation of the Plan and the
classification and treatment of Claims and Interests under the Plan, and is qualified in its entirety by reference to the
Plan (as well as any exhibits thereto and definitions therein).

         The statements contained in this Disclosure Statement include summaries of the provisions contained in the
Plan and in the documents referred to therein. The statements contained in this Disclosure Statement do not purport
to be precise or conrplete statements of all the terms and provisions of thc Plan or documcnts rcfcrrcd to thcrcin, and
reference is made to the Plan and to such documents for the full and complete statement of such terms and
provisions of the Plan or doçuments referred to therein.

         The Plan controls the actual treatment of Claims against, and Interests in, the Debtors under the Plan, and
will, upon the ocçurrence of the Effective Date, be binding upon all holders of Claims against and Interests in the
Debtors and the Debtors' Estates, all parties receiving property under the Plan, and other parties in interest. In the
event of any conflict between this Disclosure Statement and the Plan or any other operative document, the terms of
the Plan and/or such other operative document shall control.

A.          Means for Implementation of the Plan

            1.   PIan Admìnistrøtor

         On the Effective Date, the authority, power, and incumbency of the persons acting as directors and officers
of the Post-Effective Date Debtors shall be deemed to have resigned, solely in their capacities as such, and the Plan
Administrator shall be appointed as the sole director and the sole officer of the Post-Effective Date Debtors and shall
succeed to the powers of the Post-Effective Date Debtors' directors and officers. From and after the Effective Date,
the Plan Administrator shall be the sole representative of, and shall act for, the Post-Effective Date Debtors. For the
avoidance of doubt, the foregoing shall not limit the authority of the Post-Effective Date Debtors or the Plan
Administrator, as applicable, to continue the employment any former director or officer.
                      (a)    Powers of the PIøn Administrøtor

          The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
and to make distributions thereunder and wind down the businesses and affairs of the Debtors and the Post-Effective
Date Debtors, as applicable, including: (1) liquidating, receiving, holding, investing, supervising, and protecting the
remaining assets of the Post-Effective Date Debtors; (2) taking all steps to execute all instruments and documents
necessary to effectuate the distributions to be made under the Plan; (3) making distributions as contemplated under
the Plan; (4) establishing and maintaining bank accounts in the name of the Post-Effective Date Debtors; (5) subject
to the terms set forth herein, employing, retaining, terminating, or replacing professionals to represent it with respect
to its responsibilities or otherwise effectuating the Plan to the extent necessary; (6) paying all reasonable fees,
expenses, debts, charges, and liabilities of the Post-Effective Date Debtors; (7) administering and paying taxes of the
Post-Effective Date Debtors, including filing tax returns; (8) representing the interests of the Post-Effective Date
Debtors before any taxing authority in all matters, including any action, suit, proceeding, or audit; and (9) exercising
such other powers as may be vested in it pursuant to an order of the Bankruptcy Court or pursuant to the Plan, or as
it reasonably deems to be necessary and proper to aarry out the provisions ofthe Plan.

        The Plan Administrator may resign at any time upon 30 days' written notice delivered to the Post-Effective
-Date Debtors and the Prepetition Agent; provided that such resignation shall only become effective upon the



{   1229.001-W0055583.}                                    l8
                    Case 19-10234-KG           Doc 384       Filed 04/24/19         Page 25 of 135



appointment of a permanent or interim successor Plan Administrator. Upon its appointment, the successor Plan
Administrator, without any further act, shall become fully vested with all of the rights, powers, duties, and
obligations of its predecessor and all responsibilities of the predecessor Plan Administrator relating to the Post-
Effective Date Debtors shall be terminated.

                      (b)    Appointment of the Pløn Administrøtor

        The Plan Administrator shall be jointly appointed by the Debtors and the Prepetition Agent. The Plan
Administrator shall retain and have all the rights, powers, and duties necessary to carry out his or her responsibilities
under this Plan, and as otherwise provided in the Confirmation Order.

                      (c)    RetentionofProfessionøls

         The Plan Administrator shall have the right to retain the services of attorneys, accountants, and other
professionals that, in the discretion of the Plan Administrator, are necessary to assist the Plan Administrator in the
performance of his or her duties. The reasonable fees and expenses of such professionals shall be paid by the
Post-Effective Date Debtors from the Wind Down Amount, upon the monthly submission of statements to the Plan
Administrator. The payment of lhe reasorrable fees and expenses of the Plan Adrniuistrator's retained professionals
shall be made in the ordinary course ofbusiness and shall not be subject to the approval ofthe Bankruptcy Court.

                      (d)    Compensøtion of the Plan Admínistrøtor

        The Plan Administrator's compensation, on a post-Effective Date basis, shall be as described in the Plan
Supplement and shall be jointly determined by the Debtors and Prepetition Agent.

                      (e)     Wind Down Amount

          Notwithstanding anything to the contrary contained in the Plan, all fees, expenses, disbursements and other
costs of the Plan Administrator and the Post-Effective Date Debtors, including, without limitation, fees and expenses
of any attorneys, accountants, and other professionals engaged by the Plan Administrator and/or the Post-Effective
Date Debtors, if any, shall be funded from the Wind Down Amount. Any amounts remaining in the Wind Down
Amount after entry of a final decree closing the last of the Chapter I I Cases shall be paid first, to the Prepetition
Agent to be applied toward the Revolver Claims until the Revolver Claims are paid in fulI and, second, to the
Prepetition Agent to be applied toward the Term Loan Claims until the Term Loan Claims are paid in full.

                      (Ð     Priority Claìms Reserve

            On the Effective Date, the Plan Administrator shall establish the Priority Claims Reserye by depositing
Cash in the amount of the Priority Claims Reserve Amount into the Priority Claims Reserve.

            The Priority Claims Reserve shall be maintained in trust solely for holders of Allowed Priority Claims and
Allowed Administrative Claims (other than Allowed Professional Fee Claims) and for no other Entities until all
Allowed Priority Claims and Allowed Administrative Claims (other than Allowed Professional Fee Claims) have
been paid in full. Funds held in the Priority Claims Reserve shall not be considered property of the Estates of the
Debtors or the Post-Effsctive Date Debtors. The Priority Claims Reserve Amount shall be used to pay holders of all
Allowed Priority Claims and Allowed Administrative Claims (other than Allowed Professional Fee Claims), to the
extent that such Priority Claims and Administrative Claims have not been paid in full on or before the Effective
Date. If all or any portion of a Priority Claim or Administrative Claim (other than a Professional Fee Claim) shall
become a disallowed Claim, then the amount on deposit in the Priority Claims Reserve attributable to such surplus
or such disallowed Claim, including the interest that has accrued on said amount while on deposit in the Priority
Claims Reserve, shall remain in the Priority Claims Reserve to the extent that the Plan Administrator determines
necessary to ensure that the Cash remaining in the Priority Claims Reserve is sufficient to ensure that all Allowed
Priority Claims and Allowed Administrative Claims (other than Professional Fee Claims) will be paid in accordance
with the Plan. Any amounts remaining in the Priority Claims Reserve after all Allowed Priority Claims and
Allowed Administrative Claims (other than Allowed Professional Fee Claims) are paid in full, shall be paidfirst, to
the Prepetition Agent to be applied toward the Revolver Claims until the Revolver Claims are paid in fulI and,



{   1229.001-W00sss83.}                                     19
                   Case 19-10234-KG           Doc 384       Filed 04/24/19         Page 26 of 135



second, to the Prepetition Agent to be applied toward the Term Loan Claims until the Term Loan Claims are paid in
tulI.

            2.   Wind Down

         On and after the Effective Date, the Plan Administrator will be authorized to implement the Plan and any
applicable orders of the Bankruptcy Court, and the Plan Administrator shall have the power and authority to take
any action necessary to wind down and dissolve the Debtors' Estates.

          As soon as practicable after the Effective Date, the Plan Administrator shall take any and all actions as the
Plan Administrator may determine to be necessary or desirable to carry out the purposes of the Plan. From and after
the Effective Date the Debtors (l) for all purposes shall be deemed to have withdrawn their business operations from
any state in which the Debtors were previously conducting, or are registered or licensed to conduct, their business
operations, and shall not be required to file any document, pay arLy sum, or take any other action in order to
effectuate such withdrawal, (2) shall be deemed to have cancelled pursuant to this Plan all Interests, and (3) shall not
be liable in any manner to any taxing authority for franchise, business, license, or similar taxes accruing on or after
the Effective Date.

         The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the Plan Administrator.

            3.   Ptan Administrâtor Exculpation, Indemnification, Insurance, and Liabitity Limitation

         The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
respects by the Post-Effective Date Debtors. The Plan Administrator may obtain, at the expense of the Post-
Effective Date Debtors, commercially reasonable liability or other appropriate insurance with respect to the
indemnification obligations of the Post-Effective Date Debtors. The Plan Administrator may rely upon written
information previously generated by the Debtors.

            4.   Tax Returns

          After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required
federal, state, and local tax returns for each of the Debtors, and, pursuant to section 505(b) of the Bankruptcy Code,
may request an expedited determination of any unpaid tax liability of such Debtor or its Estate for any tax incurred
during the administration of such Debtor's Chapter I I Case, as determined under applicable tax laws.

            5.   Dissolution of the Post-Effective Date Debtor

         Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
Chapter 11 Cases, the Post-Effective Date Debtors shall be deemed to be dissolved without any further action by the
Post-Effective Date Debtors, including the filing of any documents with the secretary of state for the state in which
the Post-Effective Date Debtors are formed or any other jurisdiction. The Plan Administrator, however, shall have
authority to take all necessary actions to dissolve the Post-Effective Date Debtors in and withdraw the Post-Effective
Date Debtors from applicable states.

            6.   Disbursing Agent

         Distributions under the Plan shall be made by the Disbursing Agent. The Disbursing Agent shall not be
required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Post-Effective Date Debtors and paid from the
Wind Down Amount.




{   1229.001-W00sss83. }                                   20
                    Case 19-10234-KG          Doc 384        Filed 04/24/19        Page 27 of 135



                      (a)    Powers of the Dísbursing Agent

            The Disbursing Agent shall be empowered to: (i) effect all actions and execute all             agreements,
instruments, and other documents necessary to perform its duties under the Plan; (ii) make all distributions
contemplated hereby; (iii) employ professionals to represent it with respect to its responsibilities; and (iv) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions hereof.

            7.   Expenses Incurred On or   After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount ofany reasonable fees and out-of-pocket
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
compensation and out-of-pocket expense reimbursement claims (including reasonable attorney fees and expenses)
made by the Disbursing Agent shall be paid in Cash from the V/ind Down Amount.

            8.   Delivery of Distributions and Undeliverable or Unclaimed Distributions

                      (a)    Record Date for Dístribation

          On the Distribution Record Date, the Claims Register shall be closed and arry pariy responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

                      (b)    Delivery of Dístríbutìons

          Except as otherwise provided in the Plan, the Post-Effective Date Debtors shall make distributions to
holders  of Allowed Claims and Allowed Interests on the Effective Date at the address for each such holder as
indicated on the Debtors' records as of the date of any such distribution; provided that the manner of such
distributions shall be determined at the discretion of the Post-Effective Date Debtors; provided, further, that the
address for each holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed
by that holder.

                      (c)    Mínimum Dístríbutíons

          Notwithstanding any other provision of the Plan, the Disbursing Agent will not be required to make
distributions of Cash less than $100 in value, and each such Claim to which this limitation applies shall be
discharged pursuant to Article VIII.A of the Plan and its holder is forever barred pursuant to Article VIII.F of the
Plan from asserting that Claim against the Debtors or their property.

                      (d)    Undeliverøble Dístributions ønd Unclaimed Property

         In the event that any distribution to any holder is returned as undeliverable, no distribution to such holder
shall be made unless and until the Disbursing Agent has determined the then current address of such holder, at
which time such distribution shall be made to such holder without interest; provided that such distributions shall be
deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one year from the
Effective Date. After such date, all unclaimed property or interests in property shall revert to the Post-Effective
Date Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding any
applicable federal, provincial, or state escheat, abandoned, or unclaimed propefiy laws to the contrary), and the
Claim ofany holder to such property or Interest in property shall be discharged and forever barred.

B.          Settlement, Release, Injunction, and Related Provisions

            1.   General Settlement of Claims and Interests

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan. on the Effective Date, the



{   1229.001-w00s5s83. }                                    2t
                    Case 19-10234-KG          Doc 384        Filed 04/24/19         Page 28 of 135



provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of
Action, and controversies released, settled, compromised, discharged, or otherwise resolved pursuant to the Plan.
The Plan shall be deemed a motion to approve the good-faith compromise and settlement of all such Claims,
Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation
Order shall constitute the Bankruptcy Court's approval of such compromise and settlement under section ll23 of
the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement
and compromise is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates. Subject to
Article VI of the Plan, all distributions made to holders of Allowed Claims and Allowed Interests (as applicable) in
any Class are intended to be and shall be final.

            2.   Terms of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter I I Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
Order), shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or
the Confirmation Order shall remain in full force and effect in accordance with their terms.

            3.   Release of Liens

         Except as otherwise provided in the Plan, the Plan Supplement, or any contract, instrument, release,
or other agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full
of the portion of the Secured Claim that is Allowed as of the Effective Date, and required to be satisfïed
pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests against any
property of the Estates shall be fully released, settled, compromised, and discharged, and all of the right, title,
and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert automatically to the applicable Debtor and its successors and assigns. Any holder of such Secured
Claim (and the applicable agents for such holder) shall be authorized and directed to release any collateral or
other property of any Debtor (including any cash collateral and possessory collateral) held by such holder
(and the applicable agents for such holder), and to take such actions as may be reasonably requested by the
Post-Effective Date Debtors to evidence the release of such Lien, including the execution, delivery, and filing
or recording of such releases. The presentation or filing of the Confïrmation Order to or with any federal,
state, provincial, or local agency or department shall constitute good and sufficient evidence of, but shall not
be required to effect, the termination of such Liens.

            4.   Releases by the Debtors

          As of the Effective Dateo for good and valuable consideration, the adequacy of which is hereby
confirmed, each Released Party is deemed released and discharged by each and all of the Debtors, the Post-
Effective Date Debtors, and their Estates, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other entities who may purport to assert any Cause of A,ction,
directly or derivatively, by, through, for, or because of the foregoing entities, from any and all Claims,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever, including any
derivative claims, asserted or assertable on behalf of any of the Debtors, the Post-Effective Date Debtors, or
their Estates, as applicable, whether known or unknown, foreseen or unforeseen, existing or hereinafter
arising, in law, equity, or otherwise, that the Debtors, the Post-Effective Date Debtors, or their Estates or
affìliates would have been legally entitled to assert in their own right (whether individually or collectively) or
on behalf of the holder of any Claim against, or Interest in, a Debtor or other Bntity, based on or relating to,
or in any manner arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the
purchase or sale of any security of the Debtors or the Post-Effective Date Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the Debtors' in- or out-of-court sale
and restructuring efforts, intercompany transactions, the Credit Agreement Documents, the Sale
Transaction(s), the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or
consummation of the Disclosure Statement, the Plan (including, for the avoidance of doubt, the Plan
Supplement), or any Restructuring Transaction, contract, instrument, release, or other agreement or
document created or entered into in connection with the Disclosure Statement or the Planl, the filing of the


{   1229.001-W00ss583. }                                   22
                   Case 19-10234-KG          Doc 384      Filed 04/24/19      Page 29 of 135



Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan, or the
distribution of property under the Plan or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date; provided that
any right to enforce the Plan, the Confìrmation Order, the Agency Agreement, and the Asset Purchase
Agreement is not so released.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court's approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.C of the Plan by the Debtors, which includes
by reference each of the related provisions and defÏnitions contained in this Plan, and further, shall constitute
the Bankruptcy Court's finding that each release described in Article VIII.C of the Planis: (1) in exchange
for the good and valuable consideration provided by the Released Parties, (2) a good-faith settlement and
compromise of such Claims; (3) in the best interests of the Debtors and all holders of Claims and Interests;
(4) fair, equitable, and reasonabte; (5) given and made after due notice and opportunity for hearing; and (6) a
bar to any of the Debtors or Post-Effective Date Debtors or their respective Estates asserting any claim,
Cause of ,A.ction, or liability related thereto, of any kind whatsoever, against any of the Released Parties or
their property.

            5.   Releases by Holders of Claims and Interests

         As of the Effective Date, in exchange for good and valuable consideration, including the obligations
of the Debtors under the Plan and the contributions of the Released Parties to facilitate and implement the
Plan, to the fultest extent permissible under applicable law, as such law may be extended or integrated after
the Effective Date, each of the Releasing Parties shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever, released and discharged each Debtor, Post-Effective Date Debtor,
and Released Party from any and all any and all Claimso interests, obligationso rights, suits, damages, Causes
of Actíon, remedies, and liabititÍes whatsoever, whether known or unknown, foreseen or unforeseen, existing
or hereinafter arising, in law, equity, or otherwise, including any derivative claims, asserted or assertable on
behalf of any of the Debtors, the Post-Effective Date Debtors, or their Estates, that such Entity would have
been legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner
arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the purchase or sale of any
security of the Debtors or the Post-Effective Date Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Debtors' in- or out-of-court sale and restructuring efforts,
intercompany transactions, the Credit Agreement Documents, the Sale Transaction(s), the Chapter lL Cases,
the formulation, preparation, dissemination, negotiation, filing, or consummation of the Disclosure
Statement, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Disclosure Statement, or the Plan, the filing of the Chapter LL Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including
the issuance or distribution of securities pursuant to the Plan, or the distribution of property under the Plan
or any other related agreement, or upon any other related act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date; provided that any right to enforce the Plan, the
Confïrmation Order, the Agency Agreement, and the Asset Purchase Agreement is not so released.
          Entry of the Confirmation Order shall constitute the Bankruptcy Court's approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.D of the Plan, which includes by reference
each of the related provisions and definitions contaÍned in this Plan, and further, shall constitute the
Bankruptcy Court's finding that each release described in Article VIII.D of the Plan is: (1) in exchange for
the good and valuable consideration provided by the Released Parties, (2) a good-faith settlement and
compromise of such Claims; (3) in the best interests of the Debtors and all holders of Claims and Interests;
(4) fair, equitableo and reasonabte; (5) given and made after due notice and opportunity for hearing; and (6) a
bar to any of the Releasing PartÍes or the Debtors or Post-Effective Date Debtors or their respective Estates
asserting any claim, Cause of Action, or liability related thereto, of any kind whatsoever, against any of the
Released Parties or their property.




{   1229.001-w00ss583.}                                  23
                    Case 19-10234-KG          Doc 384        Filed 04/24/19          Page 30 of 135



         The Debtors believe the third-party release is entirely consensual under the established case law in the
United States Bankruptcy Court for the District of Delaware. See Indianapolis Downs, LLC, 486 B.R. 286, 304-06
(Bankr. D. Del, 2013). The Debtors will be prepared to meet their burden to establish the basis for the releases,
exculpations, and injunctions provided by the Plan as part of Confirmation of the Plan.

         As more fully explained above and in the Plan, the effect of this consensual third party release will be a fulI
and final release of any and all causes of action and all other claims against certain parties as of the Effective Date of
the Plan, to the extent such causes of action or claims relate, generally, to the subject matter of the holders' Claim or
the prior or existing business or operations of the Debtors. Such consensual release will include both known and
unknown causes of action and claims. As described more fully in the Plan, the parties receiving releases include
(a) the Debtors; (b) the Post-Effective Date Debtors; (c) each Prepetition Secured Lender; (d) the Administrative
Agent; (e) the Purchaser; (f) all Holders of Claims; (h) all Holders of Interests; (i) each current and former Affiliate
ofeach Entity in clause (a) through (h); and (f) each Related Party ofeach Entity in clause (a) through (i).

         Notwithstanding the foregoing, an Entity shall be neither a Releasing Party nor a Released Party if it:
(x) does not vote to, and is not deemed to, accept the Plan; and (y) timely files with the Bankruptcy Court on the
docket of the Chapter 11 Cases an objection to the releases contained in Article VIII.D of the Plan that is not
resolved before Confirmation; provided, however, that any such Entity shall bc identified by name &s & non-
Releasing Party and non-Released Party in the Confirmation Order.

            6.   Exculpation

         Notwithstanding anything herein to the contrary, the Exculpated Parties shall neither have nor
incur, and each Exculpated Party is released and exculpated from, any liability to any holder of a Cause of
Action, Claim, or Interest for any act or omission in connection with, relating to, or arising out of, the
Chapter 11 Cases, consummation of the Sale Transaction(s), the formulation, preparationo dissemination,
negotiation, filing, or consummation of the Disclosure Statement, the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document created or entered into in connection with the
Disclosure Statement or the Plan, the fiting of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit
of Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Plan or the distribution of property under the Plan or any other related agreement (whether
or not such issuance or distribution occurs following the Effective Date), negotiations regarding or
concerning any of the foregoing, or the administration of the Plan or property to be distributed hereunder,
except for actions determined by Final Order to have constituted actual fraud or gross negligence, but in all
respects such Entities shall be entitted to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties, the Prepetition Agent and
Prepetition Lenders have, and upon completion of the Plan shall be deemed to have, participated in good
faith and in compliance with the applicable laws with regard to the solicitation of votes and distribution of
consideration pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be,
liable at any time for the violation of any applicable lawo rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

            7.   Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the ConfïrmatÍon Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Post-Effective Date Debtors, the Exculpated Parties, or the Released Parties: (1.) commencing or continuing
in any manner any action or other proceeding of any kind on account of or in connection with or with respect
to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion



{   1229.001-W0055583. }                                   24
                    Case 19-10234-KG          Doc 384        Filed 04/24/19         Page 31 of 135



requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicabte law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests released or settled pursuant to the Plan.

          Upon entry of the Confïrmation Order, all holders of Claims and Interests and their respective
current and former employees, agents, offÏcers, directors, managers, principals, and direct and indirect
Affiliates shall be enjoined from taking any actions to interfere with the implementation or Consummation of
the Plan. Each holder of an Allowed Ctaim or Allowed Interest, as applicable, by accepting, or being eligible
to accept, distributions under or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan,
shall be deemed to have consented to the injunction provisions set forth in Article VIII.E of the Plan.

            8.   Setoffs and Recoupment

         Except as expressly provided in the Plan, each Post-Effective Date Debtor may, pursuant to section 553 of
the Bankruptcy Code, set off or reooup against any Plan distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Retained Causes of Action that such Post-Effective Date Debtor may hold against the
holder of such Allowed Claim to the extent such setoff or recoupment is either (l) agreed in amount among the
relevant Post-Effective Date Debtor(s) and holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy
Court or another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or
recoupm€nt nor the allowance of any Claim hereunder shall constitute a waiver or release by a Post-Effective Date
Debtor or its successor of any and all claims, rights, and Retained Causes of Action that such Post-Effective Date
Debtor or its successor may possess against the applicable holder. In no event shall any holder of Claims against, or
Interests in, the Debtors be entitled to reÇoup any such Claim or Interest against any claim, right, or Cause of Action
of the Debtors or the Post-Effective Date Debtors, as applicable, unless such holder actually has performed such
recoupment and provided notice thereof in writing to the Debtors in accordance with Article VI of the Plan on or
before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder
asserts, has, or intends to preserve any right ofrecoupment.


            9         Substantive Consolidation

            a. The Plan serves as a motion by the Debtors seeking entry of an order substantively consolidating all
of the Estates of all of the Debtors into a single consolidated estate for all purposes associated with confirmation and
consummation of the Plan. Intercompany Claims and Intercompany Interests are deemed to be satisfied and resolved
by the substantive consolidation provided for in the Plan.

            b. Sections 105(a) and 1123(aX5) of the Bankruptcy Code empower a bankruptcy court to authorize
substantive consolidation pursuant to a chapter I I plan over the objections of creditors. In re Owens Corning,4I9
F.3d 195 (3d Cir. 2005). The Third Circuit ín Owens Corning discussed at length substantive consolidation in
bankruptcy proceedings, as well as its genesis and the impact it has on debtors' creditors and their rights and
recoveries. The Court provided following the baseline standards for approval of non-consensual substantive
consolidation, while leaving the trial court with discretion to assess what facts are necessary to meet these standards:

             (Ð prepetition [the debtors] disregarded separateness so significantly that their creditors relied on the
breakdown ofentity borders and treated them as one legal entity, or (ii) postpetition their assets and liabilities are so
scrambled that separating them is prohibitive and hurts all creditors.

Id. at2ll . Following Owens Corning, Courts in this District have clarified that substantive consolidation is also
appropriate where the parties consent to it. See Schroeder v. New Century Liquidating Trust (In re New Century-TRS
Holdings, Inc.),407 B.R. 576, 591 (D. Del. 2009).

              The Debtors believe that substantive consolidation is warranted because the Prepetition Agent, on
behalf of holders of Class 4 Revolver Claims (the only impaired class entitled to distributions under the Plan) has
consented to substantive consolidation. Further, the Debtors historically operated on a consolidated basis as is
demonstrated by, among other things, the following: (i) substantially all of the Debtors' employees were employed




{   1229.001-w005ss83. }                                   25
                   Case 19-10234-KG          Doc 384        Filed 04/24/19         Page 32 of 135



and paid by RMBR Liquidation, Inc., (ii) the Debtors operated a consolidated cash management system, with almost
all of the Debtors' disbursements being made from RMBR Liquidation, Inc.'s operating accounts, (iii) almost all of
the Debtors' outward facing activities were conducted by RMBR Liquidation, Inc., including that substantially all
outside vendors issued invoices to RMBR Liquidation, Inc., and (iv) the Debtors' clients, vendors and industry
participants identified the Debtors as "Things Remembered" as opposed to their separate corporate identities.

               The Debtors further submit that creditors will not be harmed by substantive consolidation. Given the
nominal amount of assets held by certain of the Debtors, and the expense of generating separate chapter I 1 plans for
each of the Debtors, the Debtors believe that the overall effect of substantive consolidation will be more beneficial
than harmful to creditors and will allow for greater efficiencies and simplifìcation in administering the Plan.
Accordingly, the Debtors believe that substantive consolidation of the Debtors' Estates under the terms of the Plan
will not adversely impact the treatment of the Debtors' creditors, but rather will reduce expenses by decreasing the
administrative difficulties and costs related to the administration of the Debtors' Estates separately.

            c. The entry of the Confirmation Order shall constitute approval by the Bankruptcy Court of the
substantive consolidation of the Debtors and their respective Estates for all purposes relating to the Plan, including
for purposes of voting, confirmation, and Distributions. If this substantive consolidation is approved, then for all
purpo$es assor:iated with the confìmration and consurmnatiou of the Plan, all assets and liabilities of the Debtors
shall be treated as though they were merged into a single economic unit, and all guarantees by any Debtor of the
obligations of any other Debtor, to the extent such exist, shall be considered eliminated so that any Claim and any
guarantee thereof by any other Debtor, as well as any joint and several liability of any Debtor with respect to any
other Debtor, shall be treated as one collective obligation of the Debtors. Moreover, (a) no Distribution shall be
made under the Plan on açcount of any Intercompany Interest held by any one of the Debtors in any of the other
Debtors except to the extent necessary to effect the substantive consolidation provided for herein; (b) all guaranties
of any one of the Debtors of the obligations of any of the other Debtors, to the extent such exist, shall be eliminated
so that any Claim against any one of the Debtors, and any guaranty thereof executed by any of the other Debtors,
shall be one obligation of the consolidated Debtors' Estates; and (c) every Claim that is timely Filed or to be Filed in
the Chapter 11 Cases of any of the Debtors shall be deemed Filed against the consolidated Estates and shall be one
Claim against, and one obligation of, the Estates.

             d. In addition, notwithstanding any provision of the Plan to the contrary, any holder of multiple
Allowed Claims against more than one Debtor that arise from the contractual, joint, joint and several, or several
liability of such Debtors, the guaranty by one Debtor of another Debtor's obligation (if such exists), or other similar
circumstances, shall be entitled to one Allowed Claim that, in the aggregate, does not exceed the amount of the
underlying Claim giving rise to such multiple Claims. Claims against more than one of the Debtors arising from the
same injury, damage, cause of action, or common facts shall be Allowed only once as if such Claim were against a
single Debtor.

             e. Any alleged defaults under any applicable agreement, including executory contracts and unexpired
leases,   with the Debtors arising from substantive consolidation under the Plan shall be deemed cured as of the
Effective Date.

           f. As soon as practicable after the Effective Date, the Plan Administrator is authorized to and shall
submit an order to the Bankruptcy Court under certification ofcounsel that is in form and substance acceptable to
the U.S. Trustee that closes each of the Chapter 11 Cases except RMBR Liquidation, Inc.'s Chapter l1 Case. The
Debtors' consolidated estate shall be administered through RMBR Liquidation, Inc.'s Chapter 1l Case. Once the
Plan has been fully administered, the Plan Administrator shall file a final report and a motion seeking a final decree
in accordance with Local Rule 3022-1.

                                                   ARTICLE VIII.

                     STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN

            The following is a brief summary of the confirmation proçess. Holders of Claims and Interests            are
encouraged to review the relevant provisions of the Bankruptcy Code and to consult their own advisors with respect
to the summary provided in this Disclosure Statement.



{   1229.001-w00ss583.}                                    26
                        Case 19-10234-KG                     Doc 384           Filed 04/24/19               Page 33 of 135



A.             Confirmation Hearing

         Section 1128(a) of the Bankruptcy Code requires a bankmptcy court, after notice, to conduct a hearing to
consider confirmation of a chapter 11 plan. Section 1128(b) of the Bankruptcy Code provides that any party in
interest may object to confirmation of the Plan. The Bankruptcy Court has scheduled the
Confirmation Hearing for [       ì, at [_1, prevailing Eastern Time. The Confirmation Hearing may be
adjourned from time to time by the Bankruptcy Courl without furlher notice except for an announcement of the
adjourned date made at the Confirmation Hearing or the Filing of a notice of such adjountment served in accordance
with the order approving this Disclosure Statement and Solicitation Procedures. Any objection to the Plan
must: (l) be in writing; (2) conform to the Bankruptcy Rules and the Local Rules for the United States Bankruptcy
Court for the District of Delaware; (3) state the name, address, phone number, and email address of the objecting
party and the amount and nature of the Claim or Interest of such entity, if any; (4) state with panicularity the basis
and nature of any objection to the Plan and, if practicable, a proposed modification to the Plan that would resolve
such objection; and (5) be Filed, contemporaneously with a proof of service, with the Bankruptcy Court and served
so that it is actually received by the following notice parties set forth below no later than the Plan Objection
Deadline. Unless an objection to the Plan is timely served and Filed,                                     it   may not be considered by the
Bankruptcy Court.


                                                             Co-Cownsel to the Debtors

                         KIRKLAND & ELLIS LLP                                                             Adam G. I-andis
               Chrìstophel T. Gleco, P.C. (adrnitted plo hac vice)                                       Matthew B. McGuire
                     Derek I. Hunter (adrnitted pro hac vice)                                           Kimbelly A. Brown
                             601 Lexington Avenue                                                   LANDIS RATH & COBB LLP
                          New York, New York 10022                                                        919 Market Street
                          Telephone: (212) 446-4800                                                            Suire 1 800
                           Facsirnile: (212) 446 -4900                                               Wihnington, Delaware 19801
                                                                                                      Teleplrone: (302)4 67 -4 400
                                      -and-                                                           Facsirnile: (302) 467 -4450

                         KIRKLAND & ELLIS LLP
                  Spencer A. Winters (adrnitted pro hac vice)
                             300 Noth l¡Salle
                            Chicago, Illinois 60654
                          Teleplrone: (3 12) 862-2000
                          Facsimile: (312) 862-2200


                                                                                                      Cownsel to Commíttee

                         Weil Gotshal & Manges LLP                                                    Kelly Drye & W¡rren LLP
                               767 Fifth Avenue                                                            101 Park Avenue
                           New Yolk, New York l0 I 53                                                 New York, New York 10178
                              Attn: David Grìffiths                                                       Attn: Jason Adarns

                                                                      U.S. Trustee

                                                             Office of the United States Tlustee
                                                                  The District of Delaware
                                                                844 King Street, Suite 2207
                                                                Wihnington, Delaware I 9801
                                                                    Attn: Tirnothy Fox



B.             Confirmation Standards

               At the Confirmation Hearing, the Bankruptcy Court will                              determine whether the Plan satisfìes the
requirements of section 1 129 of the Bankruptcy Code. The Debtors believe that the Plan satisfies or will satisfy all
of the statutory requirements of chapter 11 of the Bankruptcy Code and that they have complied or will have
complied with all of the requirements of chapter 11 of the Bankruptcy Code. Specifically, the Debtors believe that
the Plan satisfies or will satisfy the applicable confirmation requirements of section ll29 of the Bankruptcy Code,
including those set forth below.



{   r   229.001-w00sss83. }                                                 21
                   Case 19-10234-KG              Doc 384        Filed 04/24/19          Page 34 of 135



             1.   Feøsíbilìty

        The Bankruptcy Code requires that to confirm a chapter 11 plan, the Bankruptcy Court must find that
confirmation of such plan is not likely to be followed by the liquidation or the need for further financial
reorganizatron ofthe debtor(s) unless contemplated by the plan.

         The Plan provides for the liquidation and distribution of the Debtors' assets. Accordingly, the Debtors
believe that all Plan obligations will be satisfied without the need for further reorganization of the Debtors.

            2.    Best fnturests of Creditors

           Notwithstanding acceptance of the Plan by a voting Impaired Class, to confirm the Plan, the
Bankruptcy Court must still independently determine that the Plan is in the best interests of each holder of a Claim
or Interest in any such Impaired Class that has not voted to accept the Plan, meaning that the Plan provides each
such holder with a recovery that has a value at least equal to the value ofthe recovery that each such holder would
receive if the debtor was liquidated under chapter 7 of the Bankruptcy Code on the Effective Date. Accordingly, if
an Impaired Class does not unanimously vote to accept the Plan, the best interests test requires the Bankruptcy Court
to fincl that the Plan provicles to each memher of such Impairerl Class a recovery on account of the Class member's
Claim or Interest that has a value, as of the Effective Date, at least equal to the value of the recovery that each such
Class member would receive if the Debtors were liquidated under chapter 7.

         The Debtors believe that the Plan satisfies the best interests test because, among other things, the recoveries
expected to be available to holders of Allowed Claims under the Plan will be greater than the recoveries expected to
be available in a chapter 7 liquidation, as discussed more fully below.

          In a typical chapter 7 case, a trustee is elected or appointed to liquidate a debtor's assets and to make
distributions to creditors in accordance with the priorities established in the Bankruptcy Code. Generally, secured
creditors are paid first from the proceeds of sales of their collateral. If any assets remain in the bankruptcy estate
after satisfaction of secured creditors' claims from their collateral, administrative expenses are next to be paid.
Unsecured creditors are paid from any remaining sale proceeds, according to their respective priorities. Unsecured
creditors with the same priority share in proportion to the amount of their allowed claims in relationship to the total
amount of allowed claims held by all unsecured creditors with the same priority. Finally, interest holders receive the
balance that remains, if any, after all creditors are paid.

          Substantially all of the assets of the Debtors' business were liquidated through the Sale Transaction.
Although the Plan effects a liquidation of the Debtors' remaining assets and a chapter 7 liquidation would achieve
the same goal, the Debtors believe that the Plan provides a greater recovery to holders of Allowed General
Unsecured Claims than would a chapter 7 liquidation. Liquidating the Debtors' Estates under the Plan likely
provides holders of Allowed Revolver Claims with a larger, more timely recovery in part because of the expenses
that would be incurred in a chapter 7 liquidation, including the potential added time (thereby reducing the present
value of any recovery for holders) and expense incurred by the chapter 7 trustee and any retained professionals in
familiarizing themselves with the Chapter I I Cases. See, e.g., I 1 U.S.C. $ 326(a) (providing for compensation of a
chapter 7 trustee); ll U.S.C. 503(bX2) (providing administrative expense status for compensation and expenses of a
chapter 7 trustee and such trustee's professionals). The çonversion to chapter 7 would also require entry of a new
bar date. ,See Fed. R. Bankr. P. l0l9(2); 3002(c). Thus, the amount of Claims ultimately filed and Allowed against
the Debtors could materially increase, thereby further reducing creditor recoveries versus those available under the
Plan.

            Accordingly, the Debtors believe that the Plan is in the best interests of creditors.

C.          Alternative Plans

          The Debtors do not believe that there are aîy alternative plans for the reorganization or liquidation of the
Debtors' Estates. The Debtors believe that the Plan, as described herein, enables holders of Claims and Interests to
realize the greatest possible value under the circumstances and that, compared to any alternative plan, the Plan has
the greatest chance to be confirmed and consummated.




{   1229.001-w00s5s83. }                                      28
                     Case 19-10234-KG         Doc 384       Filed 04/24/19         Page 35 of 135



D.           Acceptance by Impaired Classes

          The Bankruptcy Code requires, as a condition to Confirmation that, except as described in the following
section, each class of claims or equity interests that is impaired under a plan accept the plan. A class that is not
"impaired" under a plan is presumed to have accepted the plan and, therefore, solicitation of acceptances with
respect to such class is not required. Pursuant to section ll24 of the Bankruptcy Code, a class is "impaired" unless
the plan: (l) leaves unaltered the legal, equitable, and contractual rights to which the claim or the equity interest
entitles the holder of such claim or equity interest; (2) cures any default, reinstates the original terms of such
obligation, and compensates the applicable party in question; or (3) provides that, on the consummation date, the
holder of such claim or equity interest receives cash equal to the allowed amount of that claim or, with respect to
any equity interest, any fixed liquidation preference to which the holder of such equity interest is entitled to any
fixed price at which the debtor may redeem the security.

          Section ll26(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired creditors as
acceptance by holders of at least two-thirds in dollar amount and more than one-half in number of claims in that
class, but for that purpose counts only those who actually vote to accept or to reject a plan. Votes that have been
"designated" under section 1126(e) ofthe Bankruptcy Code are not included in the calculation ofacceptance by a
class of claims. Thus, a Class of creclitor Claims will have voted to accept the Plan only if two-thirds in amount and
a majority in number actually voting cast their Ballots in favor of acceptance, subject to Article III of the Plan. Only
holders of Claims in the Voting Classes will be entitled to vote on the Plan.

         Section ll26(d) of the Bankruptcy Code defines acceptance of a plan by a class of interests as acceptance
by holders of at least two-thirds in dollar amount of those interests who actually vote to accept or reject a plan.
Votes that have been "designated" under section ll26(e) ofthe Bankruptcy Code are not included in the calculation
of acceptance by a class of interests. Thus, a Class of Interests will have voted to accept the Plan only if two-thirds
in amount actually voting cast their Ballots in favor of acceptance, not counting designated votes, subject to
Aticle III of the Plan. No Class including holders of Intercsts is entitled to vote on the Plan.

        Article III.F of the Plan provides in full: "If a Class contains Claims or Interests eligible to vote and no
holders of Claims or Interests eligible to vote in such Class vote to accept or reject the Plan, the holders of such
Claims or Interests in such Class shall be deemed to have accepted the Plan." Such "deemed acceptance" by an
impaired class in which no class members submit ballots satisfies section I129(a)(10) of the Bankruptcy Code. See
In re Tribune Co.,464 B.R. 126, 183 (Banla. D. Del. 2011) ("V/ould 'deemed acceptance' by a non-voting impaired
class, in the absence of objection, constitute the necessary 'consent' to a proposed 'per plan' scheme? I conclude
that it may." (footnote omitted)); see In re Adelphia Commc'ns Corp.,368 B.R. 14, 259-63 (Bankr. S.D.N.Y. 2007).

E.           Confirmation Without Acceptance by Äll Impaired Classes

                 ll29(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even if Impaired
             Section
Classes entitled to vote on the plan have not accepted it or if an Impaired Class is deemed to reject the Plan;
provided that the plan is accepted by at least one Impaired Class. Pursuant to section 1129(b) of the
BankruptcyCode, notwithstanding an impaired class's rejection or deemed rejection of the plan, such plan will be
confirmed, at the plan proponent's request, in a procedure commonly known as "cram down," so long as the plan
does not "discriminate unfairly" and is "fair and equitable" with respect to each class of claims or equity interests
that is impaired under, and has not accepted, the plan.

             1.   No Unfair Discrimination

         This test applies to Classes of Claims or Interests that are of equal priority and are receiving different
treatment under the Plan. The test does not require that the treatment be the same or equivalent, but that such
treatment be "fair." In general, bankruptcy courts consider whether a plan discriminates unfairly in its treatment of
Classes of Claims of equal rank(e.g., classes of the same legal character). The Debtors do not believe the Plan
discriminates unfairly against any Impaired Class of Claims or Interests. The Debtors believe that the Plan and the
treatment of all Classes of Claims and Interests satisfy the foregoing requirements for nonconsensual Confirmation.




{   1229.001 -V/0055s83. }                                 29
                    Case 19-10234-KG               Doc 384    Filed 04/24/19        Page 36 of 135



             2.   tr'air and Equitable Test

          This test applies to classes ofdifferent priority and status (e.g., secured versus unsecured) and includes the
general requirementthatno class of claims receive more than 100 percent of the amount of the allowed claims in
such class. As to the non-accepting class, the test sets different standards depending on the type of claims or
interests in such class. As set forth below, the Debtors believe that the Plan satisfies the "fair and equitable"
requirement because, for each applicable Class, there is no Class of equal priority receiving more favorable
treatment and no Class that is junior to such dissenting Class that will receive or retain any property on account of
the Claims or Interests in such Class.

                          (a)   Secured Cløims

         The condition that a plan be "fair and equitable" to a non-accepting class of secured claims includes the
requirements that: (i) the holders of such secured claims retain the liens securing such claims to the extent of the
allowed amount of the claims, whether the property subject to the liens is retained by the debtor or transferred to
another entity under the plan; and (ii) each holder of a secured claim in the class reçeives deferred cash payments
totaling at least the allowed amount of such claim with a present value, as of the effective date of the plan, at least
equivalent to the value ofthe secured claimant's interest in the debtor's property subject to the liens.

                          (b)   Unsecured Cløims

         The condition that a plan be "fair and equitable" to a non-accepting class ofunsecured claims requires that
either: (i) the plan provides that each holder of a claim of such class receive or retain on account of such claim
property of a value, as of the effective date of the plan, equal to the allowed amount of such claim; or (ii) the holder
of any claim or any equity interest that is junior to the claims of such class will not receive or retain under the plan
on account of such junior claim or junior equity interest any property.

                          (c)   Equily fnturests

         The condition that a plan be "fair and equitable" to a non-accepting class of equity interests includes the
requirements that either: (i) the plan provides that each holder of an equity interest in that class reçeives or retains
under the plan on account ofthat equity interest property ofa value, as ofthe effective date ofthe plan, equal to the
greater of: (A) the allowed amount of any fixed liquidation preference to which such holder is entitled; (B) any
fixed redemption price to which such holder is entitled; or (C) the value of such interest; or (ii) if the class does not
receive the amount as required under (i) hereof, no class of equity interests junior to the non-accepting class may
receive a distribution under the plan.

                                                      ARTICLE IX.

                           CERTAIN RISK FACTORS TO BE CONSIDERED BEFORE VOTING

       Holders of Claims should read and carefully consider the risk factors set forth below, as well as the other
information set forth in this Disclosure Statement and the documents delivered together with this
Disclosure Statement, referred to or incorporated by reference in this Disclosure Statement, before voting to accept
or reject the Plan. These factors should not be regarded as constituting the only risks present in connection with the
Debtors' businesses or the Plan and its implementation.

A.          Risk tr'actors that May Affect Recoveries Available to holders of Allowed Claims Under the Plan

             1.   Actuøl Amounts of Allowed Cløims May Differ from Estimated Amounts of Allowed Cløims,
                  Thereby Adversely Affecting the Recoveries of Some holders of Allowed Claims

         The estimates of Allowed Claims and recoveries for holders of Allowed Claims set forth in this
Disclosure Statement are based on various assumptions. Should one or more of the underlying assumptions
ultimately prove to be incorrect, the actual Allowed amounts of Claims may significantly vary from the estimated
Claims contained in this Disclosure Statement. Moreover, the Debtors cannot determine with any certainty at this
time the number or amount of Claims that will ultimately be Allowed. Such differences may materially and


{   1229.001-W005ss83.}                                      30
                  Case 19-10234-KG            Doc 384        Filed 04/24/19           Page 37 of 135



adversely affect, among other things, the recoveries to holders of Allowed Claims and Allowed Interests under the
Plan. Some holders are not entitled to any recovery pursuant to the terms of the Plan, and, depending on             the
accuracy of the Debtors' various assumptions, even those holders entitled to a recovery under the terms of the Plan
may ultimately receive no recovery.

           2.   The Debtors Cannot Støte wíth Certainty lí/høt Recovery      llill   Be Avøilable to holders of Allowed
                Cløims ín the Voting Cløsses

          The Debtors cannot know with certainty, at this time, the number or amount of Claims in the Voting
Classes that  will ultimately be Allowed and how the amount of Allowed Claims will compare to the estimates
provided herein. For example, a number of Proofs of Claim allege Claims in an unliquidated amount that will
require future resolution, making the amount of any Allowed Claim based on such Proof of Claim entirely
speculative as of the date of this Disclosure Statement. In addition, the Debtors are continuing to review the Proofs
of Claim filed in their Chapter 11 Cases. As such, the estimated amount of Claims may materially change due to the
Debtors' ongoing review. Accordingly, because certain Claims under the Plan will be paid on a Pro Rata basis, the
Debtors caffrot state with certainty what recoveries will be available to holders of Allowed Claims in the Voting
Classes.

           3.   Any Yøluøtíon of Any Assets to be Dístríbuted under the Pløn Is Speculøtíve and Could Potentiølly
                Be Zero

         Any valuation of any of the assets to be distributed under the Plan is necessarily speculative, and the value
of such assets could potentially be zero. Accordingly, the ultimate value, if any, of these     assets could materially
affect, among other things, recoveries to the Debtors' creditors, including holders of Claims in the Voting Classes.

           4.   The Debtors Cønnot Guarønty Recoveries or the Timing of Such Recoveries

         Although the Debtors have made commercially reasonable efforts to estimate Allowed Claims, including
Administrative Claims, Priority Tax Claims, and Other Priority Claims, it is possible that the actual amount of such
Allowed Claims is materially higher than the Debtors' estimates. Creditor recoveries could be materially reduced or
eliminated in this instance. In addition, the timing of actual distributions to holders of Allowed Claims may be
affected by many factors that cannot be predicted. Therefore, the Debtors cannot guaranty the timing of any
recovery on an Allowed Claim.

           5.   Certain Tax Implícøtions of the Debtors' Bønkruptcy

        Holders of Allowed Claims should carefully review Article X of this Disclosure Statement, "Certain United
States Federal Income Tax Consequences," for a description of certain tax implications of the Plan and the
Chapter 1l Cases.

B.         Certain Bankruptcy Law Considerations

           The occurrence or nonoccurrenoe of any or all of the following contingencies, and any others, may affect
distributions available to holders of Allowed Claims and Allowed Interests under the Plan but will not necessarily
affect the validity of the vote of the Impaired Classes to accept or reject the Plan or necessarily require a
re-solicitation of the votes of holders of Claims in such Impaired Classes.

           1.   Psrties in Interest May Object to the Pløn's Classffication of Cløims ønd fnturests or the Amount     of
                Such Claíms or Interests

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest in a particular
class only if such claim or interest is substantially similar to the other claims or interests in such class. The Debtors
believe that the classification of the Claims and Interests under the Plan complies with the requirements set forth in
the Bankruptcy Code because the Debtors created Classes of Claims and Interests, each encompassing Claims or
Interests, as applicable, fhal are substantially similar    to the other Claims and Interests in each such        Class.
Nevertheless, there can be no assurance that the Bankruptcy Court    will reach the same conclusion.



{ 1229.001-W00ss583.}                                      31
                   Case 19-10234-KG           Doc 384        Filed 04/24/19         Page 38 of 135



          Furthermore, certain parties in interest, including the Debtors, reserve the right, under the Plan, to object to
the amount or classification of any Claim. The estimates set forth in this Disclosure Statement cannot be relied upon
by any holder of a Claim when such Claim is or may be subject to an objection or is not yet Allowed. Any holder of
a Claim that is or may be subject to an objection thus may not receive its expected share of the estimated
distributions described in this Disclosure Statement.

            2.   Føilure to Satisfy Vote Requirements

          In the event that votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan, the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the
event that sufficient votes are not received, the Debtors may seek to pursue another strategy to wind down the
Estates, such as an alternative chapter I I plan, a dismissal of the Chapter l l Cases and an out-of-court dissolution,
an assignment for the benefit of creditors, a conversion to a chapter 7 case, or other strategies. There can be no
assurance that the terms of any such alternative strategies would be similar or as favorable to the holders of Allowed
Claims and Allowed Interests as those proposed in the Plan.

            3.    The Debtors Møy Not Be Able to Secure ConJirmøtíon of the Pløn

         The Debtors will need to satisfy section ll29 of the Bankruptcy Code, which sets forth the requirements
for confirmation of a chapter 11 plan and requires, among other things, a finding by a bankruptcy court that:
(a) such plan "does not unfairly discriminate" and is "fair and equitable" with respect to any non-accepting classes;
(b) confirmation of such plan is not likely to be followed by a liquidation or a need for fuither financial
reorganization unless such liquidation or reorganization is contemplated by the plan; and (c) the value of
distributions to non-accepting holders of claims and interests within a particular class under such plan will not be
less than the value of distributions such holders would receive if the debtors were liquidated under chapter 7 of the
Bankruptcy Code.

           There can be no assurance that the requisite acceptances to confirm the Plan will be received. Even if the
requisite acceptances are received, there can be no assurance that the Bankruptcy Court will confirm the Plan.
A non-accepting holder of an Allowed Claim or an Allowed Interest might challenge either the adequacy of this
Disclosure Statement or whether the balloting procedures and voting results satisfy the requirements of the
Bankruptcy Code or Bankruptcy Rules. Even if the Bankruptcy Court determines that this Disclosure Statement, the
Solicitation Procedures, and the voting results are appropriate, the Bankruptcy Court can still deçline to confirm the
Plan if it finds that any of the statutory requirements for Confirmation have not been met, including the requirement
that the terms of the Plan do not "unfairly discriminate" and are "fair and equitable" to non-accepting Classes. If the
Plan is not confirmed, it is unclear what distributions, if any, holders of Allowed Claims and Allowed Interests will
receive with respect to their Allowed Claims and Allowed Interests. The Bankruptcy Court, as a court of equity,
may exercise substantial discretion.

          The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify the terms and
conditions of the Plan as necessary for Confirmation. Any such modifications may result in a less favorable
treatment of any Class than the treatment currently provided in the Plan. Such a less favorable treatment may
include a distribution of property to the Class affected by the modification of a lesser value than currently provided
in the Plan or no distribution of property whatsoever under the Plan.

            4.   Nonconsensual ConJírmøtion

          In the event that any impaired class of claims or interests does not accept a chapter 11 plan, a bankruptcy
court may nevertheless confirm a plan at the proponents' request ifat least one impaired class has accepted the plan
(with such acceptance being determined without including the vote of any "insider" in such class), and, as to each
impaired class that has not accepted the plan, the Bankruptcy Court determines that the plan "does not discriminate
unfairly" and is "fair and equitable" with respect to the dissenting classes. The Debtors believe that the Plan
satisfies these requirements and the Debtors may request such nonconsensual Conftrmation in accordance with
section 1129(b) of the Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will
reach this conclusion. In addition, the pursuit of nonconsensual Confirmation of the Plan may result in, among other
things, increased expenses and the expiration of any commitment to provide support for the Plan, financially or
otherwise.



{   1229.001-w0055583. }                                   32
                    Case 19-10234-KG              Doc 384       Filed 04/24/19            Page 39 of 135



            5.   Rßk of Nonoccarrence of the Effectíve Døte

         Although the Debtors believe that the Effective Date may occur quickly after the Confirmation Date, there
can be no assurance as to such timing or as to whether such an Effective Date will, in fact, occur.

            6.   Contingencíes May Affect Votes of Impaíred Cløsses to Accept or Reject the Pløn

        The distributions available to holders of Allowed Claims under the Plan can be affected by a variety of
contingencies, including, without limitation, whether the Bankruptcy Court orders certain Claims to be Allowed.
The occurrence of any and all such contingencies, which may affect distributions available to holders of
Allowed Claims and Allowed Interests under the Plan,               will not affect the validity of the vote   taken   by   the
Impaired Classes to accept or reject the Plan or require any sort of revote by the Impaired Classes.

            7.    Rísk   Afþcting Potentíøl Recoveries of holders of Cløims in the Voting Cløsses

         The Debtors cannot state with any degree of certainty what recovery will be available to holders of
Allowed Claims in the Voting Classes. In particular, the Debtors cannot know, at this time, the number or size of
Claims in the Voting Classes which will ultimately be Allowed or how many assets will remain after paying all
Allowed Claims which are senior to the Claims of holders in the Voting Classes. The ultimate amount of
Allowed Claims in the Voting Classes could materially reduce the recovery available to holders of Allowed Claims
in the Voting Classes.

C.          Disclosure Statement Disclaimer

            1.   The Finøncial    Inþrmatíon Contøined in thìs Disclosure Statement Høs Not Been Audited

          In preparing this Disclosure Statement, the Debtors and their advisors relied on financial data derived from
their books and records that was available at the time of such preparation. Although the Debtors have used their
reasonable business judgment to ensure the accuracy of the financial information, and any conclusions or estimates
drawn from such financial information, provided in this Disclosure Statement, and while the Debtors believe that
such financial information fairly reflects the financial condition of the Debtors, the Debtors are unable to warrant
that the financial information contained herein, or any such conclusions or estimates drawn therefrom, is without
inaccuracies.

            2,   Informøtion Contøined ìn thís Dísclosure Støtement       Is   for Soliciting   Votes

        The information contained in this Disclosure Statement is for the purposes of soliciting acceptances of the
Plan and may not be relied upon for any other purpose.

            3.   This Disclosure Sføtement ll/øs Not Revíewed or Approved by the United Støtes Securitíes ønd
Exchønge Commissíon

            This Disclosure Statement was not filed with the United States Securities and Exchange Commission under
the Securities Act or applicable state securities laws. Neither the United States Securities and Exchange
Commission nor any state regulatory authority has passed upon the accuracy or adequacy of this
Disclosure Statement, or the exhibit or the statements contained in this Disclosure Statement.

            4.   This Dísclosare Støtement May Contøín Forwørd Looking Støtements

         This Disclosure Statement may contain "forward looking statements" within the meaning of the Private
Securities Litigation Reform Act of 1995. Such statements consist of any statement other than a recitation of
historical fact and can be identified by the use of forward looking terminology such as "may," "will," "might,"
"expect," "believe," "anticipate," "eould," "would," "estimate," "continue," "pursue," or the negative thereof or
comparable terminology. All forward looking statements are necessarily speculative, and there are certain risks and
uncertainties that could cause actual events or results to differ materially from those referred to in such forward
looking statements. The information contained herein is an estimate only, based upon information currently
available to the Debtors.



{   1229.001-w00sss83. }                                      JJ
                    Case 19-10234-KG              Doc 384       Filed 04/24/19      Page 40 of 135



            5.   No Legøl or Tøx Advice Is Provided to You by thís Dísclosure Støtemenl

         This Disclosure Støtement is not legøl øtlvice to you. The contents of this Disclosure Statement should not
be construed as legal, business, or tax advice. Each holder of a Claim or an Interest should consult his or her own
legal counsel, accountant, or other applicable advisor with regard to any legal, tax, and other matters concerning his
or her Claim or Interest. This Disclosure Statement may not be relied upon for any purpose other than to determine
how to vote on the Plan or object to Confirmation of the Plan.

            6.   No Admissions Møde

        The information and statements contained in this Disclosure Statement will neither (a) constitute an
admission of any fact or liability by any entity (including, without limitation, the Debtors) nor (b) be deemed
evidence of the tax or other legal effects of the Plan on the Debtors, holders of Allowed Claims or Allowed Interests,
or any other parties in interest.

            7.   Føilure to ldentífy Lítigøtion Cløims or Projected Objections

         No reliance should be placed on the fact that a particular litigation claim or projected objection to a
particular Claim    or Interest is, or is not, identified in this Disclosure Statement. The Debtors or the
Plan Administrator may seek to investigate, File, and prosecute Claims and Interests and may object to Claims or
Interests after the Confirmation or Effective Date of the Plan irrespective of whether this Disclosure Statement
identifies such Claims or Interests or objections to such Claims or Interests.

            8.   No llaiver of Ríght to Object to Claim or Interest

         The vote by a holder of a Claim or Interest for or against the Plan does not constitute a waiver or release of
any claims, causes of action, or rights of the Debtors (or any entity, as the case may be) to object to that holder's
Claim or Interest, regardless of whether any claims or causes of action of the Debtors or their respective Estates are
specifically or generally identified in this Disclosure Statement.

            9.   Informøtíon   Wøs Províded by the Debtors and Was Relied Upon by the Debtors'Advisors

         The Debtors' advisors have relied upon information provided by the Debtors in connection with the
preparation of this Disclosure Statement. Although the Debtors' advisors have performed certain limited due
diligence in connection with the preparation of this Disclosure Statement, they have not independently verified the
information contained in this Disclosure Statement.

            10. Potentiøl   Exists   for Inøccuracies, ønd the Debtors Høve No Duty to Update
         The statements contained in this Disclosure Statement are made by the Debtors as of the date of this
Disclosure Statement, unless otherwise specified        in this Disclosure Statement, and the delivery of this
Disclosure Statement after the date of this Disclosure Statement does not imply that there has not been a change in
the information set forth in this Disclosure Statement since that date. While the Debtors have used their reasonable
business judgment to ensure the accuracy of all of the information provided in this Disclosure Statement and in the
Plan, the Debtors nonetheless cannot, and do not, confirm the current accuracy of all statements appearing in this
Disclosure Statement. Further, although the Debtors may subsequently update the information in this
Disclosure Statement, the Debtors have no affirmative duty to do so unless ordered to do so by the
Bankruptcy Court.

            11. No Representøtions Outsíde thís Disclosure Støtement Are Authorized

            No representations concerning or relating to the Debtors, the Chapter   1l   Cases, or the Plan are authorized
by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure Statement. Any
representations or inducements made to secure your acceptance or rejection of the Plan that are other than as
contained in, or included with, this Disclosure Statement, should not be relied upon by you in arriving at your
decision. You should promptly report unauthorized representations or inducements to the counsel to the Debtors
and the U.S. Trustee.




{   1229.001-W0055s83. }                                      34
                   Case 19-10234-KG                Doc 384         Filed 04/24/19          Page 41 of 135



D.          Liquidation under Chapter       7

         If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter 7 of the
Bankruptcy Code, pursuant to which a trustee would be elected or appointed to liquidate the assets of the Debtors
for distribution in accordance with the priorities established by the Bankruptcy Code. As discussed above,
conversion to chapter 7 would require the Debtors to incur expenses related to the chapter 7 trustee and additional
retained professionals, and such expenses may decrease recoveries for holders of Allowed Claims in the Voting
Classes. See, e.g.,11 U.S.C. gg 326(a), 503(bX2). The conversion to chapter 7 would require entry of a new bar
date, which may increase the amount of Allowed Claims and thereby reduce Pro Rata recoveries. ,See Fed. R.
Bankr. P. 1019(2), 3002(c). The Debtors' liquidation analysis is attached hereto as Exhibit C.

                                                          ARTICLE X.

                     CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES

          The following is a summary of certain United States ("U.S.") federal income tax consequences of the Plan
to the Debtors and certain holders of Allowed Claims. It does not address the U.S. federal income tax consequences
to Holders of Claims or Interests not erfitled to vote on the Plan. This summary is bascd on thc Intcrnal Rcvenue
Code of 1986, as amended (the "Tax Code"), Treasury Regulations thereunder ("Treasur:r Requlations"), and
administrative and judicial interpretations, all as in effect on the date hereof (collectively, "Applicable U.S. Tax
Law"). Changes in the rules or new interpretations of the rules may have retroactive effect and could significantly
affect the U.S. federal income tax consequences described below. Due to the lack of defìnitive judicial and
administrative authority in a number of areas, substantial uncertainty may exist with respect to some of the tax
consequences described below. No opinion of counsel has been obtained and the Debtors do not intend to seek a
ruling from the Internal Revenue Service (the "IRS") as to any of the tax consequences of the Plan discussed below.
The discussion below is not binding upon the IRS or the courts. There çan be no assurance that the IRS will not
challenge one or more of the U.S. federal income tax cònsequences of the Plan described below.3

         This summary does not address non-U.S., state, local or non-income tax consequences of the Plan
(including such consequences with respect to the Debtors). This summary does not apply to holders of a Claim or
Interest that are not United States persons, as such term is defined in the Internal Revenue Code ("Non-U.S.
Holders"), nor does it purport to address all aspects of U.S. federal income taxation that may be relevant to a Holder
in light of its individual circumstances or to a Holder that may be subject to special tax rules (such as persons who
are related to the Debtors within the meaning of the Tax Code, persons liable for alternative minimum tax, U.S.
Holders whose functional currency is not the U.S. dollar, U.S. expatriates, broker-dealers, banks, mutual funds,
insurance companies, financial institutions, small business investment companies, regulated investment companies,
tax exempt organizations, controlled foreign corporations, passive foreign investment companies, partnerships
(or other entities treated as partnerships or other pass-through entities), beneficial owners ofpartnerships (or other
entities treated as partnerships or other pass-through entities), subchapter S corporations, persons who hold Claims
or who will hold any consideration received pursuant to the Plan as part ofa straddle, hedge, conversion transaction,
or other integrated investment, persons using a mark-to-market method of accounting, and Holders of Claims who
are themselves in bankruptcy). Furthermore, this summary assumes that a Holder of a Claim or Interest holds only
Claims or Interests in a single Class and holds a Claim or Interest only as a"capital assef'(within the meaning of
section l22l of the Tax Code). This summary also assumes that Claims will be treated in accordance with their
form for U.S. federal income tax purposes. The U.S. federal income tax consequences of the implementation of the
Plan to the Debtors and Holders of Claims or Interests described below also may vary depending on the nature of
any Restructuring Transactions that the Debtors engaged in.

         For purposes of this discussion, a "U.S. Holder" is a Holder of a Claim or Interest that is: (1) an individual
citizenor resident of the United States for U.S. federal income tax purposes; (2) a corporation (or other entity treated

3      To the extent that any recovery is received by the Terrn Loan on account of its deficiency claim, such recovery will be
       treated as recovery on account ofthe underlying claim for U.S. federal income tax purposes. The defrciency claims for the
       Term Loan are treated as Term Loan Secured Claims under the Plan. The tax consequences ofany recovery received by the
       Term Loan will be detennined based on whether such recovery is on account of a holder's membership in the General
       Unsecured Clairns class and constitutes the recovery that the holder received on the underlying Tenn Loan.




{   1229.001-W0055583. }                                         35
                Case 19-10234-KG               Doc 384           Filed 04/24/19     Page 42 of 135



as a corporation for U.S. federal income tax purposes) created or organized under the laws of the United States, any
state thereof or the District of Columbia; (3) an estate the income of which is subject to U.S. federal income taxation
regardless  of the source of such income; or (4) a trust (a) if a court within the United States is able to exercise
primary jurisdiction over the trust's administration and one or more United States persons (within the meaning of
section 7701(a)(30) of the Tax Code) have authority to control all substantial decisions of the trust or (b) that has a
valid election in effect under applicable Treasury Regulations to be treated as a United States person. For purposes
of this discussion, a "Non-U.S. Holder" is any Holder of a Claim that is neither a U.S. Holder nor a partnership (or
other entity treated as a partnership or other pass-through entity for U.S. federal income tax purposes).

          If a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal income
tax purposes) is a Holder of a Claim or Interest, the tax treatment of a partner (or other beneficial owner) generally
will depend upon the status of the partner (or other beneficial owner) and the activities of the partner and the entity.
Partners (or other beneficial owners) ofpartnerships (or other entities treated as partnerships or other pass-through
entities) that are Holders of Claims or Interests should consult their respective tax advisors regarding the U.S.
federal income tax consequences ofthe Plan.

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN UNITED STATES FEDERAL
INCOME TAX CONSDQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A
SLIBSTITUTE FOR CAREFUL TAX PLANMNG AND ADVICE BASED UPON THE INDIVIDUAL
CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM. ALL HOLDERS OF ALLOWED CLAIMS
ARE URGED TO CONSULT THEIR OV/N TAX ADVISORS FOR THE FEDERAL, STATE, LOCAL, AND
OTHER TAX CONSEQUENCES APPLICABLE UNDER THE PLAN.

A.       Certain U.S. Federal Income Tax Consequences to the Debtors

         1.    Taxable Transaction

         The Debtors generally anticipate that the disposition of their assets will be taxable from a U.S. tax
perspective. Whether such disposition will gives rise to any tax liability will depend upon, among other things, the
proceeds received for such assets, any liabilities assumed in connection with the disposition of such assets, the
Debtors' tax basis in their assets, and the Debtors' available tax attributes. The Debtors cannot currently estimate
whether they will incur any tax liability in cormection with the disposition of their assets.

         2.    Survival of Tax Attributes

         Because the Debtors expect to dispose of all of their assets in a taxable disposition and dissolve, none of the
Debtors' existing tax attributes     will   survive, even   if   such attributes are not eliminated as   a result of   the
implementation of the Plan.

B.       Certain U.S. Federal Income Tax Consequences to holders of General Unsecured Claims

         Because Holders of General Unsecured Claims are expected to receive nothing but Cash in satisfaction           of
their Claims, such Holders will be treated as receiving their distribution under the Plan in taxable exchange under
Section 1001 of the Tax Code. Accordingly, other than with respect to any amounts received that are attributable to
accrued but untaxed interest (or OID), a U.S. Holder of such a claim would recognize gain or loss equal to the
difference between (a) the sum of the cash and the fair market value (or issue price, in the case of debt instruments)
of the consideration received and (b) such U.S. Holder's adjusted basis in such Claim.

         See discussion below regarding the extent to which any consideration should be treated as attributable to
accrued interest (or OID).

          1.       Disputed Ownership Fund Treatment

         Certain proceeds from the disposition of the Debtors' assets may be deposited into an account pending the
resolution of disputed claims. The Debtors intend that such assets will be subject to disputed ownership fund
treatment under Section 1.4688-9 of the Treasury Regulations, that any appropriate elections with respect thereto



{1229.00r -w00sss83.}                                        36
                   Case 19-10234-KG              Doc 384     Filed 04/24/19         Page 43 of 135



shall be made, and that such treatment will also be applied to the extent possible for state and local tax purpos€s.
Under such lrealmeî|, a separate federal income tax return shall be filed with the IRS for any such account. Any
taxes (including with respect to interest, if any, eamed in the account) imposed on such account shall be paid out of
the assets ofthe respective acçount (and reductions shall be made to amounts disbursed from the acaount to acçount
for the need to pay such taxes). To the extent propefiy is not distributed to U.S. Holders of applicable Claims or
Interests on the Effective Date but, instead, is transferred to any such account, although not free from doubt, U.S.
Holders should not recognize any gain or loss on the date that the property is so transferred. Instead, gain or loss
should be recognized when and to the extent property is actually distributed to such U.S. Holders.

         To the extent that a U.S. Holder receives distributions with respect to a Claim or Interest subsequent to the
Effective Date, such U.S. Holder may recognize additional gain (if such U.S. Holder is in a gain position), and a
portion of such distribution may be treated as imputed interest income. In addition, it is possible that the recognition
of any loss realized by a U.S. Holder may be deferred until all payments have been made out of any such accounl
U.S. Holders are urged to consult their tax advisors regarding the possible application (and the ability to elect out) of
the "installment method" of reporting any gain that may be recognized by such U.S. Holders in respect of their
Claims or Interests due to the receipt of property in a taxable year subsequent to the taxable year in which the
Effective Date occurs. The discussion herein assumes that the installment method does not apply.

            2.        Accrued Interest and OID

          A portion of the consideration received by Holders of Allowed Claims may be attributable to accrued
interest or OID on such Claims. Such amounts should be taxable to that U.S. Holder as interest income if such
accrued interest or OID has not been previously included in the Holder's gross income for U.S. federal income tax
purposes. Conversely, U.S. Holders of Claims may be able to recognize a deductible loss to the extent any accrued
interest or OID on the Claims was previously included in the U.S. Holder's gross income but was not paid in fulI by
the Debtors.

         If the fair value of the consideration is not sufficient to fully satisfy all principal and interest or OID on
Allowed Claims, the extent to which such consideration will be attributable to accrued intcrest or OID is unclear.
Under the Plan, the aggregate consideration to be distributed to Holders of Allowed Claims in each Class will be
allocated first to the principal amount of Allowed Claims, with any excess allocated to unpaid interest or OID that
accrued on such Claims, if any. Certain legislative history indicates that an allocation of consideration as between
principal and interest provided in a chapter ll plan is binding for U.S. federal income tax purposes, while certain
Treasury Regulations generally treat payments as allocated first to any accrued but unpaid interest or OID and then
as a payment of principal. The IRS could take the position that the consideration received by the U.S. Holder should
be allocated in some way other than as provided in the Plan.

            3.        Market Discount

          Under the "market discount" provisions of sections 127 6 ttvough 127 8 of the Tax Code, some or all of any
 gainrealized by a U.S. Holder of a Claim who exchanges the Claim for an amount may be treated as ordinary
income (instead of capital gain), to the extent of the amount of "market discount" on the debt instruments
constituting the exchanged Claim. In general, a debt instrument is considered to have been acquired with "market
discount" if it is acquired other than on original issue and if its U.S. Holder's adjusted tax basis in the debt
instrument is less than (a) the sum of all remaining payments to be made on the debt instrument, excluding
"qualified stated interest" or (b) in the case of a debt instrument issued with OID, its adjusted issue price, in each
case, by at least a de minimis amount (equal to 0.25 percent of the sum of all remaining payments to be made on the
debt instrument, excluding qualified stated interest, multiplied by the number of remaining whole years to maturity).

            Any gain recognized by a U.S. Holder on the taxable disposition of Allowed Claims (determined             as
described above) that were acquired with market discount should be treated as ordinary income to the extent of the
market discount that accrued thereon while the Allowed Claims were considered to be held by the U.S. Holder
(unless the U.S. Holder elected to include market discount in income as it accrued).




{   1229.001-W00sss83. }                                   3',l
                   Case 19-10234-KG            Doc 384        Filed 04/24/19          Page 44 of 135



            4.        Medicare Tax on Net Investment Income

         Certain U.S. Holders that are individuals, estates, or trusts are required to pay an additional 3.8Yo fax on,
among other things, interest, dividends and gains from the sale or other disposition of capital assets. U.S. Holders
that are individuals, estates, or trusts should consult their tax advisors regarding the effect, if any, of this tax
provision on their ownership and disposition ofconsideration received pursuant to the Plan.

C           Certain U.S. Federal Income Tax Consequences of the Plan to Non-U.S. Holders of General
            Unsecured Claims

            The following discussion includes only certain U.S. federal income tax       consequences        theof
implementation of the Plan to Non-U.S. Holders. The discussion does not include any non-U.S. tax considerations.
The rules governing the U.S. federal income tax consequences to Non-U.S. Holders are complex. Each Non-U.S.
Holder should consult its own tax advisor regarding the U.S. federal, state, and local and the foreign tax
consequenaes of the Plan to such Non-U.S. Holder and the ownership and disposition of non-Cash consideration.

         Whether a Non-U.S. Holder realizes gain or loss on the exchange and the amount of such gain or loss is
determined in the same manner as set forth above in connection with U.S. Holders.

            1.   Gain Recognition

          Any gain realized by a Non-U.S. Holder on the exchange of its Claim generally will not be subject to U.S.
federal income taxation unless (a) the Non-U.S. Holder is an individual who was present in the United States for 183
days or more during the taxable year in which the restructuring transactions occur and certain other conditions are
met or (b) such gain is effectively connected with the conduct by such Non-U.S. Holder of a trade or business in the
United States (and if an income tax treaty applies, such gain is attributable to a permanent establishment maintained
by such Non-U.S. Holder in the United States).

         If the first exception applies, to the extent thatany gain is taxable, the Non-U.S. Holder generally will be
subject to U.S. federal income tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an
applicable income tax treaty) on the amount by which such Non-U.S. Holder's capital gains allocable to U.S.
sources exceed capital losses allocable to U.S. sources during the taxable year of the exchange. If the second
exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income tax with respect to any gain
realized on the exchange if such gain is effectively connected with the Non-U.S. Holder's conduct of a trade or
business in the United States in the same manner as a U.S. Holder. In order to claim an exemption from withholding
tax, such Non-U.S. Holder will be required to provide properly executed original copies of IRS Form W-8ECI (or
such successor form as the IRS designates). In addition, if such a Non-U.S. Holder is a corporation, it may be
subject to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable treaty) of its
effectively connected earnings and profits for the taxable year, subject to certain adjustments.

            2.   Interest Paymentsl Accrued but Untaxed Interest

         Payments to a Non-U.S. Holder that are attributable to accrued but untaxed interest (or OID) on their
Allowed Claim generally will not be subject to U.S. federal income or withholding tax, provided that the
withholding agent has received or receives, prior to payment, appropriate documentation (generally, iRS Form W-
SBEN or W-SBEN-E) establishing that the Non-U.S. Holder is not        a   U.S. person, unless:

            l the Non-U.S. Holder actually or constructively owns 10 percent or more of the total combined voting
            power of the Debtors;

            2. the Non-U.S. Holder is a "controlled foreign corporation" that is a "related person" with respect to the
            Debtors (each, within the meaning of the Tax Code);

            3. the Non-U.S. Holder is a bank receiving interest described in section 881(c)(3)(A) of the Tax Code; or




{   1229.001-W0055s83. }                                    38
                      Case 19-10234-KG            Doc 384        Filed 04/24/19          Page 45 of 135



              4. such interest (or OID) is effectively conneçted with the conduct by the Non-U.S. Holder of a trade or
              business within the United States (in which case, provided the Non-U.S. Holder provides a properly
              executed IRS Form W-8ECI (or successor form) to the withholding agent, the Non-U.S. Holder
              (i) generally will not be subject to withholding tax, but (ii) will be subject to U.S. federal income tax in the
              same manner as a U.S. Holder (unless an applicable income taxtreafy provides otherwise), and a Non-U.S.
              Holder that is a corporation for U.S. federal income tax purposes may also be subject to a branch profits tax
              with respect to such Non-U.S. Holder's effectively connected earnings and profits that are attributable to
              the accrued but untaxed interest (or OID) at a rate of 30 percent (or at a reduced rate or exemption from tax
              under an applicable income tax treaty)).

         A Non-U.S. Holder that does not qualify for exemption from withholding tax with respect to interest that is
not effectively connected income generally will be subject to withholding of U.S. federal income tax at a 30 percent
rate (or at a reduced rate or exemption from tax under an applicable income tax treaty) on (a) interest on debt
received under the Plan and (b) payments lhat are attributable to accrued but untaxed interest (or OID) on such Non-
U.S. Holder's Allowed Claim. For purposes of providing a properly executed IRS Form W-8BEN or V/-8BEN-E,
special procedures are provided under applicable Treasury Regulations for payments through qualified foreign
intermediaries or certain financial institutions that hold customers' securities in the ordinary course of their trade or
business.

D.            Information Reporting and Backup Withholding

         The Debtors will withhold all amounts required by law to be withheld from payments of interest and
dividends. The Debtors will also comply with all applicable reporting requirements of the Tax Code. In general,
information reporting requirements may apply to distributions or payments made to a Holder of a Claim under the
Plan, as well as future payments made with respect to consideration received under the Plan. The Debtors do not
expect distributions or payments to Holders of Claims under the Plan to be subject to material withholding under the
Tax Code.

         Backup withholding is not an additional tax. Any amounts withheld under the backup withholding rules
may be credited against a holder's U.S. federal income tax liability, and a holder may obtain a refund of any excess
amounts withheld under the backup withholding rules by filing an appropriate claim for refund with the IRS
(generally, a U.S. federal income tax return).

              In   addition, from an information reporting perspective, the Treasury Regulations generally require
disclosure by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the taxpayer
participated, including, among other types of transactions, certain transactions that result in the taxpayer's claiming
a loss in excess of specified thresholds. Holders are urged to consult their tax advisors regarding these regulations
and whether the transactions contemplated by the Plan would be subject to these regulations and require disclosure
on the Holders' tax refurns.

E.            FATCA

         Under legislation commonly referred to as the Foreign Account Tax Compliance Act ("FATCA"), foreign
financial institutions and certain other foreign entities must report certain information with respect to their U.S.
account Holders and investors or be subject to withholding at a rate of 30 percent on the receipt of "withholdable
payments." For this purpose, "withholdable payments" are generally U.S. source payments of fixed or
determinable, annual or periodical income (including dividends, if any, on equity received pursuant to the Plan).
FATCA withholding will apply even if the applicable pa)'rnent would not otherwise be subject to U.S. federal
nonresident withholding tax. Additionally, although FATCA withholding may also apply to gross proceeds of a
disposition of stock, recently proposed regulations suspend withholding on such gross proceeds payments
indefinitely.

        Each non-U.S. Holder should consult its own tax advisor regarding the possible impact of these rules on
such non-U.S. Holder.




{ l 229.001   -V/005s583. }                                     39
                      Case 19-10234-KG    Doc 384       Filed 04/24/19           Page 46 of 135



    THE UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF UNITED
STATES F'EDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER
OF A CLAIM IN LIGHT OF SUCH HOLDER'S CIRCUMSTANCES AI\D INCOME TAX SITUATION.
ALL HOLDERS OF' CLAIMS AGAINST THE DEBTORS SHOULD CONSULT \ilITH THEIR TAX
.A,DVISORS AS TO THE PARTICULARTAX CONSEQUENCES TO THEM OF THE TRANSACTION
CONTEMPLATED BY THE RESTRUCTURING,INCLUDING THE APPLICABILITY AND EFF'ECT OF'
ANy STATE, LOCAL, OR NON-U.S. TAX LAWS, AND OF ANY CHAI\GE rN APPLICABLE TAX
LAWS.




                                  lRemainder of Page Intentionally Left Blankl




{ r 229.001   -v/00sss83. }                            40
                   Case 19-10234-KG           Doc 384         Filed 04/24/19               Page 47 of 135



                                                    ARTICLE XI.

                                   RECOMMENDÄTION OF' THE DEBTORS

         The Debtors believe that the Plan is in the best interests of all holders of Claims against and Interests in the
Debtors, and urge all holders of Claims against and Interests in the Debtors entitled to vote to accept the Plan and to
evidence such acceptance by returning their Ballots so they will be received by the Notice, Claims, and Balloting
Agent by the Voting Deadline.

 Dated: April24,20l9                                RMBR Liquidation, Inc. and its Debtor affiliates


                                                    By:           /s/ Brett   Ilitherell
                                                    Name:          Brett Witherell
                                                    Title:         Chief Financial Officer




{ 1229.001 -}V0055s83.   }                                   4l
                    Case 19-10234-KG          Doc 384       Filed 04/24/19      Page 48 of 135




                                                     EXHIBIT A

                       Joint Chapter 11 Plan of RMBR Liquidation, Inc. and Its Debtor AffÏliates




{   1229.001-W00s5s83. }
                    Case 19-10234-KG                  Doc 384          Filed 04/24/19            Page 49 of 135



                              IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                                               )
In re:                                                                         )    Chapter     11

                                                                               )
RMBR LIQUIDATION, INC., et al.,r                                               )    Case   No. 19-10234 (KG)
                                                                               )
                                                                               )
                                            Debtors.                           )    (Jointly Administered)
                                                                               )

                                JOINT CHAPTER 11 PLAN OF
                     RMBR LIQUIDATION, INC. AND ITS DEBTOR AFFILIATES


    NOTHING CONTAINED HEREIN SHALL CONSTITUTE Ai\ OFFER, ACCEPTANCE, COMMITMENT,
     OR LEGALLY BINDING OBLIGATION OF THE DEBTORS OR ANY OTHBR PARTY IN INTEREST
       AND THIS PLAN IS SUBJECT TO APPROVAL BY THE BANKRUPTCY COURT AND OTHER
    CUSTOMARY CONDITIONS. THIS PLAN IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES.

                           YOU SHOULD NOT RELY ON THE INFORMATION
                   CONTAINED IN, ORTHE TERMS OF, THIS PLAN FORANYPURPOSE
               PRIOR TO THE CONFIRMATION OF THIS PLAN BY THE BANKRUPTCY COURT



LA¡IDIS RATH & COBB LLP                                            KIRKLAND & ELLIS LLP
Adam G. Landis (No. 3407)                                          Christopher T. Greco, P.C. (admitted pro hac vice)
Matthew B. McGuire (No. a366)                                      Derek I. Hunter (admilted pro hac vice)
Kimberly A. Brown (No. 5138)                                       601 Lexington Avenue
919 Market Street                                                  New York, New York 10022
Suite 1800                                                         Telephone:           (212)446-4800
Wilmington, Delaware 19801                                         Facsimile:           (212) 446-4900
Telephone: (302) 46'7-4410                                         Email:               christopher.greco@kirkland.com
Facsimile: (302) 467-4450                                                               derek.hunter@kirkland. com
Email:                landis@lrclaw.com
                      mcguire@lrclaw.com                           -and-
                      brown@lrclaw.com
                                                                   KIRKLAND & ELLIS LLP
                                                                   Spencer A. Winters (admitted pro hac vice)
                                                                   300 North LaSalle
                                                                   Chicago, Illinois 60654
                                                                   Telephone:           (312)862-2000
                                                                   Facsimile:           (312) 862-2200
                                                                   Email:               spencer.winters@kirkland.com
Co-Counsel to the Debtors

Dated: Apri124,20l9

I   The Debtors in these chaptel I I cases, along with the last foul digits of each Debtor's fedeml tax identification number, include: RMBR
    Liquidation, Inc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR Liquidation Holdings Corporation (2354). The location of the
     Debtom' service address is: 5500 Avion Palk Drive, Highland Heights, Ohio 44143.




{   1229.002-W005ss80. }
                    Case 19-10234-KG                Doc 384          Filed 04/24/19          Page 50 of 135



                                                     TABLE OF CONTENTS

ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME AND
GOVERNING LAW.......
            A.        Defined Terms..........                                                                             .l
            B.        Rules of Interpretation.....                                                                        ',9
            C.        Computation of Time ....                                                                            10
            D.        Governing Law..                                                                                     10
            E.        Reference to Monetary Figures........                                                               l0
            F.        Reference to the Debtors or the Post-Effective Date Debtors                                         l0

ARTICLE II. ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS......                                                           ll
            A.        Administrative Claims                                                                               l1
            B.        Professional Fee Claims                                                                             l1
            C.        Priority Tax Claims

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS                                                         12

            A.        Classification of Claims and Interests.                                                             t2
            B.        Treatment of Claims and Interests.                                                                  13
            C.        Special Provision Governing Unimpaired Claims                                                       16
            D,        Confirmation Pursuant to Sections I 129(a)(10) and I 129(b) ofthe Bankruptcy Code.                  l6
            E.        Subordinated Claims                                                                                 t6
            F.        Elimination of Vacant Classes; Presumed Acceptance by Non-Voting Classes                            t6
            G.        Controversy Concerning Impairment.                                                                  t6

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN....                                                                 ......16

            A.        General Settlement of Claims and Interests                                                          t6
            B.        Restructuring Transactions                                                                     ......17
            C.        Sources of Consideration for Plan Distributions and Priority Waterfall                              t7
            D.        Post-Effective Date Debtors                                                                         t7
            E.        Plan Administrator.....                                                                             18
            F.        Wind Down.                                                                                       ...19
            G.        Plan Administrator Exculpation, Indemnification, Insurance, and Liability Limitation........        20
            H.        Tax Returns..                                                                                       20
            I.        Dissolution of the Post-Effective Date Debtors                                                      20
            J.        Cancellation of S ecurities and Agreements..........................                                20
            K.        Corporate Action                                                                                    20
            L.        Effectuating Documents; Further Transactions...                                                     2t
            M.        Section 1146 Exemption                                                                              2t
            N.        Preservation of Causes of Action                                                                    2t

ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                          22

            A.        Assumption and Rejection of Executory Contracts and Unexpired Leases                                22
            B.        Directors and Officers Insurance Policies                                                           23
            C.        Indemnification Obligations                                                                         23
            D.        Cure of Defaults for Executory Contracts and Unexpired Leases Assumed......                         23
            E.        Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases...........    24
            F.        Modifications, Amendments, Supplements, Restatements, or Other Agreements..............             24
            G.        Reservation of Rights......                                                                         24
            H.        Nonoccurrence of Effective Date                                                                     24

ARTICLE VI, PROVISIONS GOVERNING DISTRIBUTIONS ........                                                                   24

            A.        Timing and Calculation of Amounts to Be Distributed                                                 24
            B.        Disbursing Agent ..........                                                                         25


{   1229.002-W00s5s80. }                                           ii
                    Case 19-10234-KG                  Doc 384       Filed 04/24/19   Page 51 of 135



            C.        Rights and Powers of Disbursing Agent                                            .2 5
            D.        Delivery of Distributions and Undeliverable or Unclaimed Distributions           .2 5
            E.        Compliance with Tax Requirements                                                 ,2 6
            F.        Allocations                                                                      ,2 6
            G.        No Posþetition Interest on Claims.                                               .2 6
            H.        Foreign Currency Exchange Rate..............                                     .2 6
            I.        Setoffs and Recoupment.                                                          .2 6
            .I.       Claims Paid or Payable by Third Parties...                                       .2 7


ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED AND
DISPUTED CLAIMS
            A.        Allowance of Claims                                                              .27
            B.        Claims Administration Responsibilities .......                                   .2',7

            C.        Estimation of Claims                                                             .28
            D.        Adjustment to Claims Without Objection                                           .28
            E.        Time to File Objections to Claims                                                .28
            F.        Disallowance of Claims                                                           .28
            G.        Amendments to Claims                                                             .28
            H.        No Distributions Pending Allowance                                               .29
            I.        Distributions After Allowance                                                    .29

ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS......                            ...29

            A.        Discharge of Claims and Termination of Interests                                  29
            B.        Release of Liens                                                                  29
            C.        Releases by the Debtors                                                           30
            D.        Releases by Holders of Claims and Interests .......                               30
            E.        Exculpation                                                                       3l
            F.        Injunction.                                                                       3l
            G.        Substantive Consolidation.                                                        32
            H.        Protections Against Discriminatory Treatment........                              JJ
            I.        Document Retention.....                                                           33
            J.        Reimbursement or Contribution....................                                 33
            K.        Term of Injunctions or Stays..............                                        JJ

ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN                                            JJ

            A.        Conditions Precedent to the Effective Date.................                       JJ
            B.        Waiver of Conditions .........................                                    34
            C.        Effect of Failure of Conditions.........,.                                        34


ARTICLE X. MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN
            A.        Modification and Amendments                                                       35
            B.        Effect of Confirmation on Modifications.                                          35
            C.        Revocation or Withdrawal of Plan...........                                       35


ARTICLE XI. RETENTION OF JURISDICTION..............                                                   ..35


ARTICLE XII. MISCELLANEOUS PROVISIONS
            A.        Immediate Binding Effect
            B.        Additional Documents .....                                                      ..3 I
            C.        Payment of Statutory Fees                                                       ..31
            D.        Reservation of Rights.......                                                    ..31
            E.        Successors and Assigns.                                                         ..38
            F.        Notices                                                                         ..38
            G.        Entire Agreement ............                                                   ..39



{   1229.002-W005ss80.)                                           111
                    Case 19-10234-KG                 Doc 384             Filed 04/24/19   Page 52 of 135



            H         Exhibits                                                                             39
            I.        Non-Severability of Plan Provisions ........                                         39
            J.        Votes Solicited in Good Faith ..................                                     39
            K         Closing of Chapter 1l Cases                                                          39
            L.        Conflicts......                                                                      39




{   1229.002-W005s580.}                                             lv
                    Case 19-10234-KG             Doc 384       Filed 04/24/19        Page 53 of 135




                                                     INTRODUCTION

         RMBR Liquidation, Inc. and its debtor affiliates, as debtors and debtors in possession, in the
above-captioned Chapter I I Cases propose this joint chapter I I plan. The Chapter I I Cases have been consolidated
for procedural purposes only and are being jointly administered pursuant to an order of the Bankruptcy Court.

          Holders of Claims and Interests should refer to the Disclosure Statement for a discussion of the Debtors'
history, businesses, and assets, as well as a summary and description of this Plan and certain related matters. Each
Debtor is a proponent of the Plan contained herein within the meaning of section I 129 of the Bankruptcy Code.

                                                        ARTICLE I.
                                 DEFINED TERMS, RULES OF INTERPRETATION,
                                 COMPUTATION OF TIME AND GOVERNING LAW

A.          DeJìned Terms

            Capitalized terms used in this Plan have the meanings ascribed to them below

             l.   "Administrøtive Agenf'means Cortland Capital Market Services               LLC, in its capacity     as
administrative agent and collateral agent under the Credit Agreement, together with its successors and assigns in
such capacities.

        2. "Admínistrøtíve CIøim" means a Claim against a Debtor for the costs and expenses of administration
of the Chapter 1l Cases arising on or prior to the Effective Date pursuant to sections 328,330, or 503(b) of the
Bankruptcy Code and entitled to priority pursuant to sections 503(b), 507(a)(2), 507(b), or l1l4(e)(2) of the
Bankruptcy Code, including: (a) the actual and necessary costs and expenses incur:red on or after the Petition Date
until and including the Effective Date of preserving the Estates and operating the Debtors' businesses; and (b)
Professional Fee Claims.

         3. "Admínistrøtive Claim Bør Date" means either (a) t_J,2019                  at 4:00 p.m. (E.T) for all
Administrative Claims (excluding Professional Fee Claims) arising, accruing or otherwise due and payable any time
during the period from the Petition Date through and including April 30,2019, or (b) twenty-one (21) days from
service of the notice of Effective Date for all Administrative Claims (excluding Professional Fee Claims) arising,
accruing or otherwise due and payable any time during the period from May 1,2019 through the Effective Date.

           4. "Administrøtive Cløim Objection Bør Døte" means the deadline for filing objections to requests for
payment of Administrative Claims (other than requests for payment of Professional Fee Claims), which shall be the
later of ( I ) 60 days after the Effective Date and (2) 60 days after the Filing of the applicable request for payment of
the Administrative Claims; provided that the Administrative Claim Objection Bar Date may be extended by the
Bankruptcy Court after notice and a hearing.

            5.    "Affilíate" has the meaning set forth in section 101(2) of the Bankruptcy Code.

        6. "Allowecl' means with respect to any Claim against or Interest in a Debtor, except as otherwise
provided in the Plan: (a) a Claim that is evidenced by a Proof of Claim or a request for payment of an
Administrative Claim, as applicable, that is Filed on or before the applicable Claims Bar Date (or for which Claim
under the Plan, the Bankruptcy Code, or pursuant to a Final Order a Proof of Claim or request for payment of an
Administrative Claim is not required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not
unliquidated, and not disputed, and for which no contrary or superseding Proof of Claim, as applicable, has been
timely Filed; or (c) a Claim or Interest allowed pursuant to the Plan or a Final Order of the Bankruptcy Court;
provided that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance thereof is
interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
Bankruptcy Court, or such an objection is so interposed and the Claim has been allowed by a Final Order. Except as
otherwise specified in the Plan, any Final Order, or as otherwise agreed by the Debtors or the Plan Administrator, as




{   1229.002-W00s5s80. }
                   Case 19-10234-KG          Doc 384       Filed 04/24/19         Page 54 of 135




the case may be, and except for any Claim that is Secured by propeny of a value in excess of the principal amount   of
such Claims (as determined by Final Order of the Bankruptcy Court), the amount of an Allowed Claim shall not
include interest or fees on such Claim accruing from and after the Petition Date. For purposes of determining the
amount of an Allowed Claim, there shall be deducted therefrom an amount equal to the amount of any Claim that
the Debtors may hold against the holder thereof, to the extent such Claim may be offset, recouped, or otherwise
reduced under applicable law. Any Claim that has been or is hereafter listed in the Schedules as contingent,
unliquidated, or disputed, and for which no Proof of Claim is or has been timely Filed and no Final Order entered
allowing such Claim, is not considered Allowed and shall be expunged without further action by the Debtors and
without further notice to any party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything
to the contrary herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed
Allowed unless and until such Entity pays in full the amount that it owes such Debtor or Post-Effective Date Debtor,
as applicable. For the avoidance of doubt: (x) a Proof of Claim Filed after the Bar Date or Administrative Claim
Bar Date, as applicable, shall not be Allowed for any purposes whatsoever absent entry of a Final Order allowing
such late-filed Claim; and (y) the Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law. "Allow" and "Allowing" shall
have correlative meanings.

       7. "Agency Agreemenf' means that certain Agency Agreement, dated as of January 22,2019, by and
among Things Remembered, Inc., Things Remembered Canada, Inc' and the JV Agent.

        8. "Asset Purchøse Agreemenf' means the Asset Purchase Agreement entered into by and between
Things Remembered, Inc. and Enesco Properties, LLC.

        9. "Avøiløble Cøsh" means, collectively, all Cash on hand held by the Debtors and Post-Effective Date
Debtors on and after the Effective Date, including the net proceeds from any Sale Transaction and resolution of any
Causes of Action.

           10. "Avoìdønce Actíons" means any and all actual or potential Causes of Action to avoid a transfer of
property or an obligation incurred by the Debtors pursuant to any applicable section of the Bankruptcy Code,
including sections 502, 510, 542,544,545,547_553, and724(a) of the Bankruptcy Code or under similar or related
state or federal statutes and common law, including fraudulent transfer laws.

          Il. "Bønkruptcy Code- means title 11 of the United States Code, 11 U.S.C. $$ l0l-1532, as now in effect
or hereafter amended, and the rules and regulations promulgated thereunder.

           12. "Bønkruptcy Courf' means the United States Bankruptcy Court for the District of Delaware having
jurisdiction over the Chapter ll Cases and, to the extent of (i) the withdrawal of reference under section 157 of the
Judicial Code or (ii) the entry of an order or judgment for which it is determined the United States Bankruptcy Court
for the District of Delaware does not have constitutional authority to enter such order or judgment and the parties to
such dispute do not consent to entry of such order or judgment by the United States Bankruptcy Court for the
District of Delaware, the United States District Court for the District of Delaware.

        13. "Bønkruptcy Rules" means the Federal Rules of Bankruptcy Procedure, as applicable to the Chapter
11 Cases, promulgated under section 2075 of the Judicial Code and the general, local and chambers rules of the
Bankruptcy Court.

            14. "Bør Døte" meaîs, collectively, the dates established by the Bankruptcy Court by which Proofs of
Claim must be Filed pursuant to the Bar Date Order or this Plan.

         15. "Bar Døte OrdeÌ' means fhe Order Granting Motion of the Debtors for Entry of an Order (A)
Establishing Bar Dates for Filing Proofs of Secured Claims, Priority Claims, Administratíve Claims, ønd
Governmental Clqims; (B) Approving the Form, Manner and Notice Thereof; and (C) Granting Related Relief
fDocket No. [o]1.




{   1229.002-W00s5580. }                                   2
                   Case 19-10234-KG           Doc 384       Filed 04/24/19         Page 55 of 135




        16. "Busíness Day" means any day, other than a Saturday, Sunday or "legal holiday" (as defined in
Bankruptcy Rule 9006(a)(6)).

          17. "Cøsh" means cash and cash equivalents, including bank deposits, checks, and other similar items in
legal tender of the United States of America.

         18. "Cash ColløterøI Order" means the Final Order (I) Authorizing Postpetition Use of Cash Collateral,
(II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, and (IV)
Granting Related Relief entered by the Court on March 29,2019 fDocket No' 353].

          19. "Cøuses of Action" means any actions, claims, cross claims, third-party claims, interests, damages,
controversies, remedies, causes of action, debts, judgments, demands, rights, actions, suits, obligations, liabilities,
accounts, defenses, offsets, powers, privileges, licenses, liens, indemnities, guaranties, and franchises ofany kind or
character whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable directly or derivatively,
matured or unmatured, suspected or unsuspected, disputed or undisputed, whether arising before, on, or after the
Petition Date, in contract or in tort, at law or in equity, or pursuant to any other theory of law or otherwise. Causes
of Action also include: (a) any rights of setoff, counterclaim, or recoupment and any claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest Claims or Interests; (c)
claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any claims or defenses, including fraud,
mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any
Avoidance Action.

         20. "Chøpter 71 Cøses" means (a) when used with reference to a particular Debtor, the case pending for
that Debtor in the Bankruptcy Court under chapter I I of the Bankruptcy Code and (b) when used with reference to
all Debtors, the procedurally consolidated chapter l1 cases pending for the Debtors in the Bankruptcy Court.

            21. *Claim- means any claim,   as such term is dehned in seçtion 101(5) of the Bankruptcy Code, against a
Debtor or a Debtor's Estate.

            22. "Ctøims Bør Date"     means the date or dates to be established by the Bankruptcy Court by which
Proofs of Claim must be Filed.

            23. "Cløims RegísteÌ' means the official register of Claims maintained by the Notice, Claims,           and
Balloting Agent.

            24. "Cløss"              of Claims against or Interests in the Debtors as set forth in Article III of
                           means a class                                                                             the
Plan in accordance with section ll22(a) of the Bankruptcy Code.

        25. "ConJírmøtion" means the Bankruptcy Court's entry of the Confirmation Order on the docket of the
Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

            26. *Confirmøtion Date" means the date on which Confirmation occurs.

        27 . "Confirmøtion Hearing" means the hearing before the Bankruptcy Court pursuant to sections 1128           of
the Bankruptcy Code at which the Debtors will seek Confirmation of the Plan.

            28. "Confirmation Order" means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

            29. "Consummøtion" means the occurrence of the Effective Date

        30. "Credit Agreemenf' means that certain Amended and Restated Credit Agreement dated as of August
30,2016, as amended by that certain Third Amendment and Seventh Waiver dated as of January 30, 2018 by and




{   1229.002-W005s580. }                                    3
                    Case 19-10234-KG          Doc 384       Filed 04/24/19         Page 56 of 135




among Things Remembered, Inc., as borrower, the guarantors party thereto, the lenders party thereto and the
Administrative Agent.

            31. *Credit Agreement Documents" means the Credit Agreement and all other agreements, documents,
and instruments related thereto, including any guaranty agreements, pledge and collateral agreements, intercreditor
agreements, subordination agreements, and other security agreements.

            32. *Creditors' Committee" means the statutory committee of unsecured creditors appointed            in    the
Chapter 11 Cases pursuant to section I102(a) of the Bankruptcy Code.

            33. "Creditors' Committee Professionøls Fee Resewe" means $800,000 minus any amount paid to
Creditors' Committee Professionals as of the Effective Date.

            34. "Debtor" means one or more of the Debtors, as debtors and debtors in possession, each             in   its
respective individual capacity as a debtor and debtor in possession in the Chapter I   I   Cases.


      35. "Debtors" means, collectively: (a) RMBR Liquiclation, lnc. (f/k/a Things Remembered, Inc.); (b)
RMBR Liquidation Holdco Corp. (f/k/a TRM Holdco Corp.); and (c) RMBR Liquidation Holdings Corporation
(f/k/a TRM Holdings Corporation).

        36. "Debtors' Owned Reøl Properly" means (i) the property located at 5500 Avion Park Drive, Highland
Heights, Ohio 44143; and (ii) an approximaÍely 70.9 acre vacant industrial landsite located at S. Bailey Road,
Jackson Township, Mahoning County, OH 44451.

         3J. "Debtors' Owned Reøl Property Sale" means any sale of the Debtors' Owned Properfy pursuant to
section 363 of the Bankruptcy Code, which sale may occur on or after the Effective Date.

          38. "Debtors' Professionøls Fee Resewe" means all Allowed Professional Fee Claims of Professionals
employed by the Debtors, not to exceed: (i) unpaid fees and expenses incurred from the Petition Date through March
8, 2019 ; plus (ii) $ 1,750,000.

          39. "Disbursing Agenf' means the Debtors and/or the Plan Administrator (as applicable), or the Entity or
Entities selected by the Debtors or the Plan Administrator to make or facilitate distributions contemplated under the
Plan.

          40. "Disclosure Støtemenf' means the Disclosure Statement to the Joint Chapterll Plan of RMBR
Liquidation, Inc. and its Debtor Affiliates, dated as of April 24, 2019, as may be amended, supplemented, or
modified from time to time, including all exhibits and schedules thereto and references therein that relate to the Plan,
that is prepared and distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other
applicable law and approved by the Bankruptcy Court pursuant to section ll25 of the Bankruptcy Code.

          41. "Disputef' means, with respect to any Claim or Interest or any portion thereof, (a) that is not Allowed;
and (b) that is not disallowed under the Plan, the Bankruptcy Code or a Final Order.

         42. "Distribution Record Date" means the record date for purposes of determining which holders of
Allowed Claims or Allowed Interests are eligible to receive distributions under the Plan, which date shall be the first
day of the Confirmation Hearing, or such other date as is designated in a Final Order of the Bankruptcy Court.

          43. "Effective Døte" means the date that is the first Business Day after the Confirmation Date on which
(a) all conditions to the occurrence of the Effective Date set forth in Article IX.A of the Plan have been satisfied or
waived in accordance with Article IX.B of the Plan, (b) no stay of the Confirmation Order is in effect, and (c) the
Debtors, with the consent of the Prepetition Agent (which such consent shall not be unreasonably withheld), declare
the Plan effective. Any action to be taken on the Effective Date may be taken on or as soon as reasonably
practicable thereafter.




{   1229.002-W00s5s80. }                                   4
                    Case 19-10234-KG              Doc 384              Filed 04/24/19     Page 57 of 135




             44. "Entity"   has the meaning set forth in section   l0l(15) of   the Bankruptcy Code.

                             as to each Debtor, the estate created on the Petition Date for the Debtor in its Chapter
             45. "Estøte" means,
I               to sections 30 I and 54 I of the Bankruptcy Code and all property (as defined in section 54 I of the
    I Case pursuant
Bankruptcy Code) acquired by the Debtors after the Petition Date through the Effective Date.

         46. "Exculpøted Pørty" means collectively, and in each case solely in its capacity as such: (a) the
Debtors; (b) the Post-Effective Date Debtors; (c) each current and former Affiliate of each Entity in clauses (a)
through (c); (d) each Related Party of each Entity in clauses (a) through (c); and (e) the members of the Creditors'
Committee (including any member who resigned therefrom) solely in their capacities as such.

          47. "Executory Contract' means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

             48, "Federøl Jadgment Røte" means the federal judgment interest rate in effect as of the Petition Date
                                 l96l ofthe Judicial Code.
calculated as set forth in section

         49. *File" or "Fílet'means file or filed in the Chapter 11 Cases with the Bankruptcy Court or its
authorized designee, or, with respect to the filing of a Proof of Claim (including for any Administrative Claim) or
Proof of Interest the Notice, Claims, and Balloting Agent.

         50. "Final Order" means, as applicable, an order or judgment of the Bankruptcy Court or other coufi of
compet€nt jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal, petition for certiorari, or move for reargument, reconsideration, or
rehearing has expired and no appeal, petition for certiorari, or motion for reargument, reconsideration, or rehearing
has been timely taken or filed, or as to which any appeal, petition for certiorari, or motion for reargument,
reconsideration, or rehearing that has been taken or any petition for certiorari that has been or may be filed has been
resolved by the highest court to which the order orjudgment could be appealed or from which certiorari could be
sought or the new trial, reargument, or rehearing shall have been denied, resulted in no modification ofsuch order,
or has otherwise been dismissed with prejudice; provided that the possibility that a motion under rule 60 of the
Federal Rules of Civil Procedure or any comparable rule of the Bankruptcy Rules may be filed relating to such order
shall not cause such order to not be a Final Order.

             51. "Governmental Uníf'has the meaning set forth in section 101(27) of the Bankruptcy Code.

        52. "Generql (Jnsecured CIøim" means any Claim against a Debtor that is not Secured and is not (a) an
Administrative Claim, (b) a Professional Fee Claim, (c) a Priority Tax Claim, (d) a Secured Tax Claim, (e) an Other
Secured Claim, an (f) Other Priority Claim, (g) a Revolver Claim, or (h) a Term Loan Claim. For the avoidance of
doubt, General Unsecured Claims include any claim arising from the rejection of an Unexpired Lease or Executory
Contract.

             53. "Holdco" means RMBR Liquidation Holdco Corp.

             54. "Impøíref' means, with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
impaired within the meaning of section    Il24 of the Bankruptcy Code.

            55.    "Intercompøny Interesf'means, other than an Interest in Holdco, an Interest in one Debtor held by
another Debtor or an Affiliate of a Debtor.

             56.   "Interesf' means any equity security in a Debtor as defined in section 101(16) of                  the
Bankruptcy Code, including all issued, unissued, authorized, or outstanding shares of capital stock of the Debtors
and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable, or exchangeable securities, or other agreements,
arrangements, or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor whether or not arising under or in connection with any employment agreement and



{   1229.002-W00sss8o.}                                            5
                    Case 19-10234-KG               Doc 384          Filed 04/24/19     Page 58 of 135




whether or not certificated, transferable, preferred, common, voting, or denominated "stock" or a similar security,
including any Claims against any Debtor subject to subordination pursuant to section 510(b) of the Bankruptcy Code
arising from or related to any ofthe foregoing.

            57. "Interim Compensation Ortler" means              the Order (I) Establishing      Procedures   for   Interim
Compensation and Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief fDocket
No. 271], entered by the Bankruptcy Court on March 5,2019, as the same may be modified by a Bankruptcy Court
order approving the retention ofa specific Professional or otherwise.

             58. *Judiciøl Code" means title 28 of the United States Code,28 U.S.C. $$ 1-4001, as now in effect or
hereafter amended, and the rules and regulations promulgated thereunder.

        59. "JV Agenf'means the joint venture consisting of Gordon Brothers Retail Partners, LLC and Hilco
Merchant Resources, LLC.

             60. "Lien" means a lien   as   defined in section 101(37) of the Bankruptcy Code.

             61. "Notice, Cløims, ønd Bølloting Agent" means Prime Clerk LLC, in its capacity as the notice, claims,
and balloting agent     in the Chapter I 1 Cases for the Debtors and any successors appointed by an order of the
Bankruptcy Court.

        62. "Other Priority CIøim" means any Claim, to the extent such Claim has not already been paid during
the Chapter l l Cases, other than an Administrative Claim or a Priority Tax Claim, entitled to priority in right of
payment under section 507 (a) of the B ankruptcy Code.

         63. "Other Secured Cløim" means any Secured Claim that is not a Secured Tax Claim, a Revolver Claim
or a Term Loan Claim.

             64. "Person" means   a person as such    term as defined in section l0l(41) ofthe Bankruptcy Code.

             65. "Petition Døte" means February 6, 2019, the date on which each of the Debtors commenced the
Chapter I I Cases.

         66, "PIa.n" means this Joint Chapter I I Plan of fuMBR Liquidation, Inc. and its Debtor ffiliates, as may
be altered, amended, modified, or supplemented from time to time in accordance with Article X hereof, including
the Plan Supplement (as amended, supplemented, or otherwise modified from time to time), which is incorporated
herein by reference and made part of the Plan as if set forth herein.

          67. "PIøn Adminìstrøtoy'' means the Person or Entity, or any successor thereto, jointly designated by the
Debtors and Prepetition Agent, who will be disclosed at or prior to the Confirmation Hearing, to have all powers and
authorities set forth in Article IV.E of this Plan.

          68. "Pløn Supplemenf' means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (as may be altered, amended, modified, or supplemented from time to time in
accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to be Filed by
the Debtors, and which shall be acceptable to the Prepetition Agent in its reasonable discretion, no later than seven
days before the Voting Deadline or such later date as may be approved by the Bankruptcy Court on notice to parties
in interest, including the following, as applicable: (a) Schedule of Assumed Executory Contracts and Unexpired
Leases; (b) Schedule of Retained Causes of Action; (c) the identity and terms of compensation of the Plan
Administrator; and (d) any other necessary documentation related to the Restructuring Transactions.

         69. "Post-Effictíve Døte Debtors" means the Debtors, or any successor thereto, by merger, consolidation,
or otherwise, on or after the Effective Date.




{   1229.002-W00sss8o.}                                         6
                    Case 19-10234-KG           Doc 384           Filed 04/24/19      Page 59 of 135




            70. "Prepetitíon Secured Lenders" means the banks, financial institutions, and other lenders party to     the
Credit Agreement from time to time.

            71. "Prioríty Claims" means, collectively, Priority Tax Claims and Other Priority   Claims

            72. "Priority CIøíms Resewe" means the account to be established and maintained by the Plan
Administrator and funded with the Priority Claims Reserve Amount.

         73. "Priority Claims Resewe Amounf'means $500,000, which amount shall be funded by the Debtors
and used by the Plan Administrator as the sole source for payment of Allowed Priority Claims and Allowed
Administrative Claims payable pursuant to Article II.A and Article IILB, respectively, to the extent that such
Priority Claims and Administrative Claims have not been paid in full on or before the Effective Date; provided,
however, that for the avoidance of doubt, such Allowed Administrative Claims payable pursuant to Article II.A do
not include Professional Fee Claims, which shall be paid according to Article II.B, to the extent such Professional
Fee Claims have not already been paid during the Chapter I I Cases. The Priority Claims Reserve Amount shall be
determined by the Debtors and the Prepetition Agent.

            74. "Priority Tax Claím" means any Claim             of a Governmental Unit of the kind specified            in
section 507(aX8) of the Bankruptcy Code.

          75. "Pro Røtø" means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

         76. "Professional' means an Entity retained pursuant to a Bankruptcy Court order in accordance with
sections 327 or I 103 of the Bankruptcy Code and to be compensated for services rendered and expenses incurred
pursuant to sections 327,328,329,330,331, and 363 of the Bankruptcy Code.

            77. "Professionøl Fee Bør Døte" means thirty (30) days after the Effective Date.

        78. "Professional Fee Claim" means a Claim by a Professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 328,330,331,503(bX2),503(bX3),503(bX4), or 503(bX5) of the Bankruptcy
Code.

            79. "Professìonøl Fee Escrow Accounf'means an interest-bearing account funded by the Debtors with
Cash on the Effective Date such that the aggregale amount of Cash in the Professional Fee Escrow Account on the
Effective Date equals the Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be the sole
source of payment of Allowed Professional Fee Claims.

            80. "Professional Fee Escrow Amount" means           (i) the total amount of the Debtors'   Professionals Fee
Reserve and the Committee Professionals Fee Reserve. The Professional Fee Escrow Amount shall be determined
by the Debtors and the Prepetition Agent.

            81. *Proof of Cløim" means a written proof of Claim Filed against any of the Debtors in the Chapter 1l
Cases

            82. *Proof of fnturcsf' means   a written proof of Interest Filed against any of the Debtor in the Chapter   11

Cases

            83. "Purchø,r¿r" means Enesco Properties, LLC, together with its respective successors and permitted
asslgns

       84. "Revolver Cløím" means a Claim arising under, derived from, secured by, or based on the Credit
Agreement solely with respect to Revolving Obligations (as defined in the Credit Agreement). Pursuant to the Cash
Collateral Order,      all Revolver Claims are Allowed Claims and are Allowed in an amount of not less than


{   1229.002-W00sss80. }                                     7
                   Case 19-10234-KG              Doc 384       Filed 04/24/19        Page 60 of 135




$18,723,738.81

            85. "Reínstøter" "Reìnstøtedr" or "Reinstøtemenf' means with respect to Claims and Interests, that the
Claim or Interest shall be rendered unimpaired in accordance with section 1124 of the Bankruptcy Code.

         86. "Reløted Par4l'means, each of, and in each case in its capacity as such, current and former directors,
managers, officers, equity holders (regardless of whether such interests are held directly or indirectly), affiliated
investment funds or investment vehicles, managed accounts or funds, predecessors, participants, sucçessors, assigns,
subsidiaries, affîliates, partners, limited partners, general partners, principals, members, management companies,
fund advisors or managers, employees, agents, trustees, advisory board members, financial advisors, attorneys,
accountants, investment bankers, consultants, representatives, and other professionals and advisors.

            87.   "Releøsed   Pør4l' means, each of, and in each case in its capacity as such: (a) the Debtors; (b)   the
Post-Effective Date Debtors; (c) each Prepetition Secured Lender; (d) the Administrative Agent; (e) the Purchaser;
(f) each holder of an Interest in Holdco; (g) each current and former Affiliate of each Entity in clause (a) through (f);
and (g) each Related Party ofeach Entity in clause (a) through (h).

          88. "Releøsíng Pørfif' means, each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Post-Effective Date Debtors; (c) each Prepetition Secured Lender; (d) the Administrative Agent; (e) the Purchaser;
(f) all Holders of Claims; (g) all Holders of Interests; (h) each current and former Affiliate of each Entity in clause
(a) through (h); and (i) each Related Party of each Entity in clause (a) through (i). Notwithstanding the foregoing,
an Entity shall be neither a Releasing Party nor a Released Party if it: (x) does not vote to, and is not deemed to,
accept the Plan; and (y) timely files with the Bankruptcy Court on the docket of the Chapter I I Cases an objection to
the releases contained in Article VIILD of the Plan that is not resolved before Confirmation; provided, however, thal
any such Entity shall be identified by name as a non-Releasing Paty and non-Released Party in the Confirmation
Order.

          89. "Reserve Residuøls" means (i) any amounts remaining in the Professional Fee Escrow Account after
payment in full of all Allowed Professional Fee Claims, (ii) any amounts remaining in the Priority Claims Reserve
after payment in full of all Allowed Priority Claims and Allowed Administrative Claims (other than Professional
Fee Claims) andlor (iii) any amounts remaining in the Wind Down Amount after entry of a final decree closing the
last of the Chapter 1l Cases.

            90. "Restructuríng Trønsøctions"     means the transactions described in Article   IV.B of   the Plan.


          91. "Retøined Cøases of Action" means Causes of Action that are not waived, relinquished, exculpated,
released, compromised, or settled pursuant to this Plan or a Bankruptcy Courl order or not purchased by or
transferred or conveyed to the Purchaser pursuant to the Asset Purchase Agreement. Without limiting the generality
of the foregoing, the following are not Retained Causes of Action: (a) Causes of Action that are Acquired Assets
under, and as defined in, the Asset Purchase Agreement and (b) Causes of Action (including Avoidance Actions)
against current or former suppliers to or customers of the Debtors, their non-Debtor Affiliates, or the Purchaser.

            92. "Søle Ordef'means the order of the Bankruptcy Court approving the Asset         Purchase Agreement.


         93. "Søle Trønsøclion" or "Søle Transactíons" means those certain transactions between the Debtors and
the Purchaser as set forth in the Asset Purchase Agreement, liquidation sales in accordance with the Store Closing
Order, the Debtors' Owned Real Property Sale and any other sale transaction.

        94. "schedule of Assumed Executory Contrøcts ønd Unexpired Leøses" means the schedule of certain
Executory Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, as the same may be
amended, modifìed, or supplemented from time to time by the Debtors with the consent of the Prepetition Agent,
which such consent shall not be unreasonably withheld.




{   1229.002-w005ss80.}                                       8
                   Case 19-10234-KG             Doc 384        Filed 04/24/19        Page 61 of 135




        95. "schedule of Retøined Causes of Action" means the schedule of certain Retained Causes of Action, as
the same may be amended, modified, or supplemented from time to time by the Debtors with the consent of the
Prepetition Agent, which such consent shall not be unreasonably withheld.

            96. "schedules" means, collectively, the schedules       of assets and liabilities,    schedules   of   Executory
Contracts and Unexpired Leases and statements of financial affairs Filed by the Debtors pursuant to section 521            of
the Bankruptcy Code, as such schedules may be amended, modified, or supplemented from time to time.

         97. "securecl' means when referring to a Claim: (a) secured by a Lien on property in which the
applicable Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by
reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to
the extent of the value of the creditor's interest in such Estate's interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or
(b) Allowed pursuant to the Plan as a Secured Claim.

          98. "secured Tsx Cløim'means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankmptcy Cocle (cleterminecl irrespective of time
limitations), including any related Secured Claim for penalties.

            gg. "Securities Acf'means the Securities Act of 1933, 15 U.S.C. $$77a--77aa, as now in effect or
hereafter amended, and the rules and regulations promulgated thereunder.

             l00."Security" means a security as defined in section 2(aX1) of the Securities Act.

         l}l."Store Closing Order" means the Interim Order (I) Authorizing the Debtors to Assume the Agency
Agreement, (II) Approving Procedures þr Store Closing Sales, and (III) Granting Related Relief lDocket No. 641
and the Final Order (I) Authorizing the Debtors to Assume the Agency Agreement, (II) Approving Procedures for
Store Closing Sales, qnd (III) Granting Related Relief[Docket No. 217].

         l\2."Term Loøn Cløim" means a Claim arising under, derived from, secured by, or based on the Credit
Agreement solely with respect to Term Obligations (as defined in the Credit Agreement). Pursuant to the Cash
Collateral Order, all Term Loan Claims are Allowed Claims and are Allowed in an amount of not less than
s124,92t,t05 .40.

         103."(Jnexpired Leøse" means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 or section 1123 of the Bankruptcy Code.

         104."(Jnimpøíretl'means, with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

            105. "U.,S. Trustee" means the Office of the United States Trustee for the District of Delaware.

             106."Votíng Deadline" means 4:00 p.m. (prevailing Eastern Time) on [May      l,   2019

             107. "ll¡índ Down   Amounl' means Cash in the aggregate amount of $2,500,000

B.          Rules of Interpretation

         For purposes of this Plan: ( 1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that the referenced document shall be substantially in that form or substantially on those terms and
conditions; (3) any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been
Filed or to be Filed shall mean that document, schedule, or exhibit, as     it may thereafter be amended, restated,


{   1229.002-W0055s80. }                                      9
                    Case 19-10234-KG            Doc 384        Filed 04/24/19         Page 62 of 135




supplemented, or otherwise modified; (4) ary reference to an Entity as a holder of a Claim or Interest includes that
Entity's sucçessors and assigns; (5) unless otherwise specified, all references herein to "Articles" are references to
Articles of the Plan or hereto; (6) unless otherwise specified, all references herein to exhibits are references to
exhibits in the Plan Supplement; (7) unless otherwise specified, the words "herein," "hereof," and "hereto" refer to
the Plan in its entirety rather than to a particular portion of the Plan; (8) subject to the provisions of any contract,
certificate of incorporation, bylaw, instrument, release, or other agreement or document entered into in connection
with the Plan, the rights and obligations arising pursuant to the Plan shall be governed by, and construed and
enforced in accordance with, applicable federal law, including the Bankruptcy Code and the Bankruptcy Rules, or, if
no rule of law or procedure is supplied by federal law (including the Bankruptcy Code and the Bankruptcy Rules) or
otherwise specifìcally stated, the laws of the State of Delaware, without giving effect to the principles of conflict of
laws; (9) captions and headings to Articles are inserted for convenience ofreference only and are not intended to be
a part    of or to affect the interpretation of the Plan; (10)unless otherwise specified herein, the rules of construction
set forth    in section 102 of the Bankruptcy Code shall apply; (11)all references to docket numbers of documents
Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy Court's CM/ECF system;
(12)all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to
time, and as applicable to the Chapter 11 Cases, unless otherwise stated; (13) any effectuating provisions may be
interpreted by the Post-Effective Date Debtors in such a manner that is consistent with the overall purpose and intent
of the Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity;
(14) any references herein to the Effective Date shall mean the Effective Date or as soon as reasonably practicable
thereafter; (15) all references herein to consent, acceptance, or approval shall be deemed to include the requirement
that such consent, acceptance, or approval be evidenced by a writing, which may be conveyed by counsel for the
respective parties that have such consent, acceptance, or approval rights, including by electronic mail; (16) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as
the case may be.

C.          Computation of Time

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead ocaur on the next
succeeding Business Day.

D.          Governing Law

          Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Delaware, without giving effect to
the principles of conflict of laws, shall govern the rights, obligations, construction, and implementation of the Plan,
any agreements, documents, instruments, or contracts executed or entered into in connection with the Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall control); provided
that corporafe or limited liability company governance matters relating to the Debtors or the Post-Effective Date
Debtors, as applicable, not incorporated in Delaware shall be govemed by the laws of the state of incorporation or
formulation of the applicable Debtor or the Post-Effective Date Debtors, as applicable.

E.          Reference to Monetøry Figures

            All   references in the Plan to monetary figures shall refer to currency of the United States    of America,
unless otherwise expressly provided.

F.          Reference to the Debtors or the Post-Effective Date Debtors

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors
or the Post-Effective Date Debtors shall mean the Debtors and the Post-Effective Date Debtors, as applicable, to the
extent the Çontext requires.




{   1229.002-W005s580.}                                      10
                    Case 19-10234-KG             Doc 384          Filed 04/24/19    Page 63 of 135




                                             ARTICLE II.
                            ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
Interests set forth in Article III.

A.          Administrative Claims

            Except with respect to Administrative Claims that are Professional Fee Claims, and except to the extent that
an Administrative Claim has already been paid during the Chapter l1 Cases or a Holder of an Allowed
Administrative Claim and the applicable Debtor(s) agree to less favorable treatment, each Holder of an Allowed
Administrative Claim shall receive, in fulI and final satisfaction, compromise, settlement, and release of and in
exchange for its Claim, payment from the Priority Claims Reserve.

            Except for Professional Fee Claims, and unless previously Filed pursuant to the Bar Date Order, requests
for payment of Administrative Claims, including Administrative Claims arising under section 503(bX9) of the
Bankruptcy Code, must be Filed and served on the Post-Effective Date Debtors no later than the Administrative
Claim Bar Date pursuant to the procedures specified in the Confirmation Order and the notice of entry of the
Confirmation Order. Objections to such requests must be Filed and served on the Post-Effective Date Debtors and
the requestingparty by the Administrative Claim Objection Bar Date. After notice and a hearing in accordance with
the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy Court orders, the
Allowed amounts, if any, of Administrative Claims shall be determined by, and satisfied in açcordance with an order
that becomes a Final Order of, the Bankruptcy Court.

         Holders of Administrative Claims that are required to File and serve a request for payment of such
Administrative Claims that do not File and serve such a request by the Bar Date or the Administrative Claim Bar
Date, as applicable, shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Priority Claims Reserve, the Debtors or their property and the Post-Effective Date Debtors or their
property, and such Administrative Claims shall be deemed discharged as of the Effective Date without the need for
any objection from the Post-Effective Date Debtors or any notice to or action, order, or approval of the Bankruptcy
Court or any other Entity. Notwithstanding the foregoing, no request for payment of an Administrative Claim need
be Filed with respect to an Administrative Claim that is Allowed by Final Order.

B.          Professional Fee Claims

            l.   Final Fee Applications and Payment of Professional Fee Claims

            All final   requests for payment   of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Effective Date must be Filed by the Professional Fee Bar Date, unless no final request
for payment of such Professional Fee Claims is required pursuant to an order of the Bankruptcy Court. Holders of
Professional Fee Claims that are required to File a final request for payment of such Professional Fee Claims that do
not File such a request by the Professional Fee Bar Date shall be forever barred, estopped, and enjoined from
asserting such Professional Fee Claims against the Professional Fee Escrow Account and the Debtors or their
property and the Post-Effective Date Debtors or their property, and such Professional Fee Claims shall be deemed
discharged as of the Effective Date without the need for any objection from the Post-Effective Date Debtors or any
notice to or action, order, or approval of the Bankruptcy Court or any other Entity. The Bankruptcy Court shall
determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Code, Bankruptcy Rules, and prior Bankruptcy Court orders. The Post-
Effective Date Debtors shall pay the amount of the Allowed Professional Fee Claims owing to the Professionals in
Cash from the Professional Fee Escrow Account when such Professional Fee Claims are Allowed by entry of an
order ofthe Bankruptcy Court.




{   1229.002-W00s5580. }                                     ll
                   Case 19-10234-KG             Doc 384       Filed 04/24/19        Page 64 of 135




            2.   Professional Fee Escrow Account

         As soon as is reasonably practicable after the Confirmation Date and no later than the Effective Date, the
Debtors shall establish (if not previously established) and fund the Professional Fee Escrow Account with Cash
equal to the Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be maintained in trust
solely for the Professionals and for no other Entities until all Professional Fee Claims Allowed by the Bankruptcy
Court have been paid in full to the Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No
Liens, claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the Professional Fee
Escrow Account in any way. Funds held in the Professional Fee Escrow Account shall not be considered property
of the Estates of the Debtors or of the Post-Effective Date Debtors.

         The amount of Professional Fee Claims owing to the Professionals shall be paid in Cash to such
Professionals by the Post-Effective Date Debtors from the funds held in the Professional Fee Escrow Account as
soon as reasonably practicable after such Professional Fee Claims are Allowed by an order of the Bankruptcy Court.
When all Professional Fee Claims Allowed by the Bankruptcy Court have been paid in full to the Professionals
pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the Professional Fee
Escrow Acconnt shall promptly be paicly'r,sl, to tlre Prepetition Agent to be applied toward the Revolver Claims until
the Revolver Claims are paid in full and, second, to the Prepetition Agent to be applied toward the Term Loan
Claims until the Term Loan Claims are paid in full.

            3.   Professional Fee Escrow Amount

         The Professionals shall provide a reasonable and good-faith estimate of their unpaid fees and expenses
incurred in rendering services to the Debtors projected to be outstanding as of the Effective Date, and shall deliver
such estimate to the Debtors and the Prepetition Agent no later than five Business Days before the anticipated
Effective Date; provided that such estimate shall not be considered or deemed an admission or limitation with
respect to the amount ofthe fees and expens€s bhat are the subject ofthe Professional's fìnal request for payment of
Professional Fee Claims and such Professionals are not bound to any extent by the estimates. If a Professional does
not provide an estimate, the Debtors and the Prepetition Agent may estimate the unpaid and unbilled fees and
expenses of such Professional. The total aggregale amount so estimated as of the Effective Date shall be utilized by
the Debtors and the Prepetition Agent to determine the amount to be funded to the Professional Fee Escrow
Account.

            4.   Post-Effective Date Fees and Expenses

            Upon the Effective Date, any requirement that Professionals comply with sections 327 tbrough 331 and
1103 of the Bankruptcy Code or the Interim Compensation Order in seeking retention or compensation for services
rendered after such date shall terminate, and the Post-Effective Date Debtors and Plan Administrator may employ
and pay any Professional in the ordinary course        of business without any further notice to or action, order, or
approval ofthe Bankruptcy Court.

C.          Priority Tax Claims

            Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange for, each Allowed
Priority Tax Claim, each Holder of an Allowed Priority Claim shall receive, in full and final satisfaction,
compromise, settlement, and release of and in exchange for its Claim, payment from the Priority Claims Reserve.

                                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.          Cløssification of Claims and Interests

            Except for the Claims addressed in Article II of the Plan, all Claims and Interests are classified in the
Classes set forth in this ArticleIII for all purposes, including voting, Confirmation, and distributions pursuant to the



{   1229.002-W00sss80.}                                     t2
                    Case 19-10234-KG                Doc 384               Filed 04/24/19     Page 65 of 135




Plan and in accordance with section 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest is
classifìed in a particular Class only to the extent that such Claim or Interest qualifies within the description of that
Class and is classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the
description of such other Classes. A Claim or an Interest also is classifìed in a particular Class for the putpose of
receiving distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed
Inter€st in that Class and has not been paid, released, or otherwise satisfied prior to the Effective Date.

        The classifìcation of Claims and Interests against the Debtors pursuant to the Plan is as set forth below.
The Plan shall apply as a substantively consolidated Plan for all of the Debtors. All of the potential Classes for the
Debtors are set forth herein.


Class


     I    Secured Tax Claims                                 Unimpaired            Not Entitled to Vote (Deerned to Accept)

     2    Other Secured Clairns                              Unimpaired            Not Entitled to Vote (Deerned to Accept)

     3    Other Priority Clairns                             Unimpaired            Not Entitled to Vote (Deemed to Accept)

     4    Revolver Claitns                                   Impaired              Entitled to Vote

     5    Term Loan Claims                                   Impaired              Not Entitled to Vote (Deemed to Reject)

     6    Ceneral Unsecured Clairns                          hnpaired              Not Entitled to Vote (Deemed to Reject)

     7    Intercompany Interests                             hnpaired              Not Entitled to Vote (Deerned to Reject)

     8    Interests in Holdco                                Impaired              Not Entitled to Vote (Deerned to Reject)


B.           Treatment of Claims and Interests

         Subject to Article VI hereof, each holder of an Allowed Claim or Allowed Interest, as applicable, shall
receive under the Plan the treatment described below in full and final satisfaction, compromise, settlement, release,
and discharge of, and in exchange for, such holder's Allowed Claim or Allowed Interest, except to the extent
different treatment is agreed to by the Debtors and the holder of such Allowed Claim or Allowed Interest, as
applicable. Unless otherwise indicated, the holder of an Allowed Claim or Allowed Interest, as applicable, shall
receive such treatment on the later of the Effective Date and the date such holder's Claim or Interest becomes an
Allowed Claim or Allowed Interest or as soon as reasonably practicable thereafter.

             1.   Class 1 - Secured Tax Claims

                   (a)          Classification' Class   I   consists of all Secured Tax Claims

                   (b)          Treatment: Each holder of an Allowed Secured Tax Claim shall receive, at the option of the
                                Plan Administrator:

                                   (Ð       payment in full in Cash of such holder's Allowed Secured Tax Claim; or

                                   (iÐ      equal semi-annual Cash payments commencing as of the Effective Date or as
                                            soon as reasonably practicable thereafter and continuing for five years, in an
                                            aggregate amount equal to such Allowed Secured Tax Claim, together with
                                            interest at the applicable non-default rate under non-bankruptcy law, subject to
                                            the option of the Plan Administrator to prepay the entire amount of               such
                                            Allowed Secured Tax Claim during such time period.



{l   22e.002-v/005s580. }                                               l3
                  Case 19-10234-KG              Doc 384        Filed 04/24/19         Page 66 of 135




                  (c)      Voting: Class I is Unimpaired under the Plan. Holders of Secured Tax Claims               are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(Ð of             the
                          Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                          Plan.

            2.   Class 2 - Other Secured Claims

                  (a)      Classification' Class 2 consists of all Other Secured Claims.

                  (b)      Treatment; Each holder of an Allowed Other Secured Claim shall receive, at the option of
                           the Plan Administrator:

                              (Ð       pa)¡rnent in full in Cash of such holder's Allowed Other Secured Claim;

                              (iÐ      the collateral securing such holder's Allowed Other Secured Claim;

                              (iii)    Reinstatement of such holder's Allowed Other Secured Claim; or

                              (iv)     such other treatment rendering such holder's Allowed Other Secured Claim
                                       Unimpaired.

                  (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Secured Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(Ð of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                           Plan.

            3.   Class 3 - Other Priority Claims

                  (a)      Classification: Class 3 consists of all Other Priority Claims.

                  (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive payment in full in
                           Cash of such holder's Allowed Other Priority Claim from the Priority Claims Reserve or
                           such other treatment rendering such holder's Allowed Other Priority Claim Unimpaired.

                  (c)      Voting: Class 3 is Unimpaired under the Plan. Holders of Other Priority Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(Ð of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                           Plan.

            4.   Class 4 - Revolver Claims

                  (a)      Cløssification: Class 4 consists of the Revolver Claims.

                  (b)      Treqtment: In full and final satisfaction of all Revolver Claims, the following shall be paid
                           to the Prepetition Agent to be applied toward the Revolver Claims until the Revolver Claims
                           are paid in full: (i) any Available Cash after the funding of the Priority Claims Reserve, the
                           Professional Fee Escrow Account and the Vy'ind Down Amount and the reserve or payment
                           in full of all Allowed Secured Tax Claims and All Other Secured Claims, and (ii) any
                           Reserve Residuals.

                  (c)      Voting; Class 4 is Impaired under the Plan. Holders of Revolver Claims are entitled to vote
                           to accept or reject the Plan.




{   1229.002-wo0sss80.}                                       14
                  Case 19-10234-KG               Doc 384       Filed 04/24/19         Page 67 of 135




            5.   Class 5 - Term Loan Claims

                  (a)      Classification: Class 5 consists of the Term Loan Claims'

                  (b)      Treatment; Holders of Term Loan Claims will not receive or retain any property or interest
                           in property on account of such Term Loan Claims; plqvidgd, however, that in the event that
                           all Revolver Claims have beçn paid in full, any Available Cash and any Reserve Residuals
                           shall be paid to the Prepetition Agent to be applied toward the Term Loan Claims until the
                           Term Loan Claims are paid in fu1l.

                  (c)      Voting: Class 5 is Impaired by the Plan, and         each holder   of a Term Loan Claim      is
                           conclusively deemed to have rejected the Plan pursuant to Bankruptcy Code section 1126(9).
                           Therefore, such holders are not entitled to vote to accept or reject the Plan.

            6.   Class 6 - General Unsecured Claims

                  (a)      Classification: Class 6 consists of the General Unsecured Claims'

                  (b)      Treatment; Holders of General Unsecured Claims          will receive no distribution from   the
                           Debtors or their Estates under the Plan.

                  (c)      Voting; Class 6 is Impaired by the Plan, and each holder of a Class 6 General Unsecured
                           Claim is conclusively presumed to have rejected the Plan pursuant to Bankruptcy Code
                           section 1126(Ð. Therefore, such holders are not entitled to vote to accept or reject the Plan.

            7.   Class 7 - Intercompany Interests

                  (a)      ClassíJication: Class 7 consists of all Intercompany Interests

                  (b)      Treatment: Intercompany Interests shall be discharged, canceled, released and extinguished
                           as of the Effective Date and holders of Intercompany Interests will not receive any
                           distribution on account of such Intercompany Interests.

                  (c)      Voting: Class 7 is Impaired under the Plan. Holders of Intercompany               Interests are
                           conclusively deemed to have rejected the Plan pursuant to section 1126(Ð of the Bankruptcy
                           Code. Therefore, such holders are not entitled to vote to accept or reject the Plan.

            8.   Class 8 - Interests in Holdco

                  (a)      ClassiJìcøtion' Class 8 consists of all Interests in Holdco'

                  (b)      Treatment; Interests in Holdco will be discharged, canceled, released, and extinguished as
                           of the Effective Date, and will be of no further force or effect, and holders of Interests in
                           Holdco will not receive any distribution on account of such Interests in Holdco, plqvldqd,
                           however, that, as of the Effective Date, the Plan Administrator shall be deemed to own one
                           share of stock in Holdco, provided, further, that the Plan Administrator shall not be entitled
                           to receive any distribution on account ofsuch retained Interest.

                  (c)      Voting: Class 8 is Impaired under the Plan. Holders of Interests in Holdco are conclusively
                           deemed to have rejected the Plan pursuant to section 1126(9) of the Bankruptcy Code.
                           Therefore, such holders are not entitled to vote to accept or reject the Plan.




{   1229.002-w00sss80.}                                       15
                 Case 19-10234-KG             Doc 384        Filed 04/24/19       Page 68 of 135




C.       Special Provísion Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors' rights in respect
of any Claims that are Unimpaired, including all rights in respect of legal and equitable defenses to or setoffs or
recoupments against any such Claims that are Unimpaired. Unless otherwise Allowed, Claims that are Unimpaired
shall remain Disputed Claims under the Plan.

D.        Confirmation Pursuant to Sections I129(a)(10) and 1129þ) of the Banlcruptcy Code

          Section I 129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
otthe Plan by at least one Impaired Class of Claims. The Debtors shall seek Confirmation of the Plan pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtors,
with the consent of the Prepetition Agent (which such consent shall not be unreasonably withheld), reserve the right
to modify the Plan in accordance with Article X of the Plan to the extent, if any, that Confirmation pursuant to
section I 129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules.

E.       Subordínated Claims

          Except as expressly provided herein, the allowance, classification, and treatment of all Allowed Claims and
Interests and the respective distributions and treatments under the Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
and the Post-Effective Date Debtors reserye the right to reclassify any Allowed Claim or Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

F.        Elimination of Vacant Cløsses; Presumed Acceptance by Non-Voting Classes

                                                          a holder of an Allowed Claim or Allowed Interest or a
          Any Class of Claims or Interests that does not have
Claim or Interest temporarily Allowed by the Bankruptcy Court in an amount greater than zero as of the date of the
Confirmation Hearing shall be considered vacaîÍ and deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for putposes ofdetermining acceptance or rejection ofthe Plan by such Class pursuant
to section I 129(aX8) of the Bankruptcy Code. If a Class contains Claims or Interests eligible to vote and no holders
of Claims or Interests eligible to vote in such Class vote to accept or reject the Plan, the holders of such Claims or
Interests in such Class shall be deemed to have accepted the Plan.

G.        Controversy Concerning Impairment

           a controversy arises as to whether any Claims or Interests, or aîy Class of Claims or Interests, are
          If
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

                                                     ARTICLE IV.
                               MEANS FORIMPLEMENTATION OF THE PLAN

A.        General Settlement of Claims and Interests

           As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions of the Plan
shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of Action, and controversies
released, settled, compromised, discharged, or otherwise resolved pursuant to the Plan. The Plan shall be deemed a
motion to approve the good-faith compromise and settlement of all such Claims, Interests, Causes of Action, and



{ 1229.002-W005s580. }                                      16
                     Case 19-10234-KG            Doc 384        Filed 04/24/19          Page 69 of 135




controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the
Bankruptcy Court's approval of such compromise and settlement under section ll23 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable, and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to
be and shall be final.

B.          Restructuring Transactions

         On the Effective Date, to the extent not inconsistent with the Sales Transactions, the applicable Debtors or
Post-Effective Date Debtors shall enter into any transaction and shall take any actions as may be necessary or
appropriate     to effect the   transactions described herein, including, as applicable, consummation       of the   Sale
Transactions, the issuance of all securities, notes, instruments, certificates, and other documents required to be
issued pursuant to the Plan, one or more intercompany mergers, consolidations, amalgamations, arrangements,
continuances, restructurings, conversions, dispositions, dissolutions, transfers, liquidations, spinoffs, intercompany
sales, purchases, or other corporate transactions. The actions to implement the Restructuring Transactions may
include: (1) the execution and delivery of appropriate agreements or other documents of merger, consolidation,
amalgamation, anangement, continuance, restructuring, conversion, disposition, dissolution, transfer, liquidation,
spinoff, sale, or purchase containing terms that are consistent with the terms of the Plan and that satisfy the
applicable requirements of applicable law and any other terms to which the applicable Entities may agree; (2) the
execution and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset,
property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms for
which the applicable Entities agree; (3) the filing of appropriate certifìcates or articles of incorporation,
reincorporation, formation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or
dissolution pursuant to applicable state or provincial law; and (a) all other actions that the applicable Entities
determine to be necessary or appropriate, including making filings or recordings that may be required by applicable
law in connection with the Plan.
                                                                           'Waterføll
C.          Sources of Consideration   for Plan Distributions and Priority

          Distributions under the Plan will be funded by Available Cash. After the funding from Available Cash of
the Priority Claims Reserve, the Professional Fee Escrow Account and the V/ind Down Amount and the reserye or
payment in fulI of all Allowed Secured Tax Claims and Other Seçured Claims, all remaining Available Cash shall be
paíd first, to the Prepetition Agent to be applied toward the Revolver Claims until the Revolver Claims are paid in
full and, second, to the Prepetition Agent to be applied toward the Term Loan Claims until the Term Loan Claims
are paid in ful1.

         In addition, all Residual Reserves shall be paid first, to the Prepetition Agent to be applied toward the
Revolver Claims until the Revolver Claims are paid in full and, second, to the Prepetition Agent to be applied
toward the Term Loan Claims until the Term Loan Claims are paid in full.

            After all senior claims are paid in full, any remaining Available Cash and Residual Reserves shall be
allocated on    a   Pro Rata basis to holders of General Unsecured Claims.

D.          Post-Effective Date Debtors

          The Debtors shall continue in existence after the Effective Date as the Post-Effective Date Debtors solely
for the purposes of (1) winding down the Debtors' businesses and affairs as expeditiously as reasonably possible and
liquidating any assets held by the Post-Effective Date Debtors, if any, (2) resolving any Disputed Claims, (3) paying
Allowed Claims, (4) enforcing and prosecuting claims, interests, rights, and privileges under any Retained Causes of
Action in an efficacious marurer and only to the extent the benefits of such enforçement or prosecution are
reasonably believed to outweigh the costs associated therewith, (5) filing appropriate tax returns, and (6)
administering the Plan in an efficacious manner. The Post-Effective Date Debtors shall be deemed to be substituted
as the party-in-lieu of the Debtors in all matters, including (x) motions, contested matters, and adversary proceedings
pending in the Bankruptcy Court and (y) all matters pending in any courts, tribunals, forums, or administrative



{   1229.002-W00sss80. }                                      17
                   Case 19-10234-KG           Doc 384        Filed 04/24/19         Page 70 of 135




proceedings outside of the Bankruptcy Court, in each case without the need or requirement                 for the Plan
Administrator to file motions or substitutions of parties or counsel in each such matter.

         On the Effective DaIe, any Estate non-Cash assets shall vest in the Post-Effective Date Debtors for the
purpose of liquidating the Estates and Consummating the Plan. Such assets shall be held free and clear of all Liens,
Claims, and Interests of holders of Claims and Interests, except as otherwise provided in the Plan. Any distributions
to be made under the Plan from such assets shall be made by the Plan Administrator or its designee. The Post-
Effective Date Debtors and the Plan Administrator shall be deemed to be fully bound by the terms of the Plan and
the Confirmation Order.

E.          Plan Administrator

         On the Effective Date, the authority, power, and incumbency of the persons acting as directors and officers
of the Post-Effective Date Debtors shall be deemed to have resigned, solely in their capacities as such, and the Plan
Administrator shall be appointed as the sole director and the sole offîcer of the Post-Effective Date Debtors and shall
succeed to the powers of the Post-Effective Date Debtors' directors and officers. From and after the Effective Date,
the Plan Administrator shall be the sole representative of, ancl shall act for, the Post-Effective Date Debtors. For the
avoidance of doubt, the foregoing shall not limit the authority of the Post-Effective Date Debtors or the Plan
Administrator, as applicable, to continue the employment any former director or officer.

          The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
and to make distributions thereunder and wind down the businesses and affairs of the Debtors and the Post-Effective
Date Debtors, as applicable, including: (1) liquidating, receiving, holding, investing, supervising, and protecting the
remaining assets of the Post-Effective Date Debtors; (2) taking all steps to execute all instruments and documents
necessary to effectuate the distributions to be made under the Plan; (3) making distributions as contemplated under
the Plan; (4) establishing and maintaining bank accounts in the name of the Post-Effective Date Debtors; (5) subject
to the terms set forth herein, employing, retaining, terminating, or replacing professionals to represent it with respect
to its responsibilities or otherwise effectuating the Plan to the extent neçessary; (6) paying all reasonable fees,
expenses, debts, charges, and liabilities of the Post-Effective Date Debtors; (7) administering and paying taxes of the
Post-Effective Date Debtors, including filing tax returns; (8) representing the interests of the Post-Effective Date
Debtors before any taxing authority in all matters, including any action, suit, proceeding, or audit; and (9) exercising
such other powers as may be vested in it pursuant to an order of the Bankruptcy Court or pursuant to the Plan, or as
it reasonably deems to be necessary and proper to carry out the provisions ofthe Plan.

         The Plan Administrator may resign at any time upon 30 days' written notice delivered to the Post-Effective
Date Debtors and the Prepetition Agent; provided that such resignation shall only become effective upon the
appointment of a permanent or interim successor Plan Administrator. Upon its appointment, the successor Plan
Administrator, without any funher act, shall become fully vested with all of the rights, powers, duties, and
obligations of its predecessor and all responsibilities of the predecessor Plan Administrator relating to the Post-
Effective Date Debtors shall be terminated.

            1.   Appointment of the Plan Administrator

         The Plan Administrator shall be jointly appointed by the Debtors and the Prepetition Agent. The Plan
Administrator shall retain and have all the rights, powers, and duties necessary to carry out his or her responsibilities
under this Plan, and as otherwise provided in the Confirmation Order.

            2.   Retention of Professionals

         The Plan Administrator shall have the right to retain the services of attorneys, accountants, and other
professionals that, in the discretion of the Plan Administrator, are necessary to assist the Plan Administrator in the
performance of his or her duties. The reasonable fees and expenses of such professionals shall be paid by the
Post-Effective Date Debtors from the Wind Down Amount, upon the monthly submission of statements to the Plan
Administrator. The payment of the reasonable fees and expenses of the Plan Administrator's retained professionals
shall be made in the ordinary course ofbusiness and shall not be subject to the approval ofthe Bankruptcy Court.




{   1229.002-W0055s80. }                                    18
                    Case 19-10234-KG           Doc 384        Filed 04/24/19         Page 71 of 135




            3.   Compensation of the Plan Administrator

       The Plan Administrator's compensation, on a post-Effective Date basis, shall be as described in the Plan
Supplement and shall be jointly determined by the Debtors and Prepetition Agent.

            4.   Vy'ind Down Amount

          Notwithstanding anything to the contrary herein, all fees, expenses, disbursements and other costs of the
Plan Administrator and the Post-Effective Date Debtors, including, without limitation, fees and expenses of any
attomeys, accountants, and other professionals engaged by the Plan Administrator and/or the Post-Effective Date
Debtors, if any, shall be funded from the Wind Down Amount. Any amounts remaining in the V/ind Down Amount
after entry of a final decree closing the last of the Chapter I 1 Cases shall be paid first, to the Prepetition Agent to be
applied toward the Revolver Claims until the Revolver Claims are paid in fulI and, second, to the Prepetition Agent
to be applied toward the Term Loan Claims until the Term Loan Claims are paid in full.

            5.   Priority Claims Reserve

         On the Effective Date, the Plan Administrator shall establish the Priority Claims Reserve by depositing
Cash in the amount of the Priority Claims Reserve Amount into the Priority Claims Reserve.

        The Priority Claims Reserve shall be maintained in trust solely for holders of Allowed Priority Claims and
Allowed Administrative Claims (other than Allowed Professional Fee Claims) and for no other Entities until all
Allowed Priority Claims and Allowed Administrative Claims (other than Allowed Professional Fee Claims) have
been paid in full. Funds held in the Priority Claims Reserve shall not be considered property of the Estates of the
Debtors or the Post-Effective Date Debtors. The Priority Claims Reserve Amount shall be used to pay holders of all
Allowed Priority Claims and Allowed Administrative Claims (other than Allowed Professional Fee Claims), to the
extent that such Priority Claims and Administrative Claims have not been paid in full on or before the Effective
Date. If all or any portion of a Priority Claim or Administrative Claim (other than a Professional Fee Claim) shall
become a disallowed Claim, then the amount on deposit in the Priority Claims Reserve attributable to such surplus
or such disallowed Claim, including the interest that has accrued on said amount while on deposit in the Priority
Claims Reserve, shall remain in the Priority Claims Reserve to the extent that the Plan Administrator determines
necessary to ensure that the Cash remaining in the Priority Claims Reserve is sufficient to ensure that all Allowed
Priority Claims and Allowed Administrative Claims (other than Professional Fee Claims) will be paid in accordance
with the Plan. Any amounts remaining in the Priority Claims Reserve after all Allowed Priority Claims and
Allowed Administrative Claims (other than Allowed Professional Fee Claims) are paid in fuIl, shall be paidfirst, to
the Prepetition Agent to be applied toward the Revolver Claims until the Revolver Claims are paid in full and,
second, to the Prepetition Agent to be applied toward the Term Loan Claims until the Term Loan Claims are paid in
tull.

F.          lï/ind Down

         On and after the Effective Date, the Plan Administrator will be authorized to implement the Plan and any
applicable orders of the Bankruptcy Court, and the Plan Administrator shall have the power and authority to take
any action necessary to wind down and dissolve the Debtors' Estates.

          As soon as practicable after the Effective Date, the Plan Administrator shall take any and all actions as the
Plan Administrator may determine to be necessary or desirable to carry out the purposes of the Plan. From and after
the Effective Date the Debtors (1) for all purposes shall be deemed to have withdrawn their business operations from
any state in which the Debtors were previously conducting, or are registered or licensed to conduct, their business
operations, and shall not be required to file any document, pay aîy sum, or take any other action in order to
effectuate such withdravtal, (2) shall be deemed to have cancelled pursuant to this Plan all Interests, and (3) shall not
be liable in any manner to any taxing authority for franchise, business, license, or similar taxes accruing on or after
the Effective Date.




{   1229.002-W0055s80. }                                     t9
                    Case 19-10234-KG           Doc 384        Filed 04/24/19       Page 72 of 135




         The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the Plan Administrator.

G.          Plan Administrator Exculpation, Indemnification, Insurance, and Liability Limitation

         The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
respects by the Post-Effective Date Debtors. The Plan Administrator may obtain, at the expense of the Post-
Effective Date Debtors, commercially reasonable liability or other appropriate insurance with respect to the
indemnification obligations of the Post-Effective Date Debtors. The Plan Administrator may rely upon written
information previously generated by the Debtors.

H.          Tax Returns

            After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required
federal, state, and local tax returns for each of the Debtors, and, pursuant to section 505(b) of the Bankruptcy Code,
may request an expedited determination of any unpaid tax liability of such Debtor or its Estate for any tax incurred
during the administration of such Debtor's Chapter I I Case, as determined under applicable tax laws.

L           Dissolution of the Post-Effective Date Debtors

         Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
Chapter 1l Cases, the Post-Effective Date Debtors shall be deemed to be dissolved without any further action by the
Post-Effective Date Debtors, including the filing of any documents with the secretary of state for the state in which
the Post-Effective Date Debtors are formed or any other jurisdiction. The Plan Administrator, however, shall have
authority to take all necessary actions to dissolve the Post-Effective Date Debtors in and withdraw the Post-Effective
Date Debtors from applicable states.

J.          Cancellqtion of Securities and Agreements

           On the Effective Date, except as otherwise specifically provided for in the Plan: (l) the obligations of the
Debtors under the Credit Agreement Documents, and any other certificate, Security, share, note, bond, indenture,
purchase right, option, warrant, or other instrument or document directly or indirectly evidencing or creating any
indebtedness or obligation of or ownership interest in the Debtors giving rise to any Claim or Interest (except such
certificates, notes, or other instruments or documents evidencing indebtedness or obligation of or ownership interest
in the Debtors that are Reinstated pursuant to the Plan) shall be cancelled solely as to the Debtors, and the Post-
Effective Date Debtors shall not have any continuing obligations thereunder; and (2) the obligations of the Debtors
pursuant, relating, or pertaining to any agreements, indentures, certificates of designation, bylaws, or certificate or
articles of incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase
rights, options, warrants, or other instruments or documents evidencing or creating any indebtedness or obligation of
or ownership interest in the Debtors (except such agreements, certificates, notes, or other instruments evidencing
indebtedness or obligation of or ownership interest in the Debtors that are specifically Reinstated pursuant to the
Plan) shall be released and discharged. Notwithstanding the foregoing, no executory contract or unexpired lease that
(i) has been, or will be, assumed pursuant to Section 365 of the Bankruptcy Code or (ii) relating to a Claim that was
paid in full prior to the Effective Date, shall be terminated or cancelled on the Effective Date.

K.          Corporate Action

          Upon the Effective Date, all actions contemplated under the Plan, regardless of whether taken before, on, or
after the Effective Date, shall be deemed authorized and approved in all respects, including: (1) implementation of
the Restructuring Transactions; (2) consummation of the Sale Transaction under the Asset Purchase Agreement; and
(3) all other actions contemplated under the Plan (whether to ocçur before, on, or after the Effective Date). All
matters provided for in the Plan or deemed necessary or desirable by the Debtors before, on, or after the Effective
Date involving the corporate structure of the Debtors or the Post-Effective Date Debtors, and any corporate action




{   1229.002-W005ss80.}                                      20
                   Case 19-10234-KG            Doc 384       Filed 04/24/19         Page 73 of 135




required by the Debtors or the Post-Effective Date Debtors in connection with the Plan or corporate structure of the
Debtors or Post-Effective Date Debtors shall be deemed to have occurred and shall be in effect on the Effective
Date, without any requirement of further action by the security holders, directors, managers, or officers of the
Debtors or the Post-Effective Date Debtors. Before, on, or after the Effective Date, the appropriate officers of the
Debtors or the Post-Effective Date Debtors, as applicable, shall be authorized to issue, execute, and deliver the
agreements, documents, securities, and instruments contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Post-Effective Date Debtors' The
authorizations and approvals contemplated by this Article IV.K shall be effective notwithstanding any requirements
under non-bankruptcy law.

L.          EffectuatingDocuments;FurtherTransactions

            On and after the Effective Date, the Plan Administrator is authorized to and may issue, execute, deliver,
file, or record such contracts, Securities, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions
of the Plan and the Restructuring Transactions in the name of and on behalf of the Post-Effective Date Debtors,
without the need for any approvals, authorization, or consents except for those expressly required pursuant to the
Plan.

M.          Section I146 Exemption

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Post-Effective Date Debtor or to any other Person) of property under the Plan or pursuant to: (l) the
issuance, distribution, transfer, or exchange of any debt, equity security, or other interest in the Debtors or the Post-
Effective Date Debtors; (2) the Restructuring Transactions; (3) any Sale Transaction(s); (4) the creation,
modification, consolidation, termination, refinancing, andlor recording of any mortgage, deed of trust, or other
security interest, or the securing of additional indebtedness by such or other means; (5) the making, assignment, or
recording of any lease or sublease; or (6) the making, delivery, or recording of any deed or other instrument of
transfer under, in furtherance of, or in corurection with, the Plan, includiîg arty deeds, bills of sale, assignments, or
other instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment, and upon entry of
the Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the collection of
any such tax or governmental assessment and accept for filing and recordation any of the foregoing instruments or
other documents without the payment of any such tax, recordation fee, or governmental assessment. All filing or
recording officers (or any other Person with authority over any of the foregoing), wherever located and by
whomever appointed, shall comply with the requirements of section I 146(c) of the Bankruptcy Code, shall forgo the
collection of any such tax or governmental assessment, and shall accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental assessment'

¡¿          Preservation of Causes of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Post-Effective Date Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and
all Retained Causes of Action, whether arising before or after the Petition Date, including any actions specifically
enumerated in the Schedule of Retained Causes of Action, and the Post-Effective Date Debtors' rights to commence,
prosecute, or settle such Retained Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date.

            The Post-Effective Date Debtors may pursue such Retained Causes of Action, as appropriate, in accordance
with the best interests of the Post-Effective Date Debtors. No Entity may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as
any indication that the Debtors or the Post-Effective Date Debtors, as applicable, will not pursue any and all
available Retained Causes of Action against it. The Debtors or the Post-Effective Date Debtors, as applicable,
expressly reserve all rights to prosecute any and all Retained Causes of Action against any Entity, except as


{   1229.002-W005s580. }                                   21
                 Case 19-10234-KG           Doc 384        Filed 04/24/19        Page 74 of 135




otherwise expressly provided in the Plan, inctuding Article VIII of the Plan. The Post-Effective Date Debtors
expressly reserve all Retained Causes of Action, for later adjudication, and, therefore, no preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel fiudicial,
equitable, or otherwise), or laches, shall apply to such Retained Causes ofAction upon, after, or as a consequence of
the Confirmation or Consummation.

          The Post-Effective Date Debtors reserye and shall retain such Retained Causes of Action notwithstanding
the rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter I I Cases or pursuant
to the Plan. In accordance with section ll23(bX3) of the Bankruptcy Code, any Retained Causes of Action that a
Debtor may hold against any Entity shall vest in the Post-Effective Date Debtors. The applicable Post-Effective
Date Debtors, through the Plan Administrator, shall retain and may exclusively enforce any and all such Retained
Causes of Action. The Post-Effective Date Debtors shall have the exclusive right, authority, and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
ìudgment any such Retained Causes of Action and to decline to do any of the foregoing without the consent or
approval of any third party or further notice to or action, order, or approval of the Bankruptcy Court. For the
avoidance of doubt, and subject to Article VIII hereof, (a) neither the Debtors nor the Purchaser shall retain any
rights to pursue Avoidance Actions not pnrchasecl by or transferrecl or conveyed to the Purchaser pursuant to the
Asset Purchase Agreement and such rights shall remain exclusively with the Post-Effective Date Debtors, as
controlled and managed by the Plan Administrator; and (b) the Post-Effective Date Debtors have not retained and,
accordingly, shall not prosecute any Causes of Action (including Avoidance Actions) against current or former
suppliers to or customers of the Debtors, their non-Debtor Affiliates, or the Purchaser.

                                                   ARTICLE V.
                  TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.        Assumption and Rejection of Executory Contracts and Unexpired Leases

          On the Effective Date, except as otherwise provided herein, each Executory Contract or Unexpired Lease
not previously assumed, assumed and assigned, or rejected shall be deemed automatically rejected, pursuant to
sections 365 and 1 123 ofthe Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (1) is identified
on the Schedule of Assumed Executory Contracts and Unexpired Leases; (2) is the subject of a motion to assume
such Executory Contracts or Unexpired Leases that is pending on the Confirmation Date; (3) is a contract, release,
or other agreement or document entered into in connection with the Plan; (4) is a directors and officers insurance
policy; (5) is the Asset Purchase Agreement; (6) is the Agency Agreement, or (7) is an Assigned Contract pursuant
to and as defined in the Asset Purchase Agreement.

          Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence of the
Effective Date, constitute a Bankruptcy Order approving the assumptions or rejections of the Executory Contracts
and Unexpired Leases assumed or rejected pursuant to the Plan; provided, however, that neither the Plan nor the
Confirmation Order is intended to or shall be construed as limiting the Debtors' authority under the Sale Order to
assume and assign to Purchaser the Assigned Contracts (as defined in the Asset Purchase Agreement) or any other
terms of the Sale Order relating thereto. Any motions to assume Executory Contracts or Unexpired Leases pending
on the Effective Date shall be subject to approval by the Bankruptcy Court on or after the Effective Date by a Final
Order. Each Executory Contract and Unexpired Lease assumed pursuant to this Article V.A of the Plan or by any
order of the Bankruptcy Court, which has not been assigned to a third party prior to the Confirmation Date, shall
revest in and be fully enforceable by the Post-Effective Date Debtors in accordance with its terms, except as such
terms are modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for
its assumption under applicable federal law. Notwithstanding anything to the contrary in the Plan, the Debtors, the
Post-Effective Date Debtors, and the Plan Administrator, as applicable, reserve the right, with the consent of the
Prepetition Agent (which such consent shall not be unreasonably withheld), to alter, amend, modify, or supplement
the Schedule of Assumed Executory Contracts and Unexpired Leases identified in this Article V of the Plan and in
the Plan Supplement in a manner consistent with the Asset Purchase Agreement (i) to add or remove any Executory
Contract or Unexpired Lease to the Schedule of Assumed Executory Contracts and Unexpired Leases at any time
prior to the Effective Date, and (ii) to remove any Executory Contract or Unexpired Lease from the Schedule of
Assumed Executory Contracts and Unexpired Leases at any time through and including 45 days after the Effective
Date. The Debtors or the Post-Effective Date Debtors,   as applicable, shall provide notice of any amendments to the



{ 1229.002-W00s5580. }                                   22
                  Case 19-10234-KG            Doc 384      Filed 04/24/19         Page 75 of 135




Schedule of Assumed Executory Contracts and Unexpired Leases to the parties           to the Executory Contracts or
Unexpired Leases affected thereby.

B.         Directors ønd Officers Insurance Policíes

         Any directors and officers insurance policies shall be assumed by the Debtors on behalf of the applicable
Debtor and assigned to the Post-Effective Date Debtors effective as of the Effective Date, pursuant to sections 365
 and 1123 of the Bankruptcy Code, unless such insurance policy previously was rejected by the Debtors or the
Debtors' Estates pursuant to a Bankruptcy Court order or is the subject of a motion to reject pending on the
Effective Date, and coverage for defense and indemnity under any such policies shall remain available to all
individuals within the definition of "Insured" in any such policies.

C.         Indemnification Obligations

          Subject to the occurrence of the Effective Date, the obligations of the Debtors as of the Effective Date to
indemnify, defend, reimburse, or limit the liability of the current and former directors, managers, officers,
employees, attorneys, other professionals and agents of the Debtors, and such current and former directors',
managers', and officers' respective Affiliates, respectively, against any Claims or Causes of Action under any
indemnification provisions or applicable law, shall survive Confirmation, shall be assumed by the Debtors on behalf
of the applicable Debtor and assigned to the Post-Effective Date Debtors which shall be deemed to have assumed
the obligation, and will remain in effect after the Effective Date if such indemnif,rcation, defense, reimbursement, or
limitation is owed in connection with an event occurring before the Effective Date; provided thøt, notwithstanding
anything herein to the contrary, the Post-Effective Date Debtors' obligation to fund such indemnifìcation obligations
shall be limited to the extent of coverage available under any insurance policy assumed by the Debtors and assigned
to the Post-Effective Date Debtors, including any directors and officers insurance policies.

D.          Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan (it being understood that the assumption and assignment of the Assigned Contracts (as defined in the Asset
Purchase Agreement) shall be authorized and governed by the Sale Order, and, in the event of any inconsistency
between this Plan and Sale Order concerning the assumption and assignment of the Assigned Contracts (as defined
in the Asset Purchase Agreement), the terms of the Sale Order shall govern and control) shall be satisfied, pursuant
to section 365(bxl) of the Bankruptcy Code, by payment of the default amount in Cash on the Effective Date,
subject to the limitation described below, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of any payments to cure
such a default, (2) the ability of the Post-Effeçtive Date Debtors or any assignee to provide "adequate assurance of
fufure performance" (within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or
Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the cure payments required by
section 365(bX 1) of the Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the
dispute and approving the assumption. At least ten days prior to the Confirmation Hearing, the Debtors shall
provide for notices ofproposed assumption and proposed cure amounts to be sent to applicable third parties and for
procedures for objecting thereto and resolution of disputes by the Bankruptcy Court. Any objection by a
counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related cure amount must be
Filed, served, and actually received by the Debtors at least three days prior to the Confirmation Hearing. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption or
cure amount will be deemed to have assented to such assumption or cure amount.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result in
the full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related defaults,
arising under any assumed Executory Contract or Unexpired Lease at aîy time prior to the effective date of
assumption. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has
been assumed shall be deemed disallowed and expunged, without further notice                 to or action, order' or
approval of the Bankruptcy Court.



{   r229.002-W00s5580.}                                   23
                    Case 19-10234-KG          Doc 384       Filed 04/24/19        Page 76 of 135




E.          Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leøses

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not
constitute a termination of preexisting obligations owed to the Debtors or the Post-Effective Date Debtors, as
applicable, under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-
bankruptcy law to the contrary, the Post-Effective Date Debtors expressly reserye and do not waive any right to
receive, or any continuing obligation of a counterparty to provide, warranties or oontinued maintenance obligations
on goods previously purchased by the Debtors contracting from non-Debtor counterparties to rejected Executory
Contracts or Unexpired Leases.

F.          Modffications, Amendments, Supplements, Restøtements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect
such Executory Contract or Unexpired Lease, and Executory Contracts and Unexpired Leases related thereto, ifany,
including easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is rejected or
repudiated under the Plan.

         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any
Claims that may arise in connection therewith.

G.          Reservation of Rights

           Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Schedule of
Assumed Executory Contract and Unexpired Leases, nor anything contained in the Plan, shall constitute an
admission by the Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or that
any of the Post-Effective Date Debtors has any liability thereunder. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of assumption or rejection, the Debtors or the Post-
Effective Date Debtors, as applicable, shall have 30 days following entry of a Final Order resolving such dispute to
alter its treatment of such contract or lease under the Plan.

H.          Nonoccurrence of Effective Date

            In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect     to any request to    extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(dX4) of the Bankruptcy Code.

                                                    ARTICLEVI.
                                    PROVISIONS GOVERNING DISTRIBUTIONS

A.          Timing and Calculation of Amounts to Be Distributed

        Unless otherwise provided in the Plan, on the Effective Date (or if a Claim is not an Allowed Claim or
Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim or
Allowed Interest, or as soon as reasonably practicable thereafter), or as soon as is reasonably practicable thereafter,
each holder      of an Allowed Claim or Allowed Interests      (as applicable) shall receive the   full   amount   of   the
distributions that the Plan provides for Allowed Claims or Allowed Interests (as applicable) in the applicable Class.
In the event that any payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be completed on the next
succeeding Business Day, but shall be deemed to have been completed as of the required date. If and to the extent
that there are Disputed Claims or Disputed Interests, distributions on account of any such Disputed Claims or
Disputed Interests shall be made pursuant to the provisions set forth in Article VII hereof. Except as otherwise



{   1229.002-W0osss80.}                                   24
                   Case 19-10234-KG             Doc 384      Filed 04/24/19        Page 77 of 135




provided in the Plan, holders of Claims or Interests shall not be entitled to interest, dividends, or accruals on the
distributions provided for in the Plan, regardless of whether such distributions are delivered on or at any time after
the Effective Date.

B.          Disbursing Agent

         Distributions under the Plan shall be made by the Disbursing Agent. The Disbursing Agent shall not be
required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Post-Effective Date Debtors.

C.          Rights and Powers of Disbursing Agent

            l.   Powers of the Disbursing Agent

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instrumcnts, and other documents necessory to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions hereof.

            2.   Expenses Incurred On or After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount ofany reasonable fees and out-of-pocket
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
compensation and out-of-pocket expense reimbursement claims (including reasonable attomey fees and expenses)
made by the Disbursing Agent shall be paid in Cash from the V/ind Down Amount.

D.          Delivery of Distributions and Undeliverable or Unclaimed Distributions

            1.   Record Date for Distribution

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

            2.   Delivery of Distributions

            Except as otherwise provided herein, the Post-Effective Date Debtors shall make distributions to holders of
Allowed Claims and Allowed Interests on the Effective Date at the address for each such holder as indicated on the
Debtors' records as of the date of any such distribution; provided that the manner of such distributions shall be
determined at the discretion of the Post-Effective Date Debtors; provided, further, thøt the address for each holder of
an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that holder.

            3.   MinimumDistributrons

          Notwithstanding any other provision of the Plan, the Disbursing Agent will not be required to make
distributions of Cash less than $100 in value, and each such Claim to which this limitation applies shall be
discharged pursuant to A¡ticle VIII and its holder is forever barred pursuant to Aficle VIII from asserting that Claim
against the Debtors or their property.

            4.   Undeliverable Distributions and Unclaimed Property

         In the event that any distribution to any holder is returned as undeliverable, no distribution to such holder
shall be made unless and until the Disbursing Agent has determined the then-current address of such holder, at



{   r229.002-W00sss80.}                                     25
                   Case 19-10234-KG              Doc 384     Filed 04/24/19         Page 78 of 135




which time such distribution shall be made to such holder without interest; provided that such distributions shall be
deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one year from the
Effective Date. After such date, all unclaimed property or interests in property shall revert to the Post-Effective
Date Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding any
applicable federal, provincial, or state escheat, abandoned, or unclaimed property laws to the contrary), and the
Claim ofany holder to such property or Interest in property shall be discharged and forever barred.

E.          Compliance with Tax Requirements

            In connection with the Plan, to the extent applicable, the Debtors or the Post-Effective Date Debtors,    as
applicable, shall comply with all tax withholding and reporting requirements imposed on them by any Govemmental
Unit, and all distributions pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall be authorized to take all
actions necessary or appropriate to comply with such withholding and reporting requirements, including liquidating
a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding distributions pending receipt of information necessary to facilitate such distributions, or
establishing any other mechanisms they believe are reasonable and appropriate, The Debtors and Post-Effective
Date Debtors, as applicable, reserve the right to allocate all distributions made under the Plan in compliance with
applicable wage garnishments, alimony, child support, and other spousal awards, liens, and encumbrances.

F.          Allocations

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

G.          No Postpetition Interest on Claims

         Unless otherwise specifically provided for in a Final Order, the Plan or the Confirmation Order, or required
by applicable law, postpetition interest shall not accnre or be paid on any prepetition Claims against the Debtors, and
no holder of a prepetition Claim against the Debtors shall be entitled to interest accruing on or after the Petition Date
on any such prepetition Claim.

H.          Foreign Currency Exchønge Rate

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
cuffency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using
the exchange rate for the applicable cuffency as published in The I'fiall Street Journal, National Edition, on the
Effective Date.

L           Setoffi and Recoupment

          Except as expressly provided in this Plan, each Post-Effective Date Debtor may, pursuant to section 553 of
the Bankruptcy Code, set off or recoup against any Plan distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Retained Causes of Action that such Post-Effective Date Debtor may hold against the
holder of such Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the
relevant Post-Effective Date Debtor(s) and holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy
Court or another court of competent jurisdiction; provided that rrcifher the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a Post-Effective Date
Debtor or its successor of any and all claims, rights, and Retained Causes of Action that such PosrEffective Date
Debtor or its successor may possess against the applicable holder. In no event shall any holder of Claims against, or
Interests in, the Debtors be entitled to recoup any such Claim or Interest against any claim, right, or Cause of Action
of the Debtors or the Post-Effective Date Debtors, as applicable, unless such holder actually has performed such
recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.F of the Plan on or




{   r229.002-w00ss580.}                                    26
                   Case 19-10234-KG             Doc 384      Filed 04/24/19        Page 79 of 135




before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder
asserts, has, or intends to preserve any right ofrecoupment.

J.          Claims Paid or Payable by Third Parties

            l.   Claims Paid by Third Parties

         The Debtors or the Post-Effective Date Debtors, as applicable, shall reduce in full a Claim, and such Claim
shall be disallowed without a Claim objection having to be Filed and without any further notice to or action, order,
or approval of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account
of such Claim from aparrty that is not a Debtor or a Post-Effective Date Debtor. Subject to the last sentence of this
paragraph, to the extent a holder ofa Claim receives a distribution on account ofsuch Claim and receives payment
from a party that is not a Debtor or a Post-Effective Date Debtor on account of such Claim, such holder shall, within
two weeks of receipt thereof, repay or retum the distribution to the applicable Debtor or Post-Effective Date Debtor,
to the extent the holder's total recovery on account ofsuch Claim from the third party and under the Plan exceeds
the amount of such Claim as of the date of any such distribution under the Plan. The failure of such holder to timely
repay or return such distribution shall result in the holcler owing the applicable Debtor or Post-Effective Date Debtor
annualized interest at the Federal Judgment Rate on such amount owed for each Business Day after the two-week
grace period specified above until the amount is repaid.

            2.   Claims Payable by Third Parties

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors' insurance policies until the holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors' insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers' agreement, the applicable portion of such Claim may be expunged without an objection to such Claim
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

            3.   Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed
a waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such
insurers ofany defenses, including coverage defenses, held by such insurers'

                                                       ARTICLE VII.
                                  PROCEDURES FOR RESOLVING CONTINGENT,
                                    UNLIQUIDATED AND DISPUTED CLAIMS

A.          Allowance of Claims

         After the Effective Date, the Post-Effective Date Debtors or the Plan Administrator, as applicable, shall
have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
before the Effective Date.

B.          Claims Administration Responsibilities

         Except as otherwise specifically provided in the Plan, after the Effective Date, the Plan Administrator shall
have the sole authority: (1) to File, withdraw, or litigate to judgment objections to Claims or Interests; (2) to settle
or compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy
Court; and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without
any further notice to or action, order, or approval by the Bankruptcy Court.




{   1229.002-W00s5s80.}                                     27
                   Case 19-10234-KG             Doc 384     Filed 04/24/19         Page 80 of 135




C.          Estimation of Claims

          Before or after the Effective Date, the Debtors or the Plan Administrator, as applicable, may (but are not
required to) at any time request that the Bankruptcy Court estimate any Claim that is contingent or unliquidated
pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether arry party previously has
objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during the litigation of
any objection to any Claim or Interest or during the appeal relating to such objection. Notwithstanding any
provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject
to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or
Interest for all purposes under the Plan (including for purposes of distributions), and the relevant Post-Effective Date
Debtor may elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim or
Interest.

D.          Adjustment to Claím.s Wi,thout Ohje.ction

        Any Claim or Interest that has been paid or satisfied, or any Claim or Interest that has been amended or
superseded, cancelled, or otherwise expunged (including pursuant to the Plan), may be adjusted or expunged
(including on the Claims Register, to the extent applicable) by the Post-Effective Date Debtors without an objection
to such Claim or Interest having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

E.          Time to Fíle Objections to Claims

         Any objections to Claims shall be Filed on or before the later of (l) 180 days after the Effective Date and
(2) such other period of limitation as may be specifically fixed by the Debtors or the Post-Effective Date Debtors, as
applicable, or by a Final Order of the Bankruptcy Court for objecting to such claims.

F.          Disallowønce of Cløims

          Any Claims or Interests held by Entities from which property is recoverable under section 542, 543, 550, or
553 of the Bankruptcy Code, or that is a transferee of a transfer avoidable under section 522(Ð,522(h),544,545,
547,548,549, or 72a@) of the Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the
Bankruptcy Code, and holders of such Claims or Interests may not receive any distributions on account of such
Claims until such time as such Causes of Action against that Entity have been settled or a Bankruptcy Court order
with respect thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned over or
paid to the Post-Effective Date Debtors. All Claims Filed on account of an indemnification obligation to a director,
manager, officer, or employee shall be deemed satisfied and expunged from the Claims Register as of the Effective
Date to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the case may be)
pursuant to the Plan, without any further notice to or action, order, or approval of the Bankruptcy Court.

         Except as provided herein or other\ryise agreed, any and all Proofs of Claim Filed after the Bar Date
shall be deemed disallowed and expunged as of the Effective Date without any further notice to or action'
order, or approval of the Bankruptcy Court, and holders of such Claims may not receive any distributions on
account of such Claims, unless on or before the Confirmation Hearing such late Claim has been deemed
timely Filed by a Final Order.

G.          Amendments to Claims

         On or after the applicable bar date, a Claim may not be Filed or amended without the prior authorization of
the Bankruptcy Court or the Post-Effective Date Debtors. Absent such authorization, any new or amended Claim
Filed shall be deemed disallowed in full and expunged without any further action.




{   1229.002-W00s5580. }                                   28
                     Case 19-10234-KG               Doc 384        Filed 04/24/19          Page 81 of 135




H.          No Distributions Pending Allowance

            If   an objection to a Claim or portion thereof is Filed as set forth in Article   VII.B, no payment or distribution
provided under the Plan shall be made on account of such Claim or portion thereof unless and until such Disputed
Claim becomes an Allowed Claim.

I.          Distríbutions After Allowance

            To the extent that a Disputed Claim ultimately becomes an Allowed Claim or Allowed Interest,
distributions  (if any) shall be made to the holder of such Allowed Claim or Allowed Interest (as applicable) in
accordance with the provisions of the Plan. As soon as practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim or Disputed Interest becomes a Final Order, the Disbursing Agent
shall provide to the holder of such Claim or Interest the distribution (if any) to which such holder is entitled under
the Plan as of the Effective Date, without any interest, dividends, or accruals to be paid on account of such Claim or
Interest unless required under applicable bankruptcy law.

                                                         ARTICLE VIII.
                       SETTLEMENT, RELEA.SE, INJUNCTION AND RELATED PROVISIONS

A.          Discharge of Claims qnd Termination of Interests

         To the maximum extent provided by section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan or in any contract, instrument, or other agreement or doçument created pursuant to
the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete satisfaction,
discharge, and release, effective as of the Effective Date, of Claims, Interests, and Causes of Action of any nature
whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether known
or unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of
their assets or properties, regardless ofwhether any property shall have been distributed or retained pursuant to the
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to
services performed by current or former employees of the Debtors prior to the Effective Date and that arise from a
termination of employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g),502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: ( 1) a Proof of Claim or Proof of Interest based upon such debt, right,
or Interest is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based
upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the holder of
such a Claim or Interest has accepted the Plan. Any default by the Debtors or their Affiliates with respect to any
Claim or Interest that existed immediately prior to or on account of the filing of the Chapter 11 Cases shall be
deemed cured on the Effective Date. The Confirmation Order shall be a judicial determination of the discharge of
all Claims and Interests subject to the occurrence of the Effective Date.

B.          Releøse of Liens

         Except as otherwise provided in the Plan, the Plan Supplement, or any contract, instrument, release,
or other agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full
of the portion of the Secured Claim that is Allowed as of the Effective Date, and required to be satisfied
pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests against any
property of the Estates shall be fully released, settled, compromised, and discharged, and all of the right' title'
and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert automatically to the applicable Debtor and its successors and assigns. Any holder of such Secured
Claim (and the applicable agents for such holder) shall be authorized and directed to release any collateral or
other property of any Debtor (including any cash collateral and possessory collateral) held by such holder
(and the appticable agents for such holder), and to take such actions as may be reasonably requested by the
Post-Effective Date Debtors to evidence the release of such Lien, including the execution, delivery, and filing
or recording of such releases. The presentation or filing of the Confirmation Order to or with any federal,


{   1229.002-V/00ss580.}                                          29
                   Case 19-10234-KG            Doc 384       Filed 04/24/19    Page 82 of 135




state, provincial, or local agency or department shall constitute good and suffÏcient evidence of, but shall not
be required to effect, the termination of such Liens.

C.          Releøses by the Debtors

          As of the Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, each Released Party is deemed released and discharged by each and all of the Debtors, the Post-
Effective Date Debtors, and their Estates, in each case on behalf of themselves and their respective successors'
assigns, and representatives, and any and all other entities who may purport to assert any Cause of Action,
directly or derivatively, by, through, for, or because of the foregoing entities, from any and all Claims,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever, including any
derivative claimso asserted or assertable on behalf of any of the Debtors, the Post-Effective Date Debtors, or
their Estates, as applicable, whether known or unknown, foreseen or unforeseen, existing or hereinafter
arising, in law, equity, or otherwise, that the Debtors, the Post-Effective Date l)ebtors, or their Estates or
affïliates would have been legatly entitted to assert Ín their own right (whether individually or collectively) or
on behalf of the holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to,
or in any manner arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the
purchase or sale of any security of the Debtors or the Post-Effective Date Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the Debtors' in- or out-of-court sale
and restructuring efforts, intercompany transactions, the Credit Agreement Documents, the Sale
Transaction(s), the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation' filing, or
consummation of the Disclosure Statement, the Plan (including, for the avoidance of doubt, the Plan
Supplement), or any Restructuring Transaction, contract, instrument, release, or other agreement or
document created or entered into in connection with the Disclosure Statement or the Planl, the filing of the
Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan, or the
dislribution of property under the Plan or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date; provided thøt
any right to enforce the Plan, the Confirmation Order, the Agency Agreement, and the Asset Purchase
Agreement is not so released.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court's approval, pursuant to
Bankruptcy Rule 9019, of the releases described in this Article VIII.C by the Debtors, which includes by
reference each of the related provisions and definitions contained in this Plan, and further, shall constitute
the Bankruptcy Court's fînding that each release described in this Article VIII.C is: (1) in exchange for the
good and valuable consideration provided by the Released Parties, (2) a good-faith settlement and
compromise of such Claims; (3) in the best interests of the Debtors and all holders of Claims and Interests;
(4) fair, equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a
bar to any of the Debtors or Post-Effective Date Debtors or their respective Estates asserting any claim,
Cause of Action, or liability related thereto, of any kind whatsoever, against any of the Released Parties or
their property.

D.          Releøses by Holders   of Cløíms ønd Interests

         As of the Effective Date, in exchange for good and valuable consideration, including the obligations
of the Debtors under the Plan and the contributions of the Released Parties to facilitate and implement the
Plan, to the fullest extent permissible under applicable law, as such law may be extended or integrated after
the Effective Dateo each of the Releasing Parties shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever, released and discharged each Debtor, Post-Effective Date Debtor,
and Released Party from any and all any and all Claims, interests, obligations, rights, suits, damages' Causes
of Action, remedies, and liabilities whatsoever, whether known or unknown, foreseen or unforeseen, existing
or hereinafter arising, in law, equity, or otherwise, including any derivative claims, asserted or assertable on
behalf of any of the Debtors, the Post-Effective Date Debtors, or their Estates, that such Entity would have
been legally entitled to assert (whether individuatly or collectively), based on or relating to, or in any manner
arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the purchase or sale of any


{   1229.002-W00s5580.}                                     30
                   Case 19-10234-KG        Doc 384       Filed 04/24/19        Page 83 of 135




security of the Debtors or the Post-Effective Date Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Debtors' in- or out-of-court sale and restructuring efforts,
intercompany transactions, the Credit Agreement Documents, the Sale Transaction(s), the Chapter 11 Cases'
the formulation, preparation, dissemination, negotiation, fÏling, or consummation of the Disclosure
Statement, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Disclosure Statement, or the Plan, the filing of the Chapter 11 Cases, the pursuit of
Confìrmation, the pursuit of Consummation, the administration and implementation of the Plan, including
the issuance or distribution of securities pursuant to the Plan, or the distribution of property under the Plan
or any other related agreement, or upon any other related act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Datel províded that any right to enforce the Plan, the
Confirmation Order, the Agency Agreement, and the Asset Purchase Agreement is not so released.

         Entry of the ConfTrmation Order shall constitute the Bankruptcy Court's approval, pursuant to
Bankruptcy Rule 9019, of the releases described in this Article VIII.D, which includes by reference each of
the related provisions and definitions contained in this Plan, and further, shall constitute the Bankrttptcy
Court's finding that each release described in this Article VIII.D is: (1) in exchange for the good and
valuable consideration provided by the Released Parties, (2) a good-faith settlement and compromise of such
Claims; (3) in the best interests of the Debtors and all holders of Claims and Interests; (4) fair, equitable, and
reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a bar to any of the
Releasing Parties or the Debtors or Post-Effective Date Debtors or their respective Estates asserting any
claim, Cause of Action, or liability related thereto, of any kind whatsoever, against any of the Released
Parties or their property.

E.          Exculpatíon

         Notwithstanding anything herein to the contrary, the Exculpated Parties shall neither have nor
incur, and each Exculpated Party is released and exculpated from, any liability to any holder of a Cause of
Action, Claim, or Interest for any act or omission in connection with, relating to, or arising out of, the
Chapter LL Cases, consummation of the Sale Transaction(s), the formulation, preparation, dissemination,
negotiation, filing, or consummation of the Disclosure Statemento the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document created or entered into in connection with the
Disclosure Statement or the Plan, the filing of the Chapter 11. Cases, the pursuit of Confirmation, the pursuit
of Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Ptan or the distribution of property under the Plan or any other related agreement (whether
or not such issuance or distribution occurs following the Effective Date), negotiations regarding or
concerning any of the foregoingo or the administration of the Plan or property to be distributed hereunder,
except for actions determined by Finat Order to have constituted actual fraud or gross negligence, but in all
respects such Entities shall be entitted to reasonabty rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties, the Prepetition Agent and
Prepetition Lenders have, and upon completion of the Plan shall be deemed to have, participated in good
faith and in compliance with the appticable laws with regard to the solicitation of votes and distribution of
consideration pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be,
liable at any time for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

F.          Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Post-Effective Date Debtorso the Exculpated Parties, or the Released Parties: (1) commencing or continuing
in any manner any action or other proceeding of any kind on account of or in connection with or with respect
to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means


{   1229.002-W00s5s80. }                                31
                   Case 19-10234-KG           Doc 384       Filed 04/24/19         Page 84 of 135




any judgment, award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests released or settled pursuant to the Plan.

          Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, managers, principals, and direct and indirect
Affiliates shall be enjoined from taking any actions to interfere with the implementation or Consummation of
the Plan. Each holder of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible
to accept, distributions under or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan,
shall be deemed to have consented to the injunction provisions set forth in this Article VIII.E of the Plan.

G.          Substantive Consolidatíon

            1. The Plan shall serve as a motion by the Debtors seeking entry of an order substantively consolidating
all of the Estates of all of the Debtors into a single consolidated estate for all purposes associated with confirmation
and consummation of the Plan.

            2.   The entry of the Confirmation Order shall constitute approval by the Bankruptcy Court of            the
substantive consolidation of the Debtors and their respective Estates for all purposes relating to the Plan, including
for purposes of voting, confirmation and distributions. If this substantive consolidation is approved, then for all
purposes associated with the confirmation and consummation of the Plan, all assets and liabilities of the Debtors
shall be treated as though they were merged into a single eçonomic unit, and all guarantees by any Debtor of the
obligations of any other Debtor, to the extent such exist, shall be considered eliminated so that any Claim and any
guarantee thereof by any other Debtor, as well as any joint and several liability of any Debtor with respect to any
other Debtor, shall be treated as one collective obligation of the Debtors. Moreover, (a) no distribution shall be made
under the Plan on account of any Intercompany Interest held by any one of the Debtors in any of the other Debtors
except to the extent necessary to effect the substantive consolidation provided for herein, (b) all guaranties of any
one of the Debtors of the obligations of any of the other Debtors, to the extent such exist, shall be eliminated so that
any Claim against any one ofthe Debtors, and any guaranty thereofexecuted by any ofthe other Debtors, shall be
one obligation of the consolidated Debtors' Estates, and (c) every Claim that is timely Filed or to be Filed in the
Chapter 11 Cases of any of the Debtors shall be deemed Filed against the consolidated Estates and shall be one
Claim against, and one obligation of, the Estates.

         3. Notwithstanding any provision of the Plan to the contraÍy, arry holder of multiple Allowed Claims
against more than one Debtor that arise from the contractual, joint, joint and several, or several liability of such
Debtors, the guaranty by one Debtor of another Debtor's obligation or other similar circumstances, shall be entitled
to one Allowed Claim that, in the aggregate, does not exceed the amount of the underlying Claim giving rise to such
multiple Claims. Claims against more than one of the Debtors arising from the same injury, damage, cause of action
or common facts shall be Allowed only once as if such Claim were against a single Debtor.

            4.Any alleged defaults under any applicable agreement, including executory contracts and unexpired
leases, with the Debtors arising from substantive consolidation under the Plan shall be deemed cured as of the
Effective Date.

         5. As soon as practicable after the Effective Date, the Plan Administrator is authorized to and shall
submit an order to the Bankruptcy Court under certification of counsel that is in form and substance acceptable to
the U.S. Trustee that closes each of the Chapter 1l Cases except RMBR Liquidation, Inc.'s Chapter 11 Case. The
Debtors' consolidated estate shall be administered through RMBR Liquidation, Inc.'s Chapter l1 Case. Once the


{r   229.002-W00ss580. }                                   )z
                    Case 19-10234-KG               Doc 384      Filed 04/24/19        Page 85 of 135




Plan has been fully administered, the Plan Administrator shall file a final report and a motion seeking a final decree
in accordance with Local Rule 3022-1.

H.           ProtectionsAgainstDiscriminatoryTreatment

         To the maximum extent provided by section 525 of the Bankruptcy Code and the Supremacy Clause of the
U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the Post-Effective Date
Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to'
condition such a grant to, discriminate with respect to such a graîf against, the Post-Effective Date Debtors, or
another Entity with whom the Post-Effective Date Debtors have been associated, solely because each Debtor has
been a debtor under chapter 1l of the Bankruptcy Code, has been insolvent before the commencement of the
Chapter I I Cases (or during the Chapter 1 1 Cases but before the Debtors are granted or denied a discharge), or has
not paid a debt that is dischargeable in the Chapter I I Cases.

I,           Document Retention

             On and after the Effective Date, the Post-Effective Date Debtors may maintain documents in accorclance
with their standard document retention policy,    as may be altered, amended, modified, or supplemented by the Post-
Effective Date Debtors.

J.           Reimbursement or Contribution

           the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
             If
section 502(e)(l)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and       a   Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

K.           Term of Injunctions or Støys

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter I I Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
Order), shall remain in fulI force and effect until the Effective Date, All injunctions or stays contained in the Plan or
the Confirmation Order shall remain in full force and effect in accordance with their terms.

                                                          ARTICLE IX.
                            CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.           Conditions Precedent to the Effective Date

             shall be a condition to the Effective Date of the Plan that the following conditions shall have been
             It
satisfied or waived pursuant to the provisions of Article IX.B hereof:

             1.   The Bankruptcy Court shall have entered the Confirmation Order (and such order shall be a Final
Order) in form and substance acceptable to the Debtors and the Prepetition Agent, and shall;


                  (a)         authorize the Debtors to take all actions necessary to enter into, implement, and consummate
                             the contracts, instruments, releases, leases, indentures, and other agreements or documents
                             created in connection with the Plan;

                  (b)        decree that the provisions   of the Confìrmation Order and the Plan are nonseverable        and
                             mutually dependent;



{    1229.002-W0055s80. }                                      33
                   Case 19-10234-KG              Doc 384       Filed 04/24/19         Page 86 of 135




                 (c)       authorize the Debtors, as applicable or necessary, Io (i) implement the Restructuring
                           Transactions; (ii) implement the Sale Transactions; (iii) make all distributions and issuances
                           as required under the Plan; and (iv) enter into any agre€ments, transactions, and sales of
                           property as set forth in the Plan Supplement;

                 (d)       authorize the implementation of the Plan in accordance with its terms; and

                 (e)       provide that, pursuant to section I 146 ofthe Bankruptcy Code, the assignment or surrender of
                           any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
                           furtherance of, or in connection with the Plan, including any deeds, bills of sale, or
                           assignments executed in connection with any disposition or transfer of assets contemplated
                           under the Plan, shall not be subject to any stamp, real estate transfer, mortgage recording, or
                           other similar tax; and

            2.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
documents that are necessary to implement and effectuate the Plan;

            3.   the Professional Fee Escrow Account shall have been established and funded with the Professional Fee
Escrow Amount;

            4.   the Priority Claims Reserve shall have been established and funded with the Priority Claims Reserve
Amount;

            5.the unpaid fees and expenses incurred by the Prepetition Agent, including the unpaid fees and expenses
incurred by the professionals retained by the Prepetition Agent, shall be paid;

         6. the hnal version of the Plan Supplement and all of the schedules, documents, and exhibits contained
therein shall have been Filed in a marmer consistent in all material respects with the Plan and shall be in form and
substance acceptable to the Debtors and the Prepetition Agent; and

         7. the Debtors shall have implemented the Restructuring Transactions and all transactions contemplated
herein in a manner consistent in all respects with the Plan, pursuant to documentation acceptable to the Debtors and
the Prepetition Agent.

B.          Waiver of Condítions

         The conditions to Consummation set forth in this Article IX may be waived by the Debtors with the
consent of the Prepetition Agent (which such consent shall not be unreasonably wittrheld) without further notice,
leave, or order of the Bankruptcy Court or any formal action other than proceeding to confirm or consummate the
Plan.

C.          Effect of Failure of Conditions

          If the Consummation of the Plan does not occur, the Plan shall be null and void in all respects and nothing
contained in the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any Claims by the
Debtors, any holders of Claims or Interests, or any other Entity; (2) prejudice in any manner the rights of the
Debtors, any holders of Claims or Interests, or any other Entity; or (3) constitute an admission, acknowledgment,
offer or undertaking by the Debtors, any holders of Claims or Interests, or any other Entity in any respect.
Notwithstanding the foregoing, the non-Consummation of the Plan shall not require or result in the voiding,
rescission, reversal, or unwinding of the Sale Transaction under the Asset Purchase Agreement or the revocation of
the Debtors' authority under the Sale Order to consummate such Sale Transaction.




{   1229.002-W005ss80. }                                      34
                   Case 19-10234-KG             Doc 384        Filed 04/24/19        Page 87 of 135




                                               ARTICLE X.
                          MODIFICATION, REVOCATION OR WITHDRAWAL OF' THE PLAN

A.          ModiJìcøtion and Amendments

          Except as otherwise specifically provided in the Plan, the Debtors, with the consent of the Prepetition
Agent (which such consent shall not be unreasonably wittrheld), reserve the right to modify the Plan, whether such
modification is material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as
appropriate, not re-solicit votes on such modified Plan. Subject to certain restrictions and requirements set forth in
section ll27 of the Bankruptcy Code and Bankruptcy Rule 3019 (as well as those restrictions on modifications set
forth in the Plan), the Debtors expressly reserye their respective rights to revoke or withdraw, to alter, amend, or
modify the Plan with respect to such Debtor, one or more times, before or after Confirmation, and, to the extent
necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any
defect or omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order,
in such matters as may be necessary to carry out the purposes and intent of the Plan.

B.          Effect of Confirmation on Modifications

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section ll27(a) of the Bankruptcy Code and do not require additional
disclosure or re-solicitation under Bankruptcy Rule 3019.

C.          Revocation or l(ithdrawal of Plan

         The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date and to file
subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan, or if Confirmation or Consummation does
not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in the
Plan (including the fixing or limiting to an amount certain of the Claims or Interests or Class of Claims or Interests),
assumption or rejection of Executory Contracts or Unexpired Leases effected by the Plan, and any document or
agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing contained in the Plan shall
(a) constitute a waiver or release of any Claims, Interests, or Causes of Action; (b) prejudice in any manner the
rights of such Debtor, any holder, or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking ofany sort by such Debtor, any holder ofa Claim or Interest, or any other Entity.

                                                      ARTICLE XI.
                                           RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrençe of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain jurisdiction over all matters arising out of, or related to, the
Chapter 1l Cases and the Plan pursuant to sections 105(a) and ll42 of the Bankruptcy Code, including jurisdiction
to:

            1.allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured or unsecured
status, or amount of any Claim or Interest, including the resolution of any request for payment of any Administrative
Claim and the resolution of any and all objections to the Secured or unsecured status, priority, amount, or allowance
of Claims or Interests;

            2.   decide and resolve all matters related to the granting and denying, in whole or in part, any applications
for allowance of compensation or reimbursement of expenses to Professionals (including Professional Fee Claims)
authorized pursuant to the Bankruptcy Code or the Plan;

         3. resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including cure Claims pursuant to
section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or



{   1229.002-W0055580.}                                      35
                   Case 19-10234-KG              Doc 384       Filed 04/24/19           Page 88 of 135




Unexpired Lease that is assumed (or assumed and assigned); (c) the Post-Effective Date Debtors amending,
modifying, or supplementing, after the Effective Date, pursuant to Article V, the Executory Contracts and Unexpired
Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or was
executory, expired, or terminated;

         4. ensure that distributions to holders of Allowed Claims and Interests are accomplished pursuant to the
provisions of the Plan;

         5. adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective Date;

            6.   adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

            7.   enter and implement such orders as may be necessary or appropriate to sxecute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan, the Plan Supplement, or the Disclosure Statement;

        8. enter and enforce any order for the sale ofproperty pursuant to sections 363,1123, or 1146(a) ofthe
Bankruptcy Code, including any sale of Debtors' Owned Real Property, to the extent the Plan Administrator asks the
Bankruptcy Court to approve such sale pursuant to section 363 of the Bankruptcy Code;

         9 . resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
Consummation, including interpretation or enforcement of the Plan or any Entity's obligations incurred in
connection with the Plan;

          10. issue injunctions, enter and implement other orders, or take such other actions as may be necessary or
appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;

          11. resolve any cases, controversies, suits, disputes or Causes ofAction with respect to the releases,
injunctions, and other provisions contained in Article VIII, and enter such orders as may be necessary or appropriate
to implement such releases, injunctions, and other provisions;

          12. resolve any cases, controversies, suits, disputes or Causes of Action with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the holder of a Claim for amounts not timely
repaid pursuant to Article    VI.J.l;

        13. enter and implement such orders as are necessary or appropriate           if the Confirmation Order is for any
reason modified, stayed, reversed, revoked, or vacated;

            14. determine any other matters that may arise         in connection with or         that relate to the Plan,       the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or
document created in connection with the Plan or the Disclosure Statement;

             15. enter an order or Final Decree concluding or closing any ofthe Chapter      1   I   Cases;


             16. adjudicate any and all disputes arising from or relating to distributions under      the Plan;


             17. consider any modifications      of the Plan, to cure any      defect   or   omission         or to   reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        18. determine requests          for the payment of Claims entitled to priority pursuant to section50T of                the
Bankruptcy Code;




{   1229.002-W0055580. }                                      36
                     Case 19-10234-KG             Doc 384       Filed 04/24/19           Page 89 of 135




              19. hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement       of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in cor¡rection with the Plan;

        20. hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Restructuring Transactions, including but not limited to transactions under the Asset Purchase
Agreement and Agency Agreement, whether they occur before, on or after the Effective Date;

         21. hear and determine matters conceming state, local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code;

         22. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in connection with and under the Plan, including under
Article VIII;

              23.   enforce all orders previously entered by the Bankruptcy Court; and

              24. hear any other matt€r not inconsistent with the Bankruptcy Code.

                                                        ARTICLE XII.
                                             MISCELLANEOUS PROVISIONS

A.            Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the
Effective Date, the terms of the Plan and the Plan Supplement shall be immediately effective and enforceable and
deemed binding upon the Debtors, the Post-Effective Date Debtors, and any and all holders of Claims or Interests
(irrespective of whether their Claims or Interests are deemed to have accepted the Plan), all Entities that are parties
to or are subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each
Entity acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases with the Debtors.

B.            Additional Documents

          On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and
other documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan. The Debtors or Post-Effective Date Debtors, as applicable, and all holders receiving distributions pursuant
to the Plan and all other parties in interest may, from time to time, prepare, execute, and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the provisions and intent ofthe
Plan.

C.            Payment of Støtutory Fees

             fees and applicable interest payable pursuant to section 1930(a) of the Judicial Code and 3l U.S.C. $
              All
        applicable, as determined by the Bankruptcy Court at a hearing pursuant to section I 128 of the Bankruptcy
31 l'7 , as
Code, shall be paid by each of the Post-Effective Date Debtors (or the Disbursing Agent on behalf of each of the
Post-Effective Date Debtors) for each quarter (including any fraction thereof) until the Chapter          1l   Cases are
converted, dismissed, or closed, whichever occurs first.

D.            Reserttation of Rights

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
enters the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement or the Plan Supplement shall be or shall be



{   1229.002-W0055s80. }                                       37
                   Case 19-10234-KG               Doc 384       Filed 04/24/19        Page 90 of 135




deemed to be an admission or waiver          of any rights of any Debtor with respect to the holders unless and until the
Effective Date has occurred.

E.          Successors and Assigns

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, director, agent,
representative, attorney, beneficiaries, or guardian , if any, of each Entity'

F.          Notices

         To be effective, all notices, requests and demands to or upon the Debtors shall be in writing (which may be
by E-mail), and, unless otherwise expressly provided herein, shall be deemed to have been duly given or made when
actually delivered or, in the case of notice by E-mail, when received and telephonically confirmed, addressed to the
following:

                       RMBR Liquidation,Inc.
                       5500 Avion Park Dr.
                       Highland Heights, oH 44143
                       Attention: Robert J Duffy
                       E-mail address: bduffy@thinkbrg.Çom

                       with copies (which shall not constitute notice) to:

                       Landis Rath & Cobb LLP
                       919 Market Street
                           Suite 1800
                       Wilmington, Delaware I980I
                       Attention: Adam G. Landis
                                 Matthew B. McGuire
                       Email address: landis@lrçlaw.com
                                         mcguire@lrclaw.com

                            and

                       Kirkland & Ellis LLP
                       601 Lexington Avenue
                       New York, New York 10022
                       Attention: Christopher T. Greco
                       E-mail addresses: christopher.greco@kirkland.com

                       -and-

                           Kirkland & Ellis LLP
                           300 North LaSalle
                           Chicago, Illinois 60654
                           Attention: Spencer Winters
                           E-mail addresses: spencer.winters@kirkland.com

         After the Effective Date, the Post-Effective Date Debtors may notify Entities that, in order to continue to
receive documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents
pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 fo those Entities who have Filed such renewed requests.




{   1229.002-W0055580. }                                       38
                        Case 19-10234-KG            Doc 384       Filed 04/24/19        Page 91 of 135




G.               Entire Agreement

          Except as otherwise indicated, the Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

H.               Exhibits

                 All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as      if              full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
             set forth in
shall be available upon written request to the Debtors' counsel at the address above or by downloading such exhibits
and documents from the website of the Notice, Claims, and Balloting Agent at
htçs://cases.primeclerk.com./ThingsRemembered; or               the Bankruptcy Court's website al
http://www.deb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of the Plan,
unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall
control.

I.               Non-Severability of Plan Provisions

         The provisions of the Plan, including its release, injunction, exculpation and compromise provisions, are
mutually dependent and non-severable. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (l) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the consent of the Debtors consistent with the terms set forth herein; and (3) non-severable and
mutually dependent; provided, however, that, notwithstanding the inclusion of the Asset Purchase Agreement or any
documents ancillary thereto in the Plan Supplement, the Sale Transaction contemplated in the Asset Purchase
Agreement is severable from the Plan and the Confirmation Order, and the non-Confirmation or non-Consummation
of the Plan shall not require or result in the voiding, rescission, reversal, or unwinding of the Sale Transaction
contemplated in the Asset Purchase Agreement or the revocation of the Debtors' authority under the Sale Order to
aonsummate such Sale Transaction.

J.               Votes Solicited in Good Faith

          Upon entry of the Confirmation Order, the Debtors, the Prepetition Agent and the Prepetition Secured
Lenders will be deemed to have solicited votes on the Plan in good faith and in compliance with the Bankruptcy
Code, and pursuant to section 1125(e) of the Bankruptcy Code, the Debtors, the Prepetition Agent, the Prepetition
Secured Lenders and each of their respective affiliates, ag€nts, representatives, members, principals, shareholders,
officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under
the Plan and any previous plan and, therefore, no such parties will have any liability for the violation of any
applicable law, rule, or regulation governing the solicitation of votes on the Plan or the offer, issuance, sale, or
purchase ofthe Securities offered and sold under the Plan or any previous plan.

K.               Closing of Chapter I I Cases

         The Post-Effective Date Debtors shall, promptly after the full administration of the Chapter I I Cases, file
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order necessary to
close the Chapter 11 Cases.

L.               Conflicts

         Except as set forth in the Plan, to the extent that any provision of the Disclosure Statement, the
Plan Supplement,  or any other order (other than the Confirmation Order) referenced in the Plan (or any exhibits,
schedules, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way
inconsistent with any provision of the Plan, the Plan shall govern and control. In the event of an inconsistency



{   1   229.002-V/00ss580. }                                     39
                     Case 19-10234-KG       Doc 384        Filed 04/24/19          Page 92 of 135




between the Confirmation Order and the Plan, the Confirmation Order shall control. Notwithstanding the foregoing,
to the extent any provision of this Plan or the Confirmation Order is inconsistent with the Sale Order concerning any
matter relating to the relevant Sale Transaction, the Sale Order shall govern and control.




                                    lRemainder of Page Intentionally Left Blankl




{l   229.002-V/00sss80. }                                40
                  Case 19-10234-KG   Doc 384     Filed 04/24/19           Page 93 of 135




                                       RMBR Liquidation, Inc. and its Debtor Affiliates


                                       By:      /s/ Brett   llitherell
                                       Name     Brett Witherell
                                       Title:   Chief Financial Officer


Dated: Aprll24,2019




{ 1229.002-W00sss80. }
                    Case 19-10234-KG    Doc 384     Filed 04/24/19   Page 94 of 135




                                              EXHIBIT B

                                       Disclosure Statement Order




{ 1229.001   -W00ss583. )
                   Case 19-10234-KG              Doc 384        Filed 04/24/19         Page 95 of 135




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELA\ryARE

                                                                       )
In re                                                                  )   Chapter 11
                                                                       )
RMBR LIQUIDATION, INC., et al.,t                                       )   Case   No. 19-10234 (KG)
                                                                       )
                                      Debtors.                         )   (Jointly Administered)
                                                                       )
                                                                       )   Ref. No.



        ORDER (I) APPROVING THE DISCLOSURE STATEMENT ON AN INTERIM
        BASIS; (II) SCHEDULING A COMBINED HEARING ON FINAL APPROVAL
           OF THE DISCLOSURE STATEMENT AND PLAN CONFIRMATION
            AND DEADLINES RELATED THERETO; (ilI) APPROVING THE
         SOLICITATION, NOTICE AND TABULATION PROCEDURES AND THE
         FORMS RELATED THERETO; AND (IÐ GRANTING RELATED RELIEF


            Upon the Motion of the Debtors              þr    Entry of an Order (I) Approving the Disclosure

Statement on an Interim Basis; (II) Scheduling a Combined Hearing on Final Approval of the

Disclosure Statement and Plan Confirmation and Deadlines Related Thereto; (III) Approvíng the

Solicitation, Notice and Tabulation Procedures ønd the Forms Related Thereto; and (IV)

Granting Related Relief (the "Motion");2 and based on the record in these chapter                           1   I cases; and
the Court having jurisdiction over this matter pursuant to 28 U.S.C. $$                          I5l   and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated as         of February 29, 2012; and the Court having found that this is a                               core

proceeding pursuant to 28 U.S.C. $ 157(b)(2) and the Court may enter a final order consistent

with Article III of the United States Constitution; and the Court having found that venue of this


t      The Debtors in these chapter   1l   cases, along with the last four digits of each Debtor's federal tax identification
       number, include: RMBR Liquidation, lnc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR
       Liquidation Holdings Corporation (2354). The location of the Debtors' service address is: 5500 Avion Park
       Drive, Highland Heights, Ohio 44143.
2 Capitalized terms not otherwise defined herein shall       have the meanings ascribed to them in the Motion.



{   1229.002-W0055s61.}
                   Case 19-10234-KG         Doc 384   Filed 04/24/19     Page 96 of 135




proceeding and this Motion in this District is proper pursuant to 28 U.S.C. $$ 1408 and 1409;

and     it appearing that sufficient notice of the Motion   has been given; and the Court having found

that the relief requested       in the Motion is in the best interests of the Debtors' estates, their

creditors and other parties in interest; and the Court having reviewed the Motion and having

heard the statements in support of the relief requested therein at the hearing before the Court on

this Motion; and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor;

IT IS HEREBY FOUND THAT:

            A.        The Debtors have all necessary authority to propose and prosecute the Plan and

the Disclosure Statement.

            B.        The Debtors have provided adequate notice of the Motion, and the time fixed for

filing objections thereto, and no other or fuither notice need be provided with respect to the

Motion.

            C.        The period, set forth below, during which the Debtors may solicit the Plan is a

reasonable and adequate period of time under the circumstances for creditors entitled to vote to

make an informed decision to accept or reject the Plan, including to make an informed decision

to object to the Plan.

            D.        The notices substantially   in the forms    attached hereto as   Exhibit 2   (the


"                                    ")   and Exhibit 3 (the "Non-Votins Status    - Deemed to Reject

Notice" and together with the Confirmation Hearing Notice, the "Notices"), and the procedures

set forth below for providing such notices to creditors of the time, date and place of the hearing

to consider fìnal approval of the Disclosure           Statement and confirmation     of the Plan (the



 {   1229.002-W0055s61.}                               2
                   Case 19-10234-KG         Doc 384      Filed 04/24/19     Page 97 of 135




"Confirmation Hearing"), and the contents of the Notices comply with Bankruptcy Rules 2002,

3017 and Local Rule 3017-2 and constitute sufficient notice to all interested parties.

            E.        The procedures for solicitation and tabulation of votes to accept or reject the Plan

(as more       fully set out in the Motion and in this Order below) provide for a fair and equitable

process, and are consistent with the Bankruptcy Code section 1126. The form of the Ballot

attached hereto as Exhibit 4 is sufficiently consistent with Official Form No. 314, adequately

addresses the particular needs of these chapter I 1 cases, and is appropriate for the Voting Class

to vote to accept or reject the Plan.

NOW THEREFOR, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

            1.        The Motion is GRANTED as set forth herein.

            2.        The Disclosure Statement is approved on an interim basis under Bankruptcy Code

section 1125, Bankruptcy Rule 3017 and Local Rule 3017-2. Any objections to the adequacy                of

the information contained in the Disclosure Statement are expressly reserved for consideration at

the Confirmation Hearing.

            3.        The Confirmation Schedule is approved in its entirety unless otherwise modified

herein.

            4.        The combined hearing on final approval of the adequacy of the Disclosure

Statement and confirmation            of the Plan is   scheduled   for June 5, 2019 at    _:-        a.m.

(prevailing Eastern Time) (the "Confirmation Hearins"). The deadline to file objections to the

adequacy of the Disclosure Statement and confirmation of the Plan is Nf.ay 2902017 at 4:00 p.m.

(prevailing Eastern Time) (the                                       The Confirmation Hearing may be

continued from time to time by the Court or the Debtors, after consultation with counsel to the




 {   1229.002-W0055s61 .}                                J
                  Case 19-10234-KG              Doc 384   Filed 04/24/19     Page 98 of 135




Creditors' Committee and the Prepetition Agent, without fuither notice other than adjoumments

announced in open court.

             5.     Objections to the adequacy of the Disclosure Statement and confirmation of the

Plan,   if   any, must:

                          a.   be in writing;

                          b.   conform to the Bankruptcy Rules and Local Rules;

                          c.   state the name and address of the objecting party and the
                               amount and nature of the Claim or Interest of such entity;

                          d.   state with particularity the basis and nature of any objection
                               to the Disclosure Statement, the Plan and, if practicable, a
                               proposed modification to the Plan that would resolve such
                               objection; and

                          e. be filed,   together with a proof of service, with the Court
                               and served so that they are actuallv received by the
                               following parties on or prior to the Obiection Deadline:
                               (i) co-counsel to the Debtors, Kirkland & Ellis LLP, 601
                               Lexington Avenue, New York, New York 10022, Attn'.
                               Christopher T. Greco and Derek I. Hunter, and Kirkland &
                               Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654,
                               Attn: Spencer A. Winters and Scott J. Vail; (iii) co-counsel
                               to the Debtors, Landis Rath & Cobb LLP, 919 Market
                               Street, Suite 1800, Wilmington, Delaware 19801,
                               Attn: Adam G. Landis and Matthew B. McGuire; (iv) the
                               Office of the United States Trustee, 844 King Street, Suite
                               2207, Lockbox 35, Wilmington, Delaware 19801, Attn:
                               Timothy J. Fox; (v) proposed co-counsel to the official
                               committee of unsecured creditors appointed in these
                               chapter 11 cases (the "Committee"), (a) Kelley Drye &
                               'Warren
                                         LLP, 101 Park Avenue, New York, New York
                                10178, Attn: Jason R. Adams and Lauren S. Schlussel, and
                               (b) Connolly Gallagher LLP, 261 East Main Street,
                               Newark, Delaware l97II, Attn: N. Christopher Griffiths;
                               (vi) the agent under the Debtors' prepetition asset-based
                               facility and prepetition term loan facility, Cortland Capital
                               Market Services LLC (the "Prepetition Agent"), 225 W.
                               V/ashington St., 9th Floor, Chicago, Illinois 60606, Attn:
                               Maggie Welch and Legal Department; (vii) counsel to the
                               Prepetition Agent, (a) Weil Gotshal & Manges LLP,16l



 { 1229.002-W00s5s61.}                                    4
                   Case 19-10234-KG             Doc 384      Filed 04/24/19         Page 99 of 135




                             Fifth Avenue, New York, New York 10153, Attn: David N.
                             Griffiths and Clifford Sonkin, and (b) Richards, Layton &
                             Finger, P.A., 920 N. King Street, Wilmington Delaware
                             19801, AtIn Zachary I. Shapiro.

            6.        The Confirmation Hearing Notice, in substantially the form attached hereto                   as


@!!_2.,           complies with the requirements of Bankruptcy Rules 2002(b),2002(d) and 3017(d)

and Local Rule 3017-2 and is approved in all respects. The Confirmation Hearing Notice shall

be served within three (3) days of the entry of this Order upon (i) all holders of Claims and

Interests in Classes       1,2   anð 3,   (ii) all other creditors of the Debtors   and   (iii) all parties requesting

notice pursuant to Bankruptcy Rule 2002.

            7.        The Non-Voting Status         -   Deemed   to Reject Notice, substantially in the form

attached hereto as         Exhibit 3, is hereby approved in all respects. The Non-Voting Status                      -

Deemed to Reject Notice shall be served upon all holders of Claims and Interests in Classes 5, 6,

7,8,     and 9   within three (3) days of the entry of this Order.

            8.        The Debtors shall transmit a package (the "Solicitation Packase") containing, (a)

a cover letter describing the contents of the Solicitation Package, (b) the Disclosure Statement,

the Plan and all exhibits thereto (in hardcopy or on a flash drive in PDF format), (c) this Order

(in hardcopy or on a flash drive in PDF formaÐ, (d) the Confirmation Hearing Notice, (e) the

Ballot, including voting instructions, and (f) a pre-addressed stamped return envelope to holders

of Claims in the Voting Class within three (3) days following entry of this Order.

            9.        As part of the Solicitation Package, the Debtors shall distribute to creditors

entitled to vote on the Plan the ballot based on Official Form No. 314, modified to address the

particular circumstances of these Chapter 1 1 Cases and to include certain additional information

that the Debtors believe to be relevant and appropriate for the Voting Class to vote to accept or

reject the Plan. The form of Ballot attached hereto as Exhibit 4 is hereby approved.



 {   1229.002-W00ss561.}                                     5
                        Case 19-10234-KG              Doc 384     Filed 04/24/19      Page 100 of 135




               10.          The deadline to submit Ballots to accept or reject the Plan shall be NI.ay 29,2019

at LL:59 p.m. (prevailing Eastern Time) (the "Votine Deadline").

               1   1.       Ballots shall be transmitted by mail, as part of the Solicitation Package, to the

record holders of claims in the Voting Class.                    All   other holders of Claims and Interests   will not

be provided             with      a   Ballot because such holders are either unimpaired and presumed to accept the

Plan under Bankruptcy Code section 1126(f) or impaired and deemed to reject the Plan under

Bankruptcy Code section 1126(9). Such non-voting holders                               will   receive   a copy of   the

Confirmation Hearing Notice and holders of Claims and Interests in Classes 5, 6, 7, 8, and 9 also

will receive the Non-Voting                    Status - Deemed to Reject Notice.

               12.          The procedures set forth in the Motion for effectively casting a Ballot are hereby

approved in their entirety. In order to cast a Ballot, parties must (i) fully complete and execute

the Ballot and return it by first class mail, over-night courier or hand-delivery to Prime Clerk at

the address set forth in the Ballot or (ii) submit it via electronic online transmission through                      a


customized online balloting portal on                                         the Debtors' case                website,

https://cases.primeclerk.com/ThinssRemembered,3                         on or before the date that is seven (7) days

prior to the Confirmation Hearing.

                13.         Ballots otherwise sent by facsimile, telecopy, or electronic submissions other than

as set forth            in the Ballot will not be accepted. Only properly completed, executed and timely

submitted Ballots will be accepted by the Debtors.

                14,         The following Ballots shall not be counted in tabulating votes cast to accept or

reject the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the

identification of the holder of the Claim or Interest; (b) any Ballot submitted by aparty that does


'The etrc.ypted ballot data and audit trail created by such electronic submission shall become part of the record of
any Ballot submitted in this manner and the Creditor's electronic signature will be deemed to be an original
signature immediately legally valid and effective.



    {I   229.002-V/oosss6   l.}                                    6
                  Case 19-10234-KG         Doc 384    Filed 04/24/19     Page 101 of 135




not hold a Claim or Interest in a Class that is entitled to vote; (c) any unsigned Ballot; and (d)

any Ballot not marked to either accept or reject the Plan, as applicable.

            15.       The record date for determining which holders of Claims and Interests are to be

served with the Solicitation Package and the Notices shall be the date on which this Order is

entered (the "Record Date").

            16.       Unless otherwise set forth herein, the Debtors shall mail only the Confirmation

Hearing Notice to parties requesting notice pursuant to Bankruptcy Rule 2002. The Debtors also

will mail, or cause to be mailed, the Confirmation Hearing Notice        and the applicable Non-Voting

Status Notice to all known holders of Claims and Interests        in Classes that   are not entitled to vote


on the Plan. The Debtors are authorized to provide in the Confirmation Hearing Notice

directions for such parties to obtain (i) electronic copies of the Plan Documents via download

from the website maintained by Prime Clerk and (ii) a print copy of the Plan Documents free of

charge to the requesting party (but only to the extent so requested of Prime Clerk by telephone,

letter or email) to be delivered by Prime Clerk to the requesting party by first class mail.

             17.      The Solicitation Procedures attached hereto as Exhibit L are hereby approved in

their entirety, provided that the Debtors reserve the right, after consultation with the Prepetition

Agent and the Creditors' Committee, to amend or supplement the Solicitation Procedures and

related documents to better facilitate the confirmation process.

            18.       The Solicitation Procedures for service of the Solicitation Package and the

Notices set forth in the Motion satisfy the requirements of the Bankruptcy Code, the Bankruptcy

Rules and the Local Rules.

             19.      The Debtors are authorized, after consultation with the Prepetition Agent and the

Creditors' Committee, to make changes                to the   Disclosure Statement, Plan, Solicitation




 {r   229.002-W00s5s61. }                              7
                   Case 19-10234-KG         Doc 384     Filed 04/24/19     Page 102 of 135




Procedures, Notices, Ballot and related pleadings without fuither order of the Court, including

without limitation, changes to correct typographical and grammatical errors and to make

conforming changes among the foregoing documents before their distribution.

            20.       The Debtors and Prime Clerk are hereby authorized to take any action necessary

or appropriate to implement the terms of, and the relief granted in, this Order without seeking

fuither order of the Court.

            21.       The terms and conditions of this Order shall be immediately effective            and

enforceable upon entry ofthis order.

            22.       The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this order.

Date:-,2019
          V/ilmington, Delaware

                                                          THE HONORABLE KEVIN GROSS
                                                          UNITED STATES BANKRUPTCY JUDGE




 {   1229.002-W00s5561. )                                8
                   Case 19-10234-KG   Doc 384   Filed 04/24/19   Page 103 of 135




                                       EXHIBIT         1




{   1229.002-W005s561.}
                Case 19-10234-KG            Doc 384       Filed 04/24/19         Page 104 of 135




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter   11

                                                                  )

RMBR LIQUIDATION, INC., et a1.,1                                  )   Case   No. 19-10234 (KG)
                                                                  )
                                    Debtors                       )   (Jointly Administered)
                                                                  )
                                                                  )

                                    SOLICITATION PROCEDURES


         On April 24,2079, the above-captioned debtors and debtors in possession (the "Debtors")
filed: (a) the Disclosure Statement for the Joint Chøpter I I Plqn of fuMBR Liquidation, Inc. and
Its Debtor Affiliates dated Apnl 24, 2019 [D.I. I                             (including all exhibits thereto and as
amended, supplemented or otherwise modified                       from   time    to time, the "Disclosure Statement");
(b) the Joint Chapter I I Plan of fuMBR Liquidation, Inc. and Its Debtor ffiliates dated April24,
2019 [D.I. J (including all exhibits thereto and as amended, supplemented, or otherwise
modified from time to time, the "Plan"); and (c) the Motion of the Debtors for Entry of an Order
(I) Approving the Disclosure Statement on an Interim Basis; (II) Scheduling a Combined
Hearing on Final Approval of the Disclosure Statement and Plan Confirmation and Deadlines
Related Thereto; (III) Approving the Solicitøtion, Notice and Tabulation Procedures and the
                                                                                               2
F o rm s Re I at e d Th er e t o ; ài¿ fl frl C r antin g Re I at e d Re ti ef (the "Motion").

                                                    Defïnitions

          a.
                     o'Ballot" means the ballot accompanying the Disclosure Statement upon which
                     certain holders of Impaired Claims entitled to vote shall, among other things,
                     indicate their acceptance or rejection of the Plan in accordance with the Plan and
                     the procedures governing the solicitation process, and which must be actually
                     received on or before the Voting Deadline.

          b          'oBankruptcy Court" means the United States Bankruptcy Court for the District
                     of Delaware having jurisdiction over the chapter 1 1 cases.

          c.         "Confirmation Hearing" means the hearing conducted by the Bankruptcy Court
                     pursuant to section 1128(a) of the Bankruptcy Code to consider confirmation of

    The Debtors in these chapter1 I cases, along with the last four digits of each Debtor's federal tax identification

    number, include: RMBR Liquidation, Inc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR
    Liquidation Holdings Corporation (2354). The location of the Debtors' seryice address is: 5500 Avion Park
    Drive, Highland Heights, Ohio 44143.
    Capítalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion, the
2


    Plan or the Disclosure Statement, as applicable.



{ 1229.002-w0osss6   r.}
                 Case 19-10234-KG         Doc 384    Filed 04/24/19    Page 105 of 135




                    the Plan, as such hearing may be adjourned or continued from time to time and
                    which currently is scheduled for June 5,2019 at            (prevailing Eastern
                    Time).                                          -:- -.m.
          d.        ooConfirmation Hearing Notice" means that certain notice of the hearing on final
                    approval of the Disclosure Statement and confirmation of the Plan approved by
                    the Bankruptcy Court in the Interim Approval and Procedures Order.

          e         'oDisclosure Statement" means the Disclosure Statement filed on April 24,2079
                    and approved on an interim basis by the Bankruptcy Court in the Interim
                    Approval and Procedures Order.

          f.        o'E-Ballot" means    a ballot that may be obtained electronically      through   a
                    customized section on                  the  Debtors' case website
                    http://cases.primeclerk.com/ThingsRemembered in which certain holders of
                    Impaired Claims and Interests entitled to vote may, among other things, indicate
                    their acceptance or rejection of the Plan in accordance with the Plan and the
                    procedures governing the solicitation process, and which must be actually
                    received on or before the Voting Deadline.

           û        úrlnterim Approval and Procedures Order" means the Order (I) Approving the
          b.
                    Disclosure Statement on an Interim Basís; (II) Scheduling a Combined Hearing
                    on Final Approval of the Disclosure Statement and Plan Confi.rmation and
                    Deadlínes Related Thereto; (il|) Approving the Solicitation, Notice and
                    Tabulation Procedures and the Forms Related Thereto; and (IV) Granting
                    Related RelieflD.I. ).

          h.        ttGeneral Tabulation Procedures" msans the Procedures set forth herein for the
                    pu{poses of tabulating votes to accept or reject the Plan.

                    "Non-Voting Status Notice-Deemed to Reject" means the notice the holders of
                    Claims and Interests in Classes 5, 6, 7,8, and 9 who are deemed to reject the Plan
                    will receive in lieu of a Ballot.
                    ooPlan" means the Joint Chapter I I Plan of RMBR Liquidation, Inc. and lts
          J
                    Debtor Affiliates [D.I. l, as may be amended or modified from time to time,
                    filed on April24,20I9.

          k.        "Objection Deadline" means N4ay 29,2019' at 4:00 p.m. (prevailing Eastern
                    Time), the date set by the Bankruptcy Court as the deadline to file and serve
                    objections to the Plan.

           1.
                    íResolution Event" has the meaning set forth in section D.4. of the Solicitation
                    Procedures.

           m        úosolicitation Package" consists of the documents set forth in section C.1. of the
                    Solicitation Procedures.




{   1229.002-Woosss6l }
                     .                                2
                Case 19-10234-KG           Doc 384    Filed 04/24/19      Page 106 of 135




         n          "solicitation Procedures"    means the procedures set forth herern.

          o
                    ooPrime    Clerk" means Prime Clerk LLC the noticing, claims and administrative
                    agent retained by the Debtors in these Chapter 11 Cases.

         p          ooVoting Deadline" means N4ay 29,2019 at 11:59 p.m. (prevailing Eastern
                    Time), the date set by the Bankruptcy Court as the deadline for receipt of Ballots
                    by Prime Clerk.

          q         'oRecord Date" has the meaning set forth         in   section   A of the Solicitation
                    Procedures.

                                           Solicitation Procedures

A.        The Record Date

         The Bankruptcy Court has approved May 7, 2019, at 4:00 p.m. prevailing Eastern Time,
                                                  of determining, among other things, which
as the record date (the "Record Date") for purposes
holders of Claims are entitled to vote on the Plan.

B.        The Voting Deadline

        The Bankruptcy Court has approved May 29r 2019, at 1L:59 p.m. (prevailing Eastem
Time) as the deadline for the delivery of Ballots voting to accept or reject the Plan (the "Voting
Deadline"). To be counted as votes to accept or reject the Plan, all Ballots must be properly
executed, completed and delivered by (i) using the return envelope provided or by delivery by:
(a) first class mail, (b) ovemight courier or (c) personal delivery or (ii) submitting it via
electronic online transmission through a customized online balloting portal on the Debtors' case
website http://cases.primeclerk.com/ThingsRemembered, so that the Ballot is actually received
no later than the Voting Deadline by Prime Clerk. The Ballot will clearly indicate the
appropriate retum address and directions for electronic submission. Ballots retumable to Prime
Clerk should be sent to: RMBR Liquidation, Inc. Ballot Processing c/o Prime Clerk, LLC 830
3rd Avenue, 3rd Floor, New York, NY 10022.

C.        Solicitation Procedures

          1. The         Solicitation Package: The Solicitation Package shall contain copies of the
following:

                    (a) a cover letter describing the contents of the Solicitation Package;

                    (b) the Disclosure Statement, the Plan and all exhibits thereto (in hardcopy or on a
                        flash drive in PDF format);

                    (c) the Interim Approval and Procedures Order (in hardcopy or on a flash drive in
                          PDF format);

                    (d) the Confirmation Hearing Notice;


 { 1229.002-W005ss61.}                                 J
                  Case 19-10234-KG           Doc 384     Filed 04/24/19       Page 107 of 135




                      (e) the Ballot, including voting instructions;

                      (f) a pre-addressed   stamped retum envelope; and

                      (g) such other materials   as the Court may   direct or authorize.

            2. Distribution of the Solicitation Package: The Solicitation
                                                                       Package shall be served
on all known holders of Claims classified as Class 4 Revolver Claims under the Plan.

        The Debtors shall make every reasonable effort to ensure that holders of more than one
Claim in the Voting Class receive no more than one Solicitation Package on account of such
Claims.

            3. Distribution
                          of Materials: In addition, the Office of the United States Trustee and
counsel to the Official Committee of Unsecured Creditors shall be served the Solicitation
Package. The Debtors will mail, or cause to be mailed, a copy of the Confirmation Hearing
Notice to all parties on the 2002 List. The Debtors also will mail, or cause to be mailed, to all
holders of Claims and Interests not entitled to vote on the Plan the Confirmation Hearing Notice
and holders of Claims and Interests in Classes 5, 6,7,8, and 9 also will receive the Non-Voting
Status - Deemed to Reject Notice.

D.          Voting and General Tabulation Procedures

            1. Who May Vote: Only the following               holders of Claims in the Voting Class are
entitled to vote:

                      a. Holders of Claims for which Proofs of Claim have been timely-filed,             as
                           reflected on the claims register as of the Record Date; p1qYdgd, however, that
                           certain holders of Claims subject to a pending objection shall not be entitled to
                           vote unless they become eligible to vote through a Resolution Event, as set
                           forth in more detail in section D.4. herein;

                      b.   Holders of Claims that are listed in the Debtors' Schedules and Statements,
                           with the exception of those Claims that are scheduled as contingent,
                           unliquidated or disputed (excluding such scheduled Claims that have been
                           superseded by a timely-filed Proof of Claim);

                      c. Holders whose Claims arise pursuant      to an agreement or settlement with the
                           Debtors, as reflected in a document   filed with the Bankruptcy Court, in an
                           order of the Bankruptcy Court, or in a document executed by the Debtors
                           pursuant to authority granted by the Bankruptcy Court, in each case regardless
                           of whether a Proof of Claim has been filed; and

                      d.   The assignee of any transferred or assigned Claim, only if: (i) transfer or
                           assignment has been fully effectuated pursuant to the procedures dictated by
                           Bankruptcy Rule 3001(e) and (ii) such transfer is reflected on the Claims
                           Register on or before the Record Date.


 {   1229.002-W00ss561.}                                  4
                  Case 19-10234-KG            Doc 384     Filed 04/24/19     Page 108 of 135




            2. Establishing Claim Amounts: In tabulating votes, the following hierarchy will
be used to determine the amount of the Claim associated with each vote:

                      a. the amount of the Claim settled andlor agreed upon by the Debtors, as
                            reflected in a Bankruptcy Court pleading, stipulation, agreement, or other
                            document filed with the Bankruptcy Court, in an order of the Bankruptcy
                            Court or in a document executed by the Debtors pursuant to authority granted
                            by the Bankruptcy Court;

                      b.    the amount of the Claim Allowed (temporarily or otherwise) pursuant to         a
                            Resolution Event in accordance with the Solicitation Procedures;

                      c. the amount of the Claim contained   in a Proof of Claim that has been timely
                            filed by the applicable claims bar date (or deemed timely filed by the
                            Bankruptcy Court under applicable law); provided that Ballots cast by holders
                            whose Claims are not listed in the Schedules, but that timely file a Proof of
                            Claim in an unliquidated or unknown amount that are not the subject of an
                            objection, will count for satisfying the numerosity requirement of
                            section ll26(c) of the Bankruptcy Code and will count as Ballots for Claims
                            in the amount of $1.00 solely for the purposes of satisfying the dollar amount
                            provisions of section II26(c) of the Bankruptcy Code; pIQVidçd, further, that
                            to the extent the amount of the Claim contained in the Proof of Claim is
                            different from the amount of the Claim set forth in a document filed with the
                            Bankruptcy Court as referenced in the Solicitation Procedures, the amount of
                            the Claim in the document filed with the Bankruptcy Court will supersede the
                            amount of the Claim set forth on the respective Proof of Claim;

                      d.    the amount of the Claim listed in the Schedules; plovided, that such Claim is
                            not listed in the Schedules as contingent, unliquidated or disputed, or any
                            combination thereof, and has not been paid; and

                      e.    in the absence of any of the foregoing, zero

       The amount of the Claim established herein shall control for voting pulposes only and
shall not constitute the Allowed amount of any Claim. Moreover, any amounts filled in on
Ballots by the Debtors through Prime Clerk are not binding for any pu{pose, including for
purposes of voting and distribution.

            3.
             General Ballot Tabulation: The following voting procedures and standard
assumptions will be used in tabulating Ballots:

                      a.    except as otherwise provided herein or unless waived by the Debtors, unless
                            the Ballot being fuinished is timely submitted on or prior to the Voting
                            Deadline, the Debtors shall reject such Ballot as invalid and, therefore, decline
                            to count it in connection with Confirmation;

                      b.    Prime Clerk will date and time-stamp all Ballots when received. Prime Clerk
                            shall retain all original Ballots and an electronic copy of the same for a period


 {   1229.002-WOo5ss6l. }                                  5
                 Case 19-10234-KG            Doc 384      Filed 04/24/19     Page 109 of 135




                           of three (3) years after the Effective Date of the Plan, unless otherwise ordered
                           by the Bankruptcy Court;

                     c. an original executed Ballot is required to be submitted by the entity submitting
                           any written Ballot. Delivery of a Ballot to Prime Clerk by facsimile, email or
                           any other electronic means (with the exception of properly submitted E-
                           Ballots) shall not be valid;

                     d. the Debtors shall file the Voting Report at least one (1) business day prior to
                           the Confirmation Hearing. The Voting Report shall, among other things,
                           delineate every irregular Ballot including, without limitation, those Ballots
                           that are late or (in whole or in material part) illegible, unidentifiable, lacking
                           signatures or necessary information, received via facsimile or electronic mail,
                           or damaged. The Voting Report shall indicate the Debtors' intentions with
                           regard to such irregular Ballots;

                     e. the method of delivery of Ballots      to Prime Clerk is at the election and risk of
                           each holder   of a Claim. Except    as otherwise provided herein, such delivery
                           will be deemed made only when Prime Clerk actually      receives the originally
                           executed Ballot or in the case of an E-Ballot, when submitted;

                     f.    no Ballot should be sent to any of the Debtors, the Debtors' agents (other than
                           Prime Clerk), or the Debtors' financial or legal advisors and if so sent will not
                           be counted;

                     g. if multiple   Ballots are received from the same holder of a Claim with respect
                           to the same   Claim prior to the Voting Deadline, the latest-dated valid Ballot
                           received prior to the Voting Deadline will supersede and revoke any prior
                           dated Ballot;

                     h.    holders must vote all of their Claims within the Voting Class either to accept
                           or reject the Plan and may not split any such votes. Accordingly, a Ballot that
                           partially rejects and partially accepts the Plan will not be counted. Further, if
                           a holder has multiple Claims within the Voting Class, the Debtors may, in
                           their discretion, aggregate the Claims of any particular holder within a Class
                           for the purpose of counting votes;

                           a person signing or electronically submitting a Ballot in its capacity as a
                           trustee, executor, administrator, gaardian, attomey in fact, officer of a
                           corporation, or otherwise acting in a fiduciary or representative capacity must
                           indicate such capacity when signing or electronically submitting and, if
                           required or requested, submit proper evidence to the requesting party of the
                           authority to so act on behalf of the subject holder;

                     j.    the Debtors, subject to contrary order of the Bankruptcy Court, may waive any
                           defects or irregularities as to any particular Ballot at any time, either before or
                           after the close of voting, and any such waivers shall be documented in the
                           Voting Report;


{   1229.002-W00ss561. }                                   6
                  Case 19-10234-KG            Doc 384      Filed 04/24/19     Page 110 of 135




                      k.    neither the Debtors) nor any other entity, will be under any duty to provide
                            notification of defects or irregularities with respect to delivered Ballots other
                            than as provided in the Voting Report, nor will any of them incur any liability
                            for failure to provide such notification;

                            unless waived by the Debtors, subject to contrary order of the Bankruptcy
                            Court, any defects or irregularities in connection with deliveries of Ballots
                            must be cured prior to the Voting Deadline or such Ballots will not be
                            counted;

                      m. in the event a designation for lack of good faith is requested by a party in
                         interest under section ll26(e) of the Bankruptcy Code, the Bankruptcy Court
                         will determine whether any vote to accept andlor reject the Plan cast with
                         respect to that Claim will be counted for purposes of determining whether the
                            Plan has been accepted and/or rejected by such Claim;

                      n.    subject to any contrary order of the Bankruptcy Court, the Debtors reserve the
                            right to reject any and all Ballots not in proper form, the acceptance of which,
                            in the opinion of the Debtors, would not be in accordance with the provisions
                            of the Bankruptcy Code or the Bankruptcy Rules; pleYided, however, that any
                            such rejections shall be documented in the Voting Report;

                      o. if a Claim has been estimated or otherwise   Allowed for voting purposes by an
                            order of the Bankruptcy Court pursuant to Bankruptcy Rule 3018(a), such
                            Claim shall be temporarily Allowed in the amount so estimated or Allowed by
                            the Bankruptcy Court for voting purposes only and not for purposes of
                            allowance or distribution;

                      p. if an objection to a Claim is filed, such Claim shall be treated in accordance
                            with the procedures set forth herein; and

                      q.    the following Ballots shall not be counted in determining the acceptance or
                            rejection of the Plan: (a) any Ballot that is illegible or contains insufficient
                            information to permit the identification of the holder of the Claim; (b) any
                            Ballot cast by an entity that does not hold a Claim in a Class that is entitled to
                            vote on the Plan; (c) any unexecuted Ballot; (d) any Ballot not marked to
                            accept or reject the Plan or any Ballot marked both to accept and reject the
                            Plan; or (e) any Ballot submitted by any entity not entitled to vote pursuant to
                            the Solicitation Procedures.

            4.  Temporary Allowance of Claims for Voting Purposes: If a holder of a Claim
is subject to a pending objection as of the Record Date, the holder of such Claim cannot vote
unless one or more of the following events have taken place at least five (5) business days before
the Voting Deadline (each, a "Resolution Event"):

                      a.    an order of the Bankruptcy Court is entered allowing such Claim pursuant to
                            section 502(b) of the Bankruptcy Code, after notice and a hearing;




 {   1229.002-Woosss6l. }                                  7
                  Case 19-10234-KG           Doc 384     Filed 04/24/19    Page 111 of 135




                      b.    an order of the Bankruptcy Court is entered temporarily allowing such Claim
                            for voting pulposes only pursuant to Bankruptcy Rule 3018(a), after notice
                            and a hearing;

                      c.    a stipulation or other agreement is executed between the holder of such Clarm
                            and the Debtors resolving the objection and allowing such Claim in an agreed
                            upon amount;

                      d.                                   is executed between the holder of such Claim
                            a stipulation or other agreement
                            and the Debtors temporarily allowing  the holder of such Claim to vote its
                            Claim in an agreed upon amount; or

                      e. the pending    objection to such Claim is voluntarily withdrawn by the Debtors.

        No later than two (2) business days after a Resolution Event, Prime Clerk shall distribute
a Solicitation Package and a pre-addressed, postage pre-paid envelope to the relevant holder of
such temporarily allowed Claim that has been allowed for voting purposes only (or for other
purposes as set forth in an applicable order of the Bankruptcy Court) by such Resolution Event,
which must be returned according to the instructions on the Ballot by no later than the Voting
Deadline.

            If
          the holder of a Claim receives a Solicitation Package and the Debtors object to such
Claim after the Record Date, but at least fifteen (15) days prior to the Confirmation Hearing, the
Debtors' notice of objection will inform such holder of the rules applicable to Claims subject to a
pending objection and the procedures for temporary allowance for voting purposes.
Furthermore, if the holder of a Claim receives a Solicitation Package and the Debtors object to
such Claim less than fifteen (15) days prior to the Confirmation Hearing, the holder's Claim shall
be deemed temporarily allowed for voting purposes only without further action by the holder of
such Claim and without further order of the Bankruptcy Court.

            5.  Forms of Notices to Unimpaired Classes: Certain holders of Claims that are not
entitled to vote because they are unimpaired are otherwise presumed to accept the Plan under
section 1126(Ð of the Bankruptcy Code and will receive the Confirmation Hearing Notice,
substantially in the form attached to the Interim Approval and Procedures Order as Exhibit 2.
Such notice will instruct the holders how they may obtain copies of the documents contained in
the Solicitation Package (excluding Ballots).

        6. Forms of Notices to Impaired Classes: Certain holders of Interests that are not
entitled to vote because they are Impaired, or are otherwise deemed to reject the Plan under
section 1126(9) of the Bankruptcy Code will receive the Confirmation Hearing Notice,
substantially in the form attached to the Interim Approval and Procedures Order as Exþ!þiL2,
and the Notice of Non-Voting Status - Deemed to Reject, substantially in the form attached to
the Interim Approval and Procedures Order as Exhibit 3. Such notice will instruct the holders
how they may obtain copies of the documents contained in the Solicitation Package (excluding
Ballots).




 {   1229.002-W00ss561. }                                 8
                 Case 19-10234-KG    Doc 384     Filed 04/24/19   Page 112 of 135




E.         Release, Exculpation and Injunction Language in the Plan

      THE RELEASE, EXCULPATION AND INJUNCTION LANGUAGE IN ARTICLE
VIII OF THE PLAN WILL BE INCLUDED IN THE DISCLOSURE STATEMENT AND
FURTHER NOTICE IS PROVIDED WITH RESPECT TO SUCH PROVISIONS IN THE
CONFIRMATION HEARING NOTICE.

F.         Amendments to the Plan and the Solicitation Procedures

      THE DEBTORS EXPRESSLY RESERVE THE RIGHT TO AMEND FROM TIME TO
TIME THE TERMS OF THE PLAN IN ACCORDANCE WITH THE TERMS THEREOF
(SUBJECT TO COMPLIANCE WITH THE REQUIREMENTS OF SECTION 1127 OF THE
BANKRUPTCY CODE AND THE TERMS OF THE PLAN REGARDING MODIFICATION).

           THE DEBTORS EXPRESSLY RESERVE THE RIGHT TO AMEND                         OR
SUPPLEMENT THE SOLICITATION PROCEDURES                     TO BETTER FACILITATE THE
SOLICITATION PROCESS.

                                               **{<




{   1229.002-W00s5561. }                          9
                Case 19-10234-KG   Doc 384   Filed 04/24/19   Page 113 of 135




                                    EXHIBTT         2




{ 1229.002-W0055s61.}
                  Case 19-10234-KG            Doc 384        Filed 04/24/19        Page 114 of 135




                          IN TIIE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                    )
In re                                                               )   Chapter    11

                                                                    )

RMBR LIQUIDATION, INC., et al.,l                                    )   Case   No. 19-10234 (KG)
                                                                    )
                                      Debtors.                      )   (Jointly Administered)
                                                                    )
                                                                    )   Ref. No.



         NOTICE OF (A) INTERIM APPROVAL OF THE DISCLOSURE STATEMENT
           AND (B) COMBINED HEARING TO CONSIDER FINAL APPROVAL OF
          THE DISCLOSURE STATEMENT AND CONFIRMATION OF THE PLAN
                 AND THE OBJECTION DEADLINE RELATED TIIERETO


TO ALL PARTIES IN INTEREST, PLEASE TAKE NOTICE THAT

1           Filing of the Disclosure Statement and Plan. On April 24,2079, the above-captioned
            debtors and debtors-in-possession (collective, the "Debtors") filed the Dísclosure
            Støtement for the Joint Chapter I I Plan of fuMBR Liquidation, Inc. and lts Debtor
            Affiliates dated Apnl24,2019 (as amended from time to time and including all exhibits
            and supplements thereto, the "Disclosure Statement") and the Joint Chapter 11 Plan of
            RMBR Liquidøtion, Inc. ønd Its Debtor ffiliøtes dated Apnl 24, 2019 (qs may be
            amended, supplemented or modified, including all exhibits théreto, the "Plan").2

2           Interim Bankruptcy Court Approval of the Disclosure Statement and the Notice
            Procedures. On May I l, 2019, the United States Bankruptcy Court for the District of
            Delaware (the "Bankruptc)¡ Court") entered an order [D.I. I (the "Interim Approval and
            Procedures Order") approving, among other things, the Disclosure Statement on an
            interim basis, as required under Local Rule 3017-2 and authorizing the Debtors to
            provide notice of their intent to seek confirmation of the Plan pursuant to certain
            procedures set forth therein.

J           Objections to Final Approval of the Disclosure Statement and Confirmation of the
            Plan. The Bankruptcy Court has established May 29. 20L9 at 4:00 p.m. (prevailine

       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
       number, include: RMBR Liquidation, Inc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR
       Liquidation Holdings Corporation (2354). The location of the Debtors' service address is: 5500 Avion Park
       Drive, Highland Heights, Ohio 44143.
2
       Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan or the
       Disclosure Statement, as applicable.




{   1229.002-W00s5s61.}
                  Case 19-10234-KG        Doc 384     Filed 04/24/19      Page 115 of 135




            Eastern Time), as the last date and time for filing and serving objections to the adequacy
            of the information in the Disclosure Statement and to confirmation of the Plan (the
            "Objection Deadline"). Any objection to the final approval of the Disclosure Statement
            and confirmation of the Plan must (a) be in writing, (b) conform to the Bankruptcy Rules
            and the Local Rules, (c) state the name and address of the objecting party and the amount
            and nature of the Claim or Interest of such Entity, (d) state with particularity the basis and
            nature of any objection to the Disclosure Statement, the Plan and, if practicable, a
            proposed modification to the Plan that would resolve such objection, and (e) be filed,
            together with a proof of selice, with the Bankruptcy Court and served so that it is
            actuallv received no later than fhe Ohiection Deadline- by: (i) co-counsel to the
            Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022,
            Attn: Christopher T. Greco and Derek I. Hunter, and Kirkland & Ellis LLP, 300 North
            LaSalle, Chicago, Illinois 60654, Attn: Spencer A. Winters and Scott J. Vail; (iii) co-
            counsel to the Debtors, Landis Rath & Cobb LLP, 9I9 Market Street, Suite 1800,
            Wilmington, Delaware 19801, Attn: Adam G. Landis and Matthew B. McGuire; (iv) the
            Office of the United States Trustee, 844 King Street, SuiIe 2207, Lockbox 35,
            Wilmington, Delaware 19801, Attn: Timothy J. Fox; (v) proposed co-counsel to the
            official committee of unsecured creditors appointed in these chapter 11 cases (the
            "Committee"), (a) Kelley Drye & Warren LLP, 101 Park Avenue, New York, New York
            10178, Attn: Jason R. Adams and Lauren S. Schlussel, and (b) Connolly Gallagher LLP,
            267 East Main Street, Newark, Delaware 19lll, Attn: N. Christopher Griffiths; (vi) the
            agent under the Debtors' prepetition asset-based facility and prepetition term loan
            facility, Cortland Capital Market Services LLC (the "Prepetition Asent"), 225 W.
            Washington St., 9th Floor, Chicago, Illinois 60606, Attn: Maggie V/elch and Legal
            Department; (vii) counsel to the Prepetition Agent, (a) Weil Gotshal & Manges LLP,767
            Fifth Avenue, New York, New York 10153, Attn: David N. Griffiths and Clifford
            Sonkin, and (b) Richards, Layton & Finger, P.A., 920 N. King Street, Wilmington
            Delaware 19801, Attn: Zachary L Shapiro.

4.          Voting Procedures. Holders of Class 4 - Revolver Claims as of }l4ay 7, 2019 (the
            "Record Date") are entitled to vote to accept or reject the Plan. If you hold such a Claim,
            you will receive a solicitation package which shall include, among other things, a copy of
            (i) this Notice, (ii) the Plan (in hardcopy or on a flash drive in PDF format), (iii) the
            Disclosure Statement (in hardcopy or on a flash drive in PDF format), and (iv) a ballot.
            Please review the ballot and the instructions included therewith for how to vote on the
            Plan. Failure to follow the voting instructions may disqualify your vote.

5           Voting Deadline. The deadline to vote on the Plan is May 29,2019 at 11:59 pm
            (prevailing Eastern Time) (the "Voting Deadline"). The Debtors' noticing, claims and
            administrative agent, Prime Clerk, LLC ("Prime Clerk"), must receive your ballot with an
            original signature by the Voting Deadline, otherwise your vote will not be counted. In
            order for your Ballot to count, you must (i) fully complete and execute the ballot and
            return it by first class mail, over-night courier or hand-delivery to Prime Clerk at the
            address set forth in the ballot or (ii) submit it via electronic online transmission through a
            customized online balloting portal on the Debtors' case website,



{   1229.002-W00sss6l.}                               2
                    Case 19-10234-KG       Doc 384       Filed 04/24/19        Page 116 of 135




            https://cases.primeclerk.com/ThinesRemembered,3 so that such ballot is actually received
            by Prime Clerk on or before the Voting Deadline.

6           The Confirmation [Iearing. A combined hearing to consider final approval of the
            Disclosure Statement and confirmation the Plan (the "Confirmation Hearing") will
            commence on June 5,2019 at _:_ (prevailing Eastem Time) before the Honorable
            Kevin Gross, United States Bankruptcy Judge, in the United States Bankruptcy Court for
            the District of Delaware, located at 824 Market Street, 6th Floor, Wilmington, DE 19801.
            Please be advised that the Confirmation Hearing may be continued from time to time by
            the Bankruptcy Court or the Debtors without fuither notice other than by such
            adjournment being announced in open court or by a notice of adjournment filed with the
            Bankruptcy Court and served on parties entitled to notice under Bankruptcy Rule 2002
            and the Local Rules or otherwise. In accordance with the Plan, the Plan may be
            modified, if necessary, prior to, during, or as a result of the Confirmation Hearing by
            further action of the Debtors and without fuither notice to or action, order, or approval of
            the Bankruptcy Court or any other entity.

7           Directions to Obtain the Plan Documents and Make Inquiries. With authority of the
            Bankruptcy Court, copies of the Plan, the Disclosure Statement, the Interim Approval and
            Procedures Order (the "Plan Documents") are not included with this service. If you
            should have any questions or if you would like to obtain any of the Plan Documents,
            please feel free to contact Prime Clerk by: (a) calling Prime Clerk at 844-339-4117 (toll
            free);        (b)   visiting       the           Debtors'       case website at:
            http://cases.primeclerk.com/ThinesRemembered               andlor (c) writing to RMBR
            Liquidation, Inc. Ballot Processing c/o Prime Clerk, LLC 830 3rd Avenue, 3rd Floor,
            New York, NY 10022. You may also obtain copies of any pleadings for a fee via
            PACER at: http://www.deb.uscourts.gov. Please be advised that Prime Clerk is
            authorized to answer questions about, and provide additional copies of, the Plan
            Documents, but may not advise you as to whether you should vote to accept or reject the
            Plan.

8           Release, Exculpation, and Injunction Language in the Plan. Please be advised that
            Article VIII of the Plan contains the exculpation, releases and injunction provisions set
            forth below. YOU ARE ADVISED TO RE                          AND CONSIDER THESE
            PROVISIONS CAREFULLY BECAUSE YOUR RIGHTS MAY BE AFFECTED.
            YOU MAY ELECT NOT TO GRANT THE RELEASES CONTAINED IN
            ARTICLE VIII.D OF THE PLAN ONLY IF YOU FILE AN OBJECTION TO THE
            THIRD PARTY RELEASES WITH         COTIRT. IF'YOU F'AIL TO FILE AN
                                     PARTY RELEASES
            DEADI,INE SET FORTH ABOVE. YOU WILL BE DEEMED TO CONSENT TO
            TIIE RELEASES SET FORTH IN ARTICLE VIII.D OF THE PLAN.




' The encrypted ballot data and audit trail created by such electronic submission shall become part of the record of
any Ballot submitted in this manner and the Creditor's electronic signature will be deemed to be an original
signature immediately legally valid and effective.


{   1229.002-W00s5561.}                                  J
                  Case 19-10234-KG        Doc 384     Filed 04/24/19   Page 117 of 135




                     Article VIII.B. Rele ase of f,iens

                     Except as otherwise provided in the Plan, the Plan Supplement, or any
                     contract, instrument, release, or other agreement or document created
                     pursuant to the Plan, on the Effective Date and concurrently with the
                     applicable distributions made pursuant to the Plan and, in the case of a
                     Secured Claim, satisfaction in full of the portion of the Secured Claim that is
                     Allowed as of the Effective Date, and required to be satisfTed pursuant to the
                     Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests
                     against any property of the Estates shall be fully released, settled,
                     compromised, and discharged, and all of the right, title, and interest of any
                     holder of such mortgageso deeds of trust, Liens, pledges, or other security
                     interests shall revert automatically to the applicable Debtor and its
                     successors and assigns. Any holder of such Secured Claim (and the
                     applicable agents for such holder) shall be authorized and directed to release
                     any collateral or other property of any Debtor (including any cash collateral
                     and possessory collateral) held by such holder (and the applicable agents for
                     such holder), and to take such actions as may be reasonably requested by the
                     Post-Effective Date Debtors to evidence the release of such Lien, including
                     the execution, delivery, and filing or recording of such releases. The
                     presentation or filing of the Confirmation Order to or with any federal, state,
                     provincial, or local agency or department shall constitute good and sufficient
                     evidence of, but shall not be required to effect, the termination of such Liens.

                     Article VIII.C. Releases bv the Debtors

                     As of the Effective Date, for good and valuable consideration, the adequacy
                     of which is hereby confirmed, each Released Party is deemed released and
                     discharged by each and all of the Debtors, the Post-Effective Date Debtors,
                     and their Estateso in each case on behalf of themselves and their respective
                     successors, assigns, and representatives, and any and all other entities who
                     may purport to assert any Cause of Action, directly or derivativelyo by,
                     througho for, or because of the foregoing entities, from any and all Claims,
                     obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
                     whatsoever, including any derivative claims, asserted or assertable on behalf
                     of any of the Debtors, the Post-Effective Date Debtors, or their Estates, as
                     applicableo whether known or unknown, foreseen or unforeseen, existing or
                     hereinafter arising, in law, equify, or otherwise, that the Debtors, the Post-
                     Effective Date Debtors, or their Estates or affiliates would have been legally
                     entitled to assert in their own right (whether individually or collectively) or
                     on behalf of the holder of any Claim against, or Interest in, a Debtor or other
                     Entityo based on or relating to, or in any manner arising from, in whole or in
                     part, the Debtors, the purchase, sale, or rescission of the purchase or sale of
                     any security of the Debtors or the Post-Effective Date Debtors, the subject
                     matter of, or the transactions or events giving rise to, any Claim or Interest
                     that is treated in the Plan, the business or contractual arrangements between
                     any Debtor and any Released Party, the Debtors' in- or out-of-court sale and

t   1229.002-w0055561.)                               4
                   Case 19-10234-KG       Doc 384     Filed 04/24/19    Page 118 of 135




                      restructuring efforts, intercompany transactions, the Credit Agreement
                      Documents, the Sale Transaction(s), the Chapter 1.1 Cases, the formulation,
                      preparation, dissemination, negotiation, filing, or consummation of the
                      Disclosure Statement, the Plan (including, for the avoidance of doubt, the
                      Plan Supplement), or any Restructuring Transaction, contract, instrument,
                      release, or other agreement or document created or entered into in
                      connection with the Disclosure Statement or the Planl, the filing of the
                      Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
                      Consummation, the administration and implementation of the Plan,
                      including the issuance or distribution of securities pursuant to the Plan, or
                      the distribution of property under the Plan or any other related agreement,
                      or upon any other act or omission, transaction' agreement, evento or other
                      occurrence taking place on or before the Effective Date; provìded thøt any
                      right to enforce the Plan, the Confirmation Order, the Agency Agreement,
                      and the Asset Purchase Agreement is not so released.

                      Entry of the Confirmation Order shall constitute the Bankruptcy Court's
                      approval, pursuant to Bankruptcy Rule 9019, of the releases described in 0
                      by the Debtors, which includes by reference each of the related provisions
                      and definitions contained in the Plan, and further, shall constitute the
                      Bankruptcy Court's finding that each release described in 0 is: (1) in
                      exchange for the good and valuable consideration provided by the Released
                      Parties, (2) a good-faith settlement and compromise of such Claims; (3) in the
                      best interests of the Debtors and all holders of Claims and Interests; (4) fair,
                      equitable, and reasonable; (5) given and made after due notice and
                      opportunity for hearing; and (6) abar to any of the Debtors or Post-Effective
                      Date Debtors or their respective Estates asserting any claim, Cause of Action,
                      or liability related thereto, of any kind whatsoever, against any of the
                      Released Parties or their property.

                      Article VIII.D. Releases bv          of Claims and Interests

                      As of the Effective Date, in exchange for good and valuable consideration,
                      including the obligations of the Debtors under the Plan and the contributions
                      of the Released Parties to facilitate and implement the Plan, to the fullest
                      extent permissible under applicable law, as such law may be extended or
                      integrated after the Effective Date, each of the Releasing Parties shall be
                      deemed to have conclusively, absolutely, unconditionallyo irrevocably, and
                      forever, released and discharged each Debtor, Post-Effective Date Debtor,
                      and Released Party from any and all any and all Claims, interests,
                      obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
                      whatsoever, whether known or unknowno foreseen or unforeseen, existing or
                      hereinafter arising, in law, equity, or otherwise, including any derivative
                      claims, asserted or assertable on behalf of any of the Debtors, the Post-
                      Effective Date Debtors, or their Estates, that such Entity would have been
                      legally entitled to assert (whether individually or collectively), based on or


{   1229.002-W0055561. }                              5
                  Case 19-10234-KG        Doc 384     Filed 04/24/19    Page 119 of 135




                      relating to, or in any manner arisíng from, in whole or in part, the Debtors,
                      the purchaseo sale, or rescission of the purchase or sale of any security of the
                      Debtors or the Post-Effective Date Debtors, the subject matter of, or the
                      transactions or events giving rise to, any Claim or Interest that is treated in
                      the Plan, the business or contractual arrangements between any Debtor and
                      any Released Party, the Debtorso in- or out-of-court sale and restructuring
                      effortso intercompany transactions, the Credit Agreement Documents, the
                      Sale Transaction(s), the Chapter 11 Cases, the formulation, preparationo
                      dissemination, negotiationo filing, or consummation of the Disclosure
                      Statement, the Plan (including, for the avoidance of doubt, the Plan
                      Supplement), or any Restructuring Transaction, contract' instrument,
                      release, or other agreement or document created or entered into in
                      connection with the Disclosure Statement, or the Plan, the filing of the
                      Chapter 11 Caseso the pursuit of Confirmation, the pursuit of
                      Consummationo the administration and implementation of the Plano
                      including the issuance or distribution of securities pursuant to the Plan, or
                      the distribution of property under the Plan or any other related agreement,
                      or upon any other related act or omission, transaction, agreement, event, or
                      other occurrence taking place on or before the Effective Date; províded. that
                      any right to enforce the Plano the Confirmation Order, the Agency
                      Agreement, and the Asset Purchase Agreement is not so released.

                      Entry of the Conflrmation Order shall constitute the Bankruptcy Court's
                      approval, pursuant to Bankruptcy Rule 9019, of the releases described in 0,
                      which includes by reference each of the related provisions and definitions
                      contained in the Plan, and further, shall constitute the Bankruptcy Court's
                      fïnding that each release described in 0 is: (1) in exchange for the good and
                      valuable consideration provided by the Released Parties, (2) a good-faith
                      settlement and compromise of such Claims; (3) in the best interests of the
                      Debtors and all holders of Claims and Interests; (4) fair, equitableo and
                      reasonable; (5) given and made after due notice and opportunity for hearing;
                      and (6) abar to any of the Releasing Parties or the Debtors or Post-Effective
                      Date Debtors or their respective Estates asserting any claim, Cause of Action,
                      or liability related thereto, of any kind whatsoever, against any of the
                      Released Parties or their property.

                      Article VIII.E. Exculpation

                      Notwithstanding anything herein to the contrary, the Exculpated Parties
                      shall neither have nor incur, and each Exculpated Party is released and
                      exculpated from, any liability to any holder of a Cause of Action, Claim, or
                      Interest for any act or omission in connection with, relating too or arising out
                      of, the Chapter 11 Cases, consummation of the Sale Transaction(s), the
                      formulation, preparation, dissemination, negotiation, filing, or
                      consummation of the Disclosure Statement, the Plan, or any Restructuring
                      Transaction, contract, instrument, release or other agreement or document


{   1229.002-W00s5561.}                               6
                  Case 19-10234-KG        Doc 384    Filed 04/24/19    Page 120 of 135




                      created or entered into in connection with the Disclosure Statement or the
                      Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
                      pursuit of Consummation, the administration and implementation of the
                      Plan, inctuding the issuance of securities pursuant to the Plan or the
                      distribution of property under the Plan or any other related agreement
                      (whether or not such issuance or distribution occurs following the Effective
                      Date)o negotiations regarding or concerning any of the foregoing, or the
                      administration of the Plan or property to be distributed hereunder, except
                      for actions determined by Final Order to have constituted actual fraud or
                      gross negligence, but in all respects such Entities shall be entitled to
                      reasonably rely upon the advice of counsel with respect to their duties and
                      responsibilities pursuant to the Plan. The Exculpated Parties, the Prepetition
                      Agent and Prepetition Lenders have, and upon completion of the Plan shall
                      be deemed to have, participated in good faith and in compliance with the
                      applicable laws with regard to the solicitation of votes and distribution of
                      consideration pursuant to the Plan and, therefore, are not, and on account of
                      such distributions shall not be, liable at any time for the violation of any
                      applicable law, rule, or regulation governing the solicitation of acceptances
                      or rejections of the Plan or such distributions made pursuant to the Plan.

                      Article VIII.F. Iniunction

                      Except as otherwise expressly provided in the Plan or for obligations issued
                      or required to be paid pursuant to the Plan or the Confirmation Order, all
                      Entities who have heldo hold, or may hold Claims or Interests that have been
                      releasedo discharged, or are subject to exculpation are permanently enjoined,
                      from and after the Effective Date, from taking any of the following actions
                      againsto as applicable, the Debtors, the Post-Effective Date Debtors, the
                      Exculpated Parties, or the Released Parties: (L) commencing or continuing
                      in any manner any action or other proceeding of any kind on account of or in
                      connection with or with respect to any such Claims or Interests; (2)
                      enforcing, attaching, collecting, or recovering by any manner or means any
                      judgment, award, decree, or order against such Entities on account of or in
                      connection with or with respect to any such Claims or Interests; (3) creatingo
                      perfecting, or enforcing any encumbrance of any kind against such Entities
                      or the property or the estates of such Entities on account of or in connection
                      with or with respect to any such Claims or Interests; (4) asserting any right
                      of setoff, subrogation, or recoupment of any kind against any obligation due
                      from such Entities or against the property of such Entities on account of or in
                      connection with or with respect to any such Claims or Interests unless such
                      holder has Filed a motion requesting the right to perform such setoff on or
                      before the Effective Date, and notwithstanding an indication of a Claim or
                      Interest or otherwise that such holder asserts, has, or intends to preserve any
                      right of setoff pursuant to applicable law or otherwise; and (5) commencing
                      or continuing in any manner any action or other proceeding of any kind on



{   1229.002-W0055s61.}                               7
                  Case 19-10234-KG        Doc 384     Filed 04/24/19    Page 121 of 135




                     account of or in connection with or with respect to any such Claims or
                     Interests released or settled pursuant to the Plan.

                     Upon entry of the Confirmation Order, all holders of Claims and Interests
                     and their respective current and former employees, agents, officers,
                     directors, managers, principalso and direct and indirect AffTliates shall be
                     enjoined from taking any actions to interfere with the implementation or
                     Consummation of the Plan. Each holder of an Allowed Claim or Allowed
                     Interest, as applicable, by accepting, or being eligible to accept, distributions
                     under or Reinstatement of such Claim or Interest, as applicable, pursuant to
                     the Plan, shall be deemed to have consented to the injunction provisions set
                     forth in 0 of the PIan.

YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE RELEASES, EXCULPATION, AND INJUNCTION PROVISIONS,
AS YOUR RIGHTS MIGHT BE AFFECTED.

Dated: }i4.ay _,2019                        LANDIS RATH & COBB LLP
Wilmington, Delaware

                                            Adam G. Landis (No. 3a07)
                                            Matthew B. McGuire (No. 4366)
                                            Kimberly A. Brown (No. 5138)
                                            Matthew R. Pierce (No. 59a6)
                                            919 Market Street, Suite 1800
                                            Wilmingfon, Delaware 1 9801
                                            Telephone: (302) 467-4400
                                            Facsimile: (302)467-4450
                                            Email:        landis@lrclaw.com
                                                          mcguire@lrclaw.com     '
                                                          brown@lrclaw.com
                                                          pterce@kclaw.com
                                            -and-

                                            KIRKLAND & ELLIS LLP
                                            Christopher T. Greco, P.C. (admitted pro hac vice)
                                            Derek I. Hunter (admittedpro hac vice)
                                            601 Lexingfon Avenue
                                            New York, New York 10022
                                            Telephone: (212)446-4800
                                            Facsimile:     (212) 446-4900
                                            Email:         christopher.greco@kirkland.com
                                                           derek.hunter@kirkl and. com




{   1229.002-w00sss61.}                              8
                   Case 19-10234-KG   Doc 384   Filed 04/24/19   Page 122 of 135




                                       -and-

                                       KIRKLAND & ELLIS LLP
                                       Spencer A. Winters (admittedpro hac vice)
                                       Catherine Jun
                                       300 North LaSalle
                                       Chicago, Illinois 60654
                                       Telephone: (312)862-2000
                                       Facsimile:    (312) 862-2200
                                       Email:        spencer.winters@kirkland.com
                                                     catherine jun@kirkland. com

                                       Co-Counselþr the Debtors and Debtors in Possession




{   1229.002-W00s5s61.)                         9
                  Case 19-10234-KG   Doc 384   Filed 04/24/19   Page 123 of 135




                                      EXHIBIT         3




{   i229.002-W00sss6l.}
               Case 19-10234-KG             Doc 384       Filed 04/24/19         Page 124 of 135




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter l1
                                                                  )

RMBR LIQUIDATION, INC., et al.,l                                  )   Case   No. 19-10234 (KG)
                                                                  )
                                    Debtors.                      )   (Jointly Administered)
                                                                  )
                                                                  )   Ref. No.   _
                                                                  )

              NON-VOTING STATUS NOTICE \MITH RESPECT TO IMPAIRED
              CLASSES DEEMED TO REJECT TIIE JOINT CHAPTER 11, PLAN
              OF RMBR LIQUIDATION, INC. AND ITS DEBTOR AFFILIATES


        PLEASE TAKE NOTICE THAT on May_,                        20T9, the United States Bankruptcy
Court for the District of Delaware (the "Bankruptcy Court") entered an order [D.I. I              (the
"Interim Approval and Procedures Order") approving,          among    other things,  the  Disclosure
Statement for the Joint Chapter I I Plan of RMBR Liquidation, Inc. and lts Debtor Affiliates
dated Apnl24,2019 [D.I. I (including all exhibits thereto and as amended, supplemented or
otherwise modified from time to time, the "Disclosure Statement"), on an interim basis and
authorizing the above-captioned debtors and debtors in possession (collectively, the "Debtors")
to solicit votes with regard to the acceptance or rejection of the Joint Chapter I I Plan of RMBR
Liquidation, Inc. and Its Debtor Affiliates dated Apn|24,2019 [D.I. I (including all exhibits
                                                                                        o'Plan").2
thereto and as amended, supplemenied, or otherwise modified from time io time, the

         PLEASE TAKE FURTHER NOTICE THAT the Disclosure Statement, the IntCriM
Approval and Procedures Order, Plan and other documents and materials included in the
Solicitation Package may be obtained by contacting Prime Clerk LLC ("Prime Clerk"), the
claims and administrative agent retained by the Debtors in these chapter 11 cases, by: (a) calling
Prime Clerk at 844-339-4117 (toll free); (b) visiting the Debtors' case website aI:
http://cases.primeclerk.com/ThinesRemembered; andlor (c) writing to RMBR Liquidation, Inc.
Ballot Processing c/o Prime Clerk, LLC 830 3rd Avenue, 3rd Floor, New York, NY 10022. You
may also obtain copies of any pleadings filed in the Chapter 11 Cases for a fee via PACER at:
http ://www. deb.uscourts. qov.



    The Debtors in these chapter I I cases, along with the last four digits of each Debtor's federal tax identification
    number, include: RMBR Liquidation, Inc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR
    Liquidation Holdings Corporation (2354). The location of the Debtors' seryice address is: 5500 Avion Park
    Drive, Highland Heights, Ohio 44143.
    Capitalized terms used but not defined herein shall have the meanings ascribed to them          in the Plan or   the
    Disclosure Statement, as applicable.



11229,002-W005s561. )
                  Case 19-10234-KG    Doc 384     Filed 04/24/19    Page 125 of 135




       PLEASE TAKE FURTIIER NOTICE THAT you are receiving this notice because,
under the terms of the Plan your Claim(s) against andlor Interest(s) in the Debtors are Impaired
and, pursuant to section 1126(9) of the Bankruptcy Code, you are conclusively presumed to have
rejected the Plan and are, therefore, not entitled to vote on the Plan. Accordingly, this notice and
the Notice of (A) the Solicitation and Voting Procedures and (B) the Objection Deadline and
Confirmation Hearing with Respect to the Joint Chapter I I Plan of RMBR Líquidation, Inc. and
Its Debtor Affiliates (the "Confirmation Hearing Notice") are being sent to you for informational
purposes only.

     PLEASE TAKE            NOTICE THAT AS SET F'ORTH IN THE
CONF'IRMATION HEARING NOTICE          VIII OF' THE PLAN CONTAINS
RELEASE. EXCULP TION AND INJUNCTION PROVISIONS. ND ARTICI,E VIII.D
CONTAINS A THIRD.PARTY RELEASE.           TO THE PLAN YOU \ryILL BE
DE,EMED TO CONSENT TO THE                      IN ARTICLE VIN AND
                                                  SES SE,T F'ORTH
DESCRIBED IN        CONF'IRMATION HEARING NOTICE IF' YOII F'AII, TO
OBJECT TO THE TITIRD PARTY         EASE PRIOR TO THE OBJECTION
DR,ADI,INE.. THUS. YOU ARE ADVISED TO REVIEW AND CONSIDER THE
INFORMATION          AINED IN THE CONFIRMATION HEARING NOTICF],
CAREF'ULLY BECAUSE YOUR RIGHTS    GHT BE AFFECTED UNDER THE PLAN.




                            lRemainder of Page Intentionally Left Blanlcl




{   1229.002-W00sss6l.}                           2
                   Case 19-10234-KG   Doc 384    Filed 04/24/19       Page 126 of 135




        PLEASE TAKE FURTHER NOTICE THAT if you have any questions about the
status of any of your Claim(s) or Interest(s), you should contact Prime Clerk in accordance with
the instructions provided above.

Dated: i|;4.ay _,2019                  LANDIS RATH & COBB LLP
Wilmington, Delaware

                                       Adam G. Landis (No. 3a07)
                                       Matthew B. McGuire (No. 4366)
                                       Kimberly A. Brown (No. 5138)
                                       Matthew R. Pierce (No. 5946)
                                       919 Market Street, Suite 1800
                                       Wilmington, Delaware 1 9801
                                       Telephone: (302)461-4400
                                       Facsimile: (302)467-4450
                                       Email:        landis@lrclaw.com
                                                     mcguire@lrclaw.com
                                                     brown@lrclaw.com
                                                     pierce@lrclaw.com
                                       -and-

                                       KIRKLAND & ELLIS LLP
                                       Christopher T. Greco, P.C. (admitted pro hac vice)
                                       Derek I. Hunter (admittedpro hac vice)
                                       601 Lexington Avenue
                                       New York, New York10022
                                       Telephone: (212)446-4800
                                       Facsimile: (212) 446-4900
                                       Email:         christopher.greco@kirkland.com
                                                      derek. hunter@kirkl and. com
                                       -and-

                                       KIRKLAND & ELLIS LLP
                                                    'Winters
                                       Spencer A.              (admittedpro hac vice)
                                       Catherine Jun
                                       300 North LaSalle
                                       Chicago, Illinois 60654
                                       Telephone: (312)862-2000
                                       Facsimile: (312) 862-2200
                                       Email:          spencer.winters@kirkland.com
                                                       catherine j un@kirkl and. com

                                       Co-Counsel   þr   the Debtors and Debtors in Possession




{   1229.002-w00sss61. }                        J
                   Case 19-10234-KG   Doc 384   Filed 04/24/19   Page 127 of 135




                                       EXHIBIT         4




{   1229.002-W005s561.}
                   Case 19-10234-KG           Doc 384        Filed 04/24/19        Page 128 of 135




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                    )
In re                                                               )   Chapter    11

                                                                    )

RMBR LIQUIDATION, INC., et al.,r                                    )   Case   No. 19-10234 (KG)
                                                                    )
                                      Debtors.                      )   (Jointly Administered)
                                                                    )
                                                                    )   Ref. No.

                                                                    )

             BALLOT FOR ACCEPTING OR REJECTING THE JOINT CHAPTER 11
             PLAN OF RMBR LIQUIDATION, INC. AND ITS DEBTOR AFFILIATES
                 PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                                      CLASS 4         REVOLVER CLAIMS
                                                  -

          PLEASE READ AND FOLLO\il THE ENCLOSED INSTRUCTIONS FOR
       COMPLETING BALLOTS CAREFULLY BEFORE COMPLETING THE BALLOT

           THIS BALLOT MUST BE ACTUALLY RECEIVED BY PRIME CLERK LLC
                      BY MAY 29. 2019 AT 11:59 P.M. PREVAILING
                             EASTERNTIME(THE"@")
The Debtors have sent this Ballot to you because its records indicate that you are a holder of a
Class 4 Revolver Claim, and accordingly, you have aright to vote to accept or reject the Joint
Chapter Il Plan of fuMBR Liquidation, Inc. and lts Debtor Affiliates dated April24,2019 [D.I.
I (including all exhibits thereto and as amended, supplemented, or otherwise modified from
time to time, the "Plan"). Your rights are described in the Disclosure Statement þr the Joint
Chapter I I Plan of RMBR Liquidøtion, Inc. and lts Debtor Affiliates dated April24,2019 [D.I.
I (including all exhibits thereto and as amended, supplemented or otherwise modified from
timetotime,theo.@,,)'TheBankruptcyCourtenteredanorder[D.I.l(the
"Interim Approval and Procedures Order")2 approving, among other things, the Disclosure
Statement on an interim basis and establishing procedures for the solicitation of the Plan.




       The Debtors in these chapter1l cases, along with the last four digits of each Debtor's federal tax identification
       number, include: RMBR Liquidation, lnc. (2696); RMBR Liquidation Holdco Corp. (5858); and RMBR
       Liquidation Holdings Corporation (2354). The location of the Debtors' seryice address is: 5500 Avion Park
       Drive, Highland Heights, Ohio 44143.
       Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan, the
       Disclosure Statement or the Interim Approval and Procedures Order, as applicable.



{   1229.002-W005ss61. }
                   Case 19-10234-KG            Doc 384   Filed 04/24/19    Page 129 of 135




The Disclosure Statement, the Interim Approval and Procedures Order, the Plan, and certain
other materials contained in the Solicitation Package are included in the packet you are receiving
with this Ballot. Additionally, the Solicitation Package can be obtained by contacting Prime
Clerk LLC ("Prime Clerk"), the claims and administrative agent retained by the Debtors in these
Chapter 11 Cases, by: (a) calling Prime Clerk at 844-339-4117 (toll free); (b) visiting the
Debtors' case website at:                                                   ; andlor (c) writing to
RMBR Liquidation, Inc. Ballot Processing c/o Prime Clerk, LLC 830 3rd Avenue, 3rd Floor,
New York, NY 10022. You may also obtain copies of any pleadings filed in this Chapter l1
Case for a fee via PACER at: http://www.deb.uscourts.gov. The Bankruptcy Court's interim
approval of the Disclosure Statement does not indicate approval of the Plan by the Bankruptcy
Court. This Ballot may not be used for any pu{pose other than to vote to accept or reject the
Plan. If you believe you have received this Ballot in error, please contact Prime Clerk at the
address or telephone number set forth above.

You should review the Dísclosure Statement and the Plqn before you vote. You may wish to seek
legal advice concerning the Plan and the Plan's classification and treatment of your Claim. Your
Claim has been placed in Class 4 - Revolver Claims under the Plan.

If Prime Clerk                   your Ballot on or before the Voting Deadlineo M.ay 29r2019
                            does not receive
at 1L:59 p.m. prevailing Eastern Time and if the Voting Deadline is not extended, your vote
as either an acceptance or rejection of the Plan will not count. If the Bankruptcy Court
confÏrms the Plano it will bind you regardless of whether you vote.

Item      1..   Principal Amount of Class 4 Revolver Claims.

The undersigned hereby certifies that as of the Record Date, May 7, 2019 prevailing Eastem
Time, the undersigned was the holder of Class 4 Revolver Claims against the Debtors in the
following amount (insert amount in box below):


                                               $



Item 2. Class 4 Revolver Claims Vote on the Plan.

The holder of the Class 4 Revolver Claims set forth in Item 1 votes to (please check one):

                       ACCEPT THE PLAN                                    REJECT THE PLAN

ANY BALLOT TIIAT IS EXECUTED BY THE HOLDER OF A CLAIM OR INTEREST
BUT THAT INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE
PLAN OR DOES NOT INDICATE EITHER AN ACCEPTANCE OR REJECTION OF
THE PLAN \ryILL NOT BE COUNTED.




{   1229.002-W00sss6 r. }                                2
                  Case 19-10234-KG           Doc 384       Filed 04/24/19   Page 130 of 135




Item 3. Certifications

By signing this Ballot, the undersigned certifies to the Bankruptcy Court and to the Debtors

                       a.    that either:  (i) the undersigned is the holder of the Class 4 Revolver
                             Claims being voted; or (ii) the undersigned is an authonzed signatory for
                             an entity that is a holder of the Class 4 Revolver Claims being voted;

                       a.    that the holder of the Claims has received a copy of the Disclosure
                             Statement and the Solicitation Package and acknowledges that the
                             solicitation is being made pursuant to the terms and conditions set forth
                             therein;

                       b     that the holder of the Claims has cast the same vote with respect to all
                             Class 4 Revolver Claims; and

                       c.    that no other Ballots with respect to the amount of the Class 4 Revolver
                             Claims identified in Item t have been cast or, if any other Ballots have
                             been cast with respect to such Claims, then any such Ballots dated earlier
                             are hereby revoked.

                Name of holder:

                              (Print or Typ")

               Social Security or Federal Tax Identification Number:

                Signature:

               Name of Signatory:

                                  (If other than holder)

               Title

               Address

               Date Completed:


THE BALLOT MUST BE COMPLETED AND SUBMITTED, ON OR BEFORE THE
VOTING DEADLINE, BY ONLY ONE OF THE FOLLOWING APPROVED
SUBMISSION METHODS:




{   1229.002-W00sss6l }.                                   J
                     Case 19-10234-KG   Doc 384     Filed 04/24/19               Page 131 of 135




  First Class Mail, Overnight Courier or                     Electronic, online submission at:
            Hand-Delivery To:
                                                  To submit your Ballot via Prime Clerk's online
RMBR Liquidation, Inc. Ballot Processing c/o      portal, please visit:
Prime Clerk, LLC                                  https : //cas   e s.   pr ime cl erk. c om/Things Rememb er ed,
830 3rd Avenue, 3rd Floor,                        click on "Submit E-Ballot" and follow the
New York, NY 10022                                instructions to submit your Ballot.

                                                  IMPORTANT NOTE: You will need the following
                                                  information to retrieve and submit your customized
                                                  electronic Ballot:

                                                  Unique E-Ballot ID#:


                                                  Prime Clerk's online portal is the sole manner in
                                                  which Ballots will be accepted via electronic or
                                                  online transmission. Ballots submitted by
                                                  facsimile, email, or other means of electronic
                                                  transmission will not be counted.

                                                  Each E-Ballot ID# is to be used solely for voting
                                                  only those Claims described in Item 1 of your
                                                  electronic Ballot. Please complete and submit an
                                                  electronic Ballot for each E-Ballot ID# you receive,
                                                  as applicable.

                                                  Creditors who cast a Ballot using Prime Clerk's
                                                  online portal should NOT also submit a paper
                                                  Ballot.

                                                  If you have any questions, please contact Prime
                                                  Clerk at: Telephone: (844) 339-41i7; or, from
                                                  outside the U.S. or Canada: (929) 333-8981, or via
                                                  Email : thingsrememberedballots@PrimeClerk. com



  EXCEPT AS EXPRESSLY PERMITTED ABOVE \ryITH RESPECT TO E-BALLOTS,
  BALLOTS OTHERWISE SUBMITTED BY FACSIMILE, TELECOPY, ELECTRONIC
  MAIL, OR OTHER FORM OF ELECTRONIC SUBMISSION WILL NOT BE
  ACCEPTED.

  YOUR BALLOT MUST BE RECEIVED BY THE VOTING DEADLINE, \ilHICH IS
  N4av 29.2019 AT 11:59 P.M. PREVAILING EASTERN TIME.




  {   1229.002-w00sss6l.}                          4
                   Case 19-10234-KG      Doc 384      Filed 04/24/19     Page 132 of 135




                          INSTRUCTIONS FOR COMPLETING BALLOTS

1           The Debtors are soliciting the votes of holders of Claims with respect to the Plan attached
            as Exhibit A to the Disclosure Statement. Capitalized terms used in the Ballot or in these
            instructions but not otherwise defined in the Ballot or these instructions shall have the
            meanings set forth in the Plan or the Disclosure Statement, copies of which also
            accompany the Ballot.

2.          The Bankruptcy Court may confirm the Plan and thereby bind you by the terms of the
            Plan if, among other things, the Plan is confirmed. Please review the Disclosure
            Statement for more information.

a
J           To ensure that your vote is counted, you must: (a) complete the Ballot; (b) indicate your
            decision either to accept or reject the Plan in the boxes provided in Item 2 of the Ballot
            and (c) submit the Ballot (i) to the address set forth on the enclosed pre-addressed
            envelope or         (ii)    electronically at     the Debtors' case website,
            http://cases.primeclerk.com/ThingsRemembered.   The  Voting Deadline for the receipt of
            Ballots by Prime Clerk is May 29,2019 at Il:59 p.m. prevailing Eastern Time. Your
            completed Ballot must be received by Prime Clerk on or before the Voting Deadline.

4           You must vote all of your Claims within a particular Class either to accept or reject the
            Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
            accepts the Plan will not be counted. Further, if a holder has multiple Claims within the
            same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
            holder within a Class for the pu{pose of counting votes.

5           If a Ballotis received after the Voting Deadline, it will not be counted unless the Debtors
            determine otherwise. The method of delivery of Ballots to Prime Clerk is at the election
            and risk of each holder of a Claim. Except as otherwise provided herein, such delivery
            will be deemed made only when Prime Clerk actually receives the originally executed
            Ballot. If a holder of a Claim chooses effecting delivery by mail, it is recommended,
            though not required, that holders use an overnight or hand delivery service to assure
            timely delivery. No Ballot should be sent to the Debtors, the Debtors' agents (other than
            Prime Clerk), or the Debtors' financial or legal advisors and if so sent will not be
            counted.

6.          Except as expressly permitted in the context of electronic submissions of Ballots at the
            Debtors' case website, http://cases.primeclerk.com/ThingsRemembered, delivery of a
            Ballot to Prime Clerk by facsimile, telecopy, e-mail or other form of electronic
            submissions will not be accepted.

7           If multiple Ballots are received from the same holder of a Claim with respect to the same
            Claim prior to the Voting Deadline, the last dated valid Ballot timely received will
            supersede and revoke any earlier dated Ballots.




{   1229.002-W0055561.}                              5
                   Case 19-10234-KG      Doc 384        Filed 04/24/19   Page 133 of 135




8           The Ballot is not a letter of transmittal and may not be used for any purpose other than to
            vote to accept or reject the Plan. Accordingly, at this time, holders of Claims should not
            surrender certificates or instruments representing or evidencing their Claims, and neither
            the Debtors nor Prime Clerk will accept delivery of any such certificates or instruments
            surrendered together with a Ballot.

9           This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
            an assertion or admission of a Claim.

10.         Please be sure to executed and date your Ballot. If you are executing a Ballot in your
            capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
            corporation, or otherwise acting in a fiduciary or representative capacity, you should
            indicate such capacity when executing and, if requested by Prime Clerk, the Debtors, or
            the Bankruptcy Court, must submit proper evidence to the requesting party to so act on
            behalf of such holder. In addition, please provide your name and mailing address if it is
            different from that set forth on the attached mailing label or if no such mailing label is
            attached to the Ballot.

11          The following Ballots shall not be counted in determining the acceptance or rejection of
            the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
            identification of the holder of the Claim; (b) any Ballot cast by aParty that does not hold
            a Claim in a Class that is entitled to vote on the Plan; (c) any unexecuted Ballot; (d) any
            Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
            reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
            the Solicitation Procedures.

12.         If you believe you have wrongly received a Ballot,        you should contact Prime Clerk
            immediately at 844-339-411 7 (toll free).


                          PLEASE SUBMIT YO                  RAI,I,OT PROMPTI,Y!

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, PLEASE CONTACT PRrME CLERK AT 844-339-4117 (TOLL FREE).




{   1229.002-W0055561.}                                 6
                  Case 19-10234-KG   Doc 384     Filed 04/24/19   Page 134 of 135




                                           EXHIBIT C

                                       Liquidation Analysis




{   1229.001-w005ss83.}
                                                                                     Case 19-10234-KG                  Doc 384          Filed 04/24/19              Page 135 of 135
RMBR Liqu¡dat¡on
Plan   s   Chapter 7 üquidation Analysls
ttgtil24,2Ol9


                                                                                          ls¡nooo"J@
                                                                                           Notes:    arst/clrim Ræowyx Rwry9
                                                                                                                                       @
                                                                                                                                       as*Vcllln      Ræryx      Ræowry$
                     l.A$ets
                          LJ   nrestr¡sted Cash   a5   of Aptil 20, 2079                     A            9,470      100%   9,870           9,870        10096       9,A70
                          sale Holdback                                                                     706      70t i    706             706        100%          106
                          Lease  of Home office Build¡ng                                                     40      70ú1      40              40        10096          40
                          sale of Home Offìce Bu¡lding                                       D            2,790      10096 2,790            2,790        700%        2,790
                          sale of Fulfillment center Land                                    D              200      10096    200             200        70t94         200
                          Ut¡l¡ty Deposit Return                                                            742      10096    742             742        10091         742
                          vênt¡v credit Card Return                                                         300      100%     300             300        70a94         300
                          Return of Malfitano Retainer                                                       35      100%      35                        100%            35
                          Proceedg from lnsurance Refund                                                  1,051      too%   1,051           7,O57        100%        7,os7
                          Return of Collateral f.om surety gond                                             300      !oo%     300             300        100%          300
                          Return gf Funds from Canada                                                       a?7      1oo%_gf_                 a77        !0@6          477
                               Pro¡eded Cash After Mon€t¡zat¡on of Assets                                                    16,310                                 16,310


                     il. Adñ¡nisùat¡ve Fees
                          Chapter 7 Professìonal                                             E                         o%                     (se3)      100,6         (ee3)

                          Chapter 7'Irustee Commissions                                      F                        tti                     (7so)      1009(         (7so)
                          Chapter 11 Professionals                                           G           {3,8ss)     7O0,(   (3,855)        (2,8621      70091       (2,8621
                          Windown Costs                                                      H           (1,004)     70øÉ    (1,004)        (1,004)      700x        {1,004)
                          lnterest Expense                                                                 (384)     7oúo      (384)          (384)      1009(         (384)
                          Estimated Other Liabilites                                                       (620)     1oo%      (620)          (620)      100%          (620)
                          Estimated Operating Liabilities                                                (!,2381     7OO%    17,2381        (1,238)      100%        (1,238)

                          Est¡mated usT Fees                                                               (s11)     7OO%      (s11)          (s11)      70091         (s11)
                          lnvedment Bânkêr Success Fee                                                     (so0)     10096     (soo)          (so0)      1oo%          (9oo)

                               NGt Estimated Prqe€ds        AEilable after D¡stribution                                       7,798                                  7,04A


                     il l - Adm¡ nistrut¡v e Cloi ñs
                          Admìnistrative Claims                                                            {s00}     100%      (soo)          (soo)      1oo%          (s00)
                                                                                                                              7,298                                  5,548


                     lv. Pñority & Secured clo¡ms
                          Pr¡ority Tax Claims
                          ABL Paydown Made on            4/1                                 t(          (7,000)     100.016 (7,ooo)        (7,ooo)     100.0%       (7,000)
                          Rema¡n¡ng ABL Paydown                                                         111,724)      62.3% l7,2s8)        177,7241      ss.g%       (6,548)
                          Total ABL C¡aims                                                              178,724)      76.4% 174,298)       178,124)      72-4oÁ     (13,548)


                          Term Debt                                                                    l.724,92!)      o%                 1724,9271        t%
                           f{et Est¡mat€d 9r4€eds AE¡lablê after D¡lribut¡on

                     V.    Uæcured Clo¡ms & Equity lntet6t
                          ceneral Unsecured Cla¡ms                                                                     o94                                 ú6
                            Net Estimated Proc€eds AEilable aftet Didr¡but¡on

                     Notes:
                     A) Unrestr¡cted cash includes company's ending cash balance as         of4/20
                     B) sale holdback is payment rece¡ved by Enesco after inventory count wãs completed
                     c) Enesco to pay for home office lease until building is sold
                     D) Estimated sale price for home office building and sle of Iênd behind fulfillment center
                     E) Assumed post confirmation professional fees for USTrustee
                     F) Estimated trustee comm¡ss¡ons in event of Chapter 7 based on remain¡ng assets to monetize
                     G) Profess¡onal fees throuEh end of case including incurred but not yet pa¡d fees
                     H) Primarily employee health ¡nsurance cla¡ms (IBNR) related spenses to be paid by estate
                     l)Trulee quarterly fees to be paid out through end of case
                     J)lnwstment banker success fee to be paid out to Miller Buckfire due to successful asset sale
                     K) ABL claim includes 57M paydown on 4/1




{1229.æ2-W5ss92.}
